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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

         In re:                                   §          Chapter 11
                                                  §
         KRISJENN RANCH, LLC, et al               §          Case No. 20-50805
                                                  §
         Debtor                                   §          (Jointly Administered)

         FIRST INTERIM APPLICATION FOR PAYMENT OF ATTORNEY FEES BY
                 CJ MULLER & ASSOCIATES, PLLC, ATTORNEYS FOR
        KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES UVALDE RANCH,
           AND KRISJENN RANCH, LLC, SERIES PIPELINE ROW, DEBTORS-IN-
            POSSESSION, FOR PROFESSIONAL SERVICES RENDERED FROM
                     APRIL 27, 2020 THROUGH DECEMBER 7, 2021
  ******************************************************************************

  THIS APPLICATION REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
  INTERESTS. IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY-ONE (21)
  DAYS FROM THE DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE
  GRANTED WITHOUT A HEARING BEING HELD. RESPONSES OR OBJECTIONS
  MUST BE IN WRITING AND FILED WITH THE COURT IN ORDER TO SEEK A
  HEARING ON THIS APPLICATION.

  ******************************************************************************

         1.       CJ Muller & Associates, PLLC, (“Applicant”) has applied for professional

  compensation in the amount of $150,096.38 in fees and $18,174.07 in administrative expenses for

  a total amount requested of $168,270.45.


         2.       The time period covered is April 27, 2020, through December 7, 2021.


         3.       The Applicant is the attorney for Debtors and Debtors-in-Possession KrisJenn

  Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and KrisJenn Ranch, LLC, Series

  Pipeline Row (collectively, the “Debtors”).


         4.       This is the first interim application.


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         5.      The Applicant has not been granted fees and expenses post-petition.


         6.      The Applicant did not receive an original retainer.


         7.      The hourly rates charged for attorneys are $325.00/hour for partners and senior

  attorneys, $250/hour for junior attorneys, and $120/hour for paralegals and law clerks.


     Dated: December 9, 2021.

                                               Respectfully Submitted,

                                               CJ MULLER & ASSOCIATES, PLLC

                                               By: /s/ John Muller
                                               C. John Muller IV
                                               State Bar No. 24070306
                                               john.muller@cjma.law
                                               Ezekiel J. Perez
                                               State Bar No. 24096782
                                               zeke.perez@cjma.law
                                               111 W. Sunset Rd.
                                               San Antonio, TX 78209
                                               Telephone: 210-664-5000
                                               Facsimile: 210-899-1933

                                               ATTORNEYS FOR DEBTORS




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                                CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the Application for Payment of
     Attorney’s Fees by CJ Muller & Associates, PLLC, Attorneys for Plaintiffs, and Counter-
     Defendants KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch, and
     KrisJenn Ranch, LLC-Series Pipeline Row was forwarded to all parties listed on the
     attached Service List, by first class mail, postage prepaid, on December 10, 2021.

                                                /s/ John Muller
                                               C. John Muller IV




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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


     In re:                                              §               Chapter 11
    KRISJENN RANCH, LLC, et al                           §
            Debtors                                      §           Case No. 20-50805
                                                         §           (Jointly Administered)


       FIRST INTERIM APPLICATION FOR PAYMENT OF ATTORNEY FEES BY
          CJ MULLER & ASSOCIATES, PLLC, ATTORNEYS FOR KRISJENN
          RANCH, LLC, KRISJENN RANCH, LLC-SERIES UVALDE RANCH,
                AND KRISJENN RANCH, LLC-SERIES PIPELINE ROW
               (COLLECTIVELY THE “DEBTORS”) RENDERED FROM
                   APRIL 27, 2020 THROUGH DECEMBER 7, 2021
  ******************************************************************************

  THIS APPLICATION REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
  INTERESTS. IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY-ONE (21)
  DAYS FROM THE DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE
  GRANTED WITHOUT A HEARING BEING HELD. RESPONSES OR OBJECTIONS
  MUST BE IN WRITING AND FILED WITH THE COURT IN ORDER TO SEEK A
  HEARING ON THIS APPLICATION.

  ******************************************************************************
  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW CJ Muller & Associates, PLLC f/k/a Muller Smeberg, PLLC

  (“Applicant”), attorneys for KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch,

  and KrisJenn Ranch, LLC-Series Pipeline Row (collectively the “Debtors”), pursuant to 11 U.S.C.

  §§ 503(b)(2), 507(a), and 331 as a priority administrative expense, and files its first interim fee

  application and respectfully shows as follows:

                                               I.
                                         INTRODUCTION

         Applicant seeks payments from the bankruptcy estate—as an administrative expense—

  professional fees and expenses in the amount of $168,270.45 for the time period April 27, 2020


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  through December 7, 2021 (“Compensation Period”).

                                       II.
                        BANKRUPTCY RULE 2016 REQUIREMENTS

      1. Applicant was appointed on April 27, 2020.

      2. All professional services for which an allowance is requested were performed by

  Applicant for and on behalf of Debtors and not on behalf of any other person. This application

  seeks approval of fees of Applicant.

                                           III.
                                FEES AND PAYMENT HISTORY

      3. Applicant has applied for professional compensation in the amount of $371,284.50 in fees

  and expenses.

      4. The Applicant is the law firm representing KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-

  Series Uvalde Ranch, and KrisJenn Ranch, LLC-Series Pipeline Row.

      5. The time period covered is April 27, 2020 through December 7, 2021.

      6. This is the final fee application for the period covered.

      7. The hourly rates charged for attorneys are $325.00 to $350.00/hour for partners and senior

  attorneys, $250.00/hour for associate attorneys, and $120.00/hour for paralegals and law clerks.

      8. The Applicant has received payments from Larry Wright in the amount of $178,014.05, as

  follows:

                        a.   $ 5,227.60 on September 1, 2020;
                        b.   $23,707.20 on October 1, 2020;
                        c.   $28,609.41 on October 30, 2020;
                        d.   $35,269.84 on November 30, 2020;
                        e.   $27,361.20 on January 18, 2021;
                        f.   $13,638.80 on January 18, 2021; and
                        g.   $44,200.00 on May 7, 2021.

      9. Applicant has agreed to discount its fees in the amount of $25,000.00


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     10. After applying the payments received and the discount, the balance owed on this fee

  application to be paid from Debtors’ funds is $168,270.45

                                          IV.
                               JOHNSON FACTORS ANALYSIS

     11. Applicant requests compensation based on the factors set forth in 11 U.S.C. § 330(a)(3)

  and Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).

  These factors include the following:

             a. Time and Labor Required. A description of the time and labor sorted by

                category of activity of Applicant appears in Exhibit A.

             b. The Skill Required to Perform the Legal Services Provided. Applicant

                represented Debtors in Adversary No. 20-05027 (the “Adversary”), which

                included the successful prosecution of a request for declaratory relief concerning

                a multi-million-dollar pipeline and right-of-way and successful defense of over

                thirty counterclaims alleging causes of action ranging from breach of contract to

                fraud. The issues presented were highly complex and required a high level of

                skill. Further, Applicant represents Debtors in connection with three appeals

                from the Adversary. Applicant also represents Debtors in connection with their

                objection to McLeod Oil, LLC’s proofs of claim, which involve the dispute over

                the validity of an amount in excess of $700,000.00. Applicant has the necessary

                skills to successfully provide the services needed in these cases.

             c. The Preclusion of Other Employment by the Attorney Due to Acceptance of the

                Case. Applicant allocated a large amount of time and staffing to adequately

                prepare for and participate in the trial in this case; consequently, Applicant was

                required to refrain from rendering services in other matters.


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           d. The Customary Fee. The compensation sought herein is comparable to the fees

              charged by other attorneys of comparable experience in the San Antonio, Texas

              market.

           e. Whether the Fee is Fixed or Contingent. The fee is fixed at $325.00 to $350.00

              per hour for partners and senior attorneys, $250.00 per hour for junior attorneys,

              and $120.00 per hour for paralegals. This case was not taken on a contingent

              basis.

           f. Time Limitations by the Client or Other Circumstances. Applicant began

              representing Debtors at the inception of the Adversary Proceeding and had to,

              among other things: (1) propound and respond to a large volume of written

              discovery; (2) defend and take numerous depositions; (3) file and defend

              dispositive motions, including motions for summary judgment; (4) file

              numerous discovery motions; (4) prepare for trial; and (5) attend trial, all in less

              than eight months.


           g. The Experience, Reputation and Ability of the Attorneys. Applicant’s primary

              attorney working on this case is C. John Muller IV. Mr. Muller has developed

              a reputation as a premier commercial litigator in the San Antonio, Texas market.

              Debtors selected John Muller based on his experience and knowledge in the field

              of civil litigation.

           h. The “Undesirability” of the Case. This case is not undesirable.

           i. Nature and Length of the Professional Relationship with the Client. Applicant

              was retained by Debtor for representation on April 27, 2020.

           j. Results Obtained. Applicant successfully prosecuted a request for declaratory


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                 relief concerning a multi-million-dollar pipeline and right-of-way and

                 successfully defended against more than thirty counterclaims alleging causes of

                 action ranging from breach of contract to fraud and seeking tens of millions of

                 dollars in damages.

             k. Awards in Similar Case. The amount requested is similar or less than what other

                 attorneys of similar experience would charge in similar cases.

             l. Travel Time. Applicant did not bill for travel time.

             m. Other Factors. There are no other factors of particular importance to the

                 fee request.

         WHEREFORE PREMISES CONSIDERED, pursuant to 11 U.S.C. §§ 503(b)(2),

  507(a), 331, the Applicant respectfully requests the approval of the Fee Application of CJ

  Muller & Associates for payment of professional fees in the amount of $168,270.45 and

  for all other relief to which it may be justly entitled.

  Dated: December 9, 2021.

                                              Respectfully Submitted,

                                              CJ MULLER & ASSOCIATES, PLLC

                                              By: /s/ John Muller
                                                C. John Muller IV
                                                State Bar No. 24070306
                                                john.muller@cjma.law
                                                Ezekiel J. Perez
                                                State Bar No. 24096782
                                                zeke.perez@cjma.law
                                                111 W. Sunset Rd.
                                                San Antonio, TX 78209
                                                Telephone: 210-664-5000
                                                Facsimile: 210-899-1933

                                                 ATTORNEYS FOR DEBTORS


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                                CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the Application for Payment of
     Attorney’s Fees by CJ Muller & Associates, PLLC, Attorneys for Plaintiffs, and Counter-
     Defendants KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch, and
     KrisJenn Ranch, LLC-Series Pipeline Row was forwarded to all parties listed on the
     attached Service List, by first class mail, postage prepaid, on December 10, 2021.

                                                /s/ John Muller
                                               C. John Muller IV




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                                       EXHIBIT A
                                  Adversary No. 20-05027
 GENERAL, MISCELLANEOUS LEGAL SERVICES
 FOR PROFESSIONAL SERVICES RENDERED
  Bill ID     Date      User              Description           Qty.     Price        Total
   664      7/24/2020   Craig     Initial Review of DMA's       0.5    $ 250.00   $     125.00
                        O'Neil    motion for summary
                                  judgment.
    664     7/30/2020   Craig     Compile document lists        1.5    $ 250.00   $     375.00
                        O'Neil    for documents already
                                  produced under Rule
                                  26(a)(1)(B). Draft
                                  Disclosures. Draft Exhibit
                                  A for attachment to
                                  disclosures.
    699     8/3/2020    John      Prepare for hearing on        1.5    $ 325.00   $     487.50
                        Muller    motion to quash subpoena
                                  and for protective order.
    699     8/5/2020    Craig     Motion for Summary            1.8    $ 250.00   $     450.00
                        O'Neil    Judgment Research on
                                  Sabine cases and their
                                  impact on our case.
    699     8/10/2020   Sherry    Sit in on conference with      1     $ 250.00   $     250.00
                        Barnash   J.Muller and client re case
                                  status and participate in
                                  conference re offers of
                                  judgment.
    699     8/12/2020   Ezekiel   Provide pertinent             0.6    $ 250.00   $     150.00
                         Perez    documents to C. O'Neil
                                  for proposed order draft;
                                  Confer with C. O'Neil
                                  about the same; Provide
                                  filed document to C.
                                  O'Neil.
    699     8/13/2020   Craig     Negotiate terms of            0.8    $ 250.00   $     200.00
                        O'Neil    continuances and deadline
                                  extensions with opposing
                                  counsel. Provide J. Muller
                                  R. Smeberg and W.
                                  Germany privy of
                                  progress.
    699     8/17/2020   Craig     Conduct Third Party           0.5    $ 250.00   $     125.00
                        O'Neil    Beneficiary research and
                                  its implications on
                                  pleadings.
    699     8/18/2020   Craig     Locate George Harrison        0.3    $ 250.00   $      75.00
                        O'Neil    Pigg's contact information
                                  and call to inquire about
                                  Deposition availability.


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    699   8/19/2020   Craig     Compile letter discovery      0.2   $ 250.00   $    50.00
                      O'Neil    documents amended
                                pleadings and motion to
                                continue for J. Muller's
                                review.
    699   8/19/2020   Craig     Compile PDFs of Motions       0.6   $ 250.00   $   150.00
                      O'Neil    to continue Motions to
                                Amend Motions to
                                Expedite Discovery
                                Requests and Conference
                                Letters and send all 12
                                documents to opposing
                                counsel.
    699   8/19/2020   Craig     Order for Motion to           0.4   $ 250.00   $   100.00
                      O'Neil    Continue Motion for
                                Partial Summary
                                Judgment on Bigfoot.
    699   8/21/2020   Craig     Follow up with D.             0.1   $ 250.00   $    25.00
                      O'Neil    Anguiano re: Notice of
                                Expedited hearing.
    699   8/24/2020   John      Prepare for Motion for        1.8   $ 325.00   $   585.00
                      Muller    Continuance regarding
                                DMA/Moore's Motion for
                                Partial Summary
                                Judgment regarding Big
                                Foot Note.
    699   8/25/2020   Craig     Preparation for hearing on    0.3   $ 250.00   $    75.00
                      O'Neil    Motion to Continue DMA
                                Motion for Partial
                                Summary Judgment on
                                Bigfoot Note Payment.
    699   8/25/2020   Ezekiel   Assisted J. Muller with       0.2   $ 250.00   $    50.00
                       Perez    hearing preparation.
    750   9/14/2020    Bryan    Attention to real estate      0.8   $ 325.00   $   260.00
                       Lopez    issues regarding successor
                                in interest matter and
                                other real estate items
    750   9/14/2020   Craig     Compile Motion for            0.6   $ 250.00   $   150.00
                      O'Neil    Partial Summary
                                Judgment exhibits and
                                send Response and
                                exhibits to D. Anguiano
                                for filing.
    750   9/15/2020    Paige    C. O'Neil call; Print         0.5   $ 225.00   $   112.50
                      Burough   Motion for Summary
                                Judgment cases.
    750   9/21/2020   John      Prepare for Motion for        3.2   $ 325.00   $ 1,040.00
                      Muller    Partial Summary
                                Judgment hearing
                                regarding interpretation of


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                                 DMA Agreement
    750   9/21/2020    Craig     Prepare for Motion for        5     $ 250.00   $ 1,250.00
                       O'Neil    Partial Summary
                                 Judgment hearing
                                 regarding interpretation of
                                 DMA Agreement with J.
                                 Muller.
    750   9/22/2020    John      Prepare for Motion for        2.8   $ 325.00   $   910.00
                       Muller    Partial Summary
                                 Judgment hearing
                                 regarding interpretation of
                                 DMA Agreement
    750   9/22/2020    Craig     Prepare for Motion for        2     $ 250.00   $   500.00
                       O'Neil    Partial Summary
                                 Judgment hearing with J.
                                 Muller.
    750   9/25/2020    Ezekiel   Completed draft of            1.2   $ 250.00   $   300.00
                        Perez    conference letter
                                 regarding DMA and
                                 Moore’s responses to
                                 Debtors' five sets of
                                 written discovery.
    750   9/28/2020    Ezekiel   Assisted F. Payne with        0.4   $ 250.00   $   100.00
                        Perez    production of documents.
    750   9/29/2020    John      Prepare and attend            8     $ 325.00   $ 2,600.00
                       Muller    deposition of Larry
                                 Wright.
    750   9/29/2020    Ezekiel   Assisted with deposition      0.2   $ 250.00   $    50.00
                        Perez    set-up and conferred with
                                 W. Germany regarding the
                                 same.
    750   9/29/2020    Ezekiel   Assisted with deposition      0.3   $ 250.00   $    75.00
                        Perez    tech and document issues.
    750   9/30/2020    John      Prepare and attend            8     $ 325.00   $ 2,600.00
                       Muller    deposition of Larry
                                 Wright.
    750   9/30/2020    Ezekiel   Document review for           1.6   $ 250.00   $   400.00
                        Perez    exhibits; conferred with J.
                                 Muller and W. Germany
                                 regarding the same.
    800   10/6/2020    Craig     Compile exhibits and send     0.8   $ 250.00   $   200.00
                       O'Neil    final Motion for Partial
                                 Summary Judgment
                                 Response with exhibits to
                                 Denielle for filing.
    800   10/13/2020   Craig     Preparation for hearing on    2     $ 250.00   $   500.00
                       O'Neil    Bigfoot Note Motion for
                                 Summary Judgment with
                                 J. Muller.


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    800   10/14/2020   Ezekiel   Continued document            4.9   $ 250.00   $ 1,225.00
                        Perez    review and draft of
                                 motion to compel.
    800   10/19/2020   Ezekiel   Prepared proposed final       2.1   $ 250.00   $   525.00
                        Perez    draft of motion to compel
                                 conferred with J. Muller
                                 finalized proposed edits to
                                 motion to compel served
                                 cover letter with motion
                                 on opposing counsel.
    800   10/20/2020   Ezekiel   Worked with F. Payne on       0.4   $ 250.00   $   100.00
                        Perez    responsive document
                                 organization; conferred
                                 with W. Germany
                                 regarding responsive
                                 email production.
    800   10/21/2020   Ezekiel   Provided proposed edits to    0.2   $ 250.00   $    50.00
                        Perez    Motion for Expedited
                                 consideration of motion to
                                 compel.
    800   10/22/2020   Ezekiel   Document review in            2.3   $ 250.00   $   575.00
                        Perez    preparation of production;
                                 conferred with F. Payne
                                 regarding the same.
    800   10/23/2020   Craig     Outlining and drafting        2     $ 250.00   $   500.00
                       O'Neil    shell of Motion for Partial
                                 Summary Judgment on
                                 Moore's claims.
    800   10/27/2020   Ezekiel   Assist J. Muller and A.       0.7   $ 250.00   $   175.00
                        Perez    Tiwari with document
                                 drafting and provided
                                 pertinent supporting
                                 documents.
    800   10/27/2020   Ezekiel   Continued conference          1.2   $ 250.00   $   300.00
                        Perez    with A. Tiwari and J.
                                 Muller regarding draft
                                 settlement agreement.
    830   11/1/2020    Ezekiel   Prepare for pending           0.2   $ 250.00   $    50.00
                        Perez    hearing regarding
                                 amended pleadings and
                                 case scheduling.
    830   11/2/2020    Ezekiel   Prepare exhibits for          1.7   $ 250.00   $   425.00
                        Perez    hearing on Motion to
                                 Compel; Confer with J.
                                 Muller regarding the
                                 same.
    830   11/2/2020    John      Prepare for Motion to         1     $ 325.00   $   325.00
                       Muller    Compel.




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    830   11/2/2020    Ezekiel   Prepare timeline and          0.2   $ 250.00   $    50.00
                        Perez    identify potential exhibits
                                 for depositions/trials.
    830   11/2/2020    Ezekiel   Prepared for and attended     1.9   $ 250.00   $   475.00
                        Perez    hearing on Motion to
                                 Compel.
    830   11/2/2020    Ezekiel   Prepared proposed Order       0.7   $ 250.00   $   175.00
                        Perez    on Motion to Compel;
                                 Sent draft to T. Cleveland
                                 for review.
    830   11/3/2020    Craig     Continue to review            0.2   $ 250.00   $    50.00
                       O'Neil    Counter-Plaintiff's
                                 disclosures and analyze
                                 alleged damages and
                                 calculation of same.
    830   11/4/2020    Craig     Prepare Summary               0.3   $ 250.00   $    75.00
                       O'Neil    Judgment Evidence.
    830   11/4/2020    Ezekiel   Verified that corrected       0.4   $ 250.00   $   100.00
                        Perez    amended complaint was
                                 filed with Court.
    830   11/10/2020   John      Prepare power point           3.6   $ 325.00   $ 1,170.00
                       Muller    presentation and exhibits
                                 for trial.
    830   11/11/2020   Ezekiel   Made changes to proposed      0.3   $ 250.00   $    75.00
                        Perez    deposition notices.
    830   11/12/2020   Ezekiel   Prepare for hearing on        0.7   $ 250.00   $   175.00
                        Perez    objections to amended
                                 complaints.
    830   11/14/2020   Ezekiel   Continued review of L.        0.7   $ 250.00   $   175.00
                        Perez    Wright's second day of
                                 deposition testimony.
    830   11/15/2020   Ezekiel   Continued to review           1.1   $ 250.00   $   275.00
                        Perez    second day of L. Wright's
                                 deposition testimony.
    830   11/19/2020   Craig     Prepare Response to           0.3   $ 250.00   $    75.00
                       O'Neil    Motion to Dismiss.
    830   11/24/2020   Craig     Prepare dispositive           0.3   $ 250.00   $    75.00
                       O'Neil    motions task list for
                                 hearing on Dec. 7.
    841   12/3/2020    Ezekiel   Prepare deposition            9.5   $ 250.00   $ 2,375.00
                        Perez    exhibits/review
                                 production. Finalize set of
                                 key documents for
                                 deposition.
    841   12/3/2020    John      Continued correspondence      0.3   $ 325.00   $    97.50
                       Muller    with W. Shelton's offices
                                 regarding scheduling of
                                 mediation.



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    841   12/7/2020    Ezekiel   Prepare for and attend       2.7   $ 250.00   $   675.00
                        Perez    hearing on Motion for
                                 Partial Summary
                                 Judgment and 12(b)(6)
                                 motion to dismiss.
    841   12/7/2020     John     Prepare to argue Motions     4.2   $ 325.00   $ 1,365.00
                       Muller    for Summary Judgment
    841   12/7/2020    Ezekiel   Mediation questionnaire      0.3   $ 250.00   $    75.00
                        Perez    preparation.
    841   12/10/2020   Ezekiel   Update draft of First        0.6   $ 250.00   $   150.00
                        Perez    Amended Disclosures and
                                 send to J. Muller for
                                 review.
    841   12/16/2020   Ezekiel   Prepare for deposition of    0.6   $ 250.00   $   150.00
                        Perez    D. Borders;
                                 Correspondence with
                                 court reporter.
    841   12/21/2020   Ezekiel   Document review and          6.7   $ 250.00   $ 1,675.00
                        Perez    prepared witness and
                                 exhibit list for motion to
                                 compel; Prepare
                                 presentation for judge
                                 regarding relevancy of
                                 messages.
    841   12/22/2020   Ezekiel   Prepared for and attended    1.3   $ 250.00   $   325.00
                        Perez    hearing on motion to
                                 compel.
    841   12/23/2020   Ezekiel   Continue draft of motion     1.7   $ 250.00   $   425.00
                        Perez    for leave to amend.
    841   12/31/2020   Ezekiel   Continue exhibit             4.3   $ 250.00   $ 1,075.00
                        Perez    preparation and document
                                 review.
    841   12/31/2020   Ezekiel   Exhibit preparation for      2.5   $ 250.00   $   625.00
                        Perez    trial.
    925    1/3/2021    Ezekiel   Continued revised draft of   8.7   $ 250.00   $ 2,175.00
                        Perez    proposed pretrial order;
                                 Review TCRG production
                                 for exhibits.
    925    1/5/2021    Sherry    Follow up on proposed        0.1   $ 250.00   $    25.00
                       Barnash   Findings of Facts and
                                 Conclusions of Law with
                                 E. Perez




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    925    1/6/2021   Ezekiel   Assist with preparation for    10.3   $ 250.00   $ 2,575.00
                       Perez    deposition of D. Moore;
                                Research caselaw and
                                draft proposed
                                conclusions of law;
                                Confer with A. Krist and
                                T. Cleveland regarding
                                outstanding pretrial issues;
                                Confer with W. Germany
                                regarding Wright's
                                affirmative defenses; Edit
                                draft of motion for leave
                                to file Findings of Facts
                                and Conclusions of Law;
                                Edit draft of Order on the
                                same; Finalize Findings of
                                Facts and Conclusions of
                                Law Motion for Leave
                                and Order; Edit and
                                finalize proposed privilege
                                log; Edit and finalize Rule
                                26 Disclosures; File
                                motion on ECF; Serve
                                copies of all filings to all
                                counsel of record; Review
                                DMA Moore
                                Longbranch Exhibits.
    925    1/6/2021   Sherry    Mark A. McLeod                  1     $ 250.00   $   250.00
                      Barnash   deposition excerpts
                                designated by opposing
                                counsel.
    925   1/10/2021   Ezekiel   Trial preparation.             5.6    $ 250.00   $ 1,400.00
                       Perez
    925   1/11/2021   Ezekiel   Prepare for and attend         9.4    $ 250.00   $ 2,350.00
                       Perez    trial. Confer with client
                                regarding the same.
    925   1/12/2021   Ezekiel   Prepare for day two of         9.6    $ 250.00   $ 2,400.00
                       Perez    trial; Attend trial; Prepare
                                for day three.
    925   1/13/2021   Ezekiel   Prepare for and participate    9.2    $ 250.00   $ 2,300.00
                       Perez    in day 3 of trial.
    925   1/14/2021   Ezekiel   Closing preparation and        10.8   $ 250.00   $ 2,700.00
                       Perez    preparation for cross of D.
                                Moore.
    925   1/15/2021   Ezekiel   Prepare for and attend day     8.7    $ 250.00   $ 2,175.00
                       Perez    four of trial.
    925   1/20/2021   Ezekiel   Continued preparations         5.1    $ 250.00   $ 1,275.00
                       Perez    for closing; Confer with
                                W. Germany regarding


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                                 trial preparations; Finalize
                                 PowerPoint presentation.
    925    1/21/2021   Ezekiel   Prepare for and participate    4.9     $ 250.00    $ 1,225.00
                        Perez    in trial.
    925    1/25/2021   Ezekiel   Prepare for closing of         2.1     $ 250.00    $      525.00
                        Perez    trial; Confer with client
                                 opposing counsel W.
                                 Germany and the Court
                                 regarding covid outbreak;
                                 Sought reset of trial;
                                 Communicate the same to
                                 J. Muller.
    925    2/11/2021   Ezekiel   Prepare for and attend last    5       $ 250.00    $ 1,250.00
                        Perez    day of trial.
    925    2/11/2021   John      Prepare for and attend         5       $ 325.00    $ 1,625.00
                       Muller    trial.
   1089    4/12/2021   Bryan     Confer with client and         1.5     $325.00         $487.50
                       Lopez     John Muller regarding
                                 option issue as part of sale
                                 of pipeline easement and
                                 review documents relating
                                 to the same.
   1216   08/03/2021   Ezekiel   Prepare outline for            4.1     $250.00     $ 1,025.00
                        Perez    hearing on Attorney’s
                                 fees. Confer with J.
                                 Muller regarding the same
   1216   08/04/2021   Ezekiel   Prepare for and attend         3.5     $250.00     $ 875.00
                        Perez    hearing; confer with client
                                 regarding path forward;
                                 review correspondence
                                 from T. Cleveland; draft
                                 and sent response to B.
                                 Kuhlman.
                                                                         Total:     $57,165.00

                                    Timekeeper Summary
 Name                       Hours           Rate                      Amount
    John Muller             39.4            $325/Hour                 $ 12,805.00
    Bryan Lopez             0.8             $325/Hour                 $ 747.50
    Ezekiel Perez          143.8            $250/Hour                 $ 37,850.00
    Craig O’Neil            20.5            $250/Hour                 $ 5,125.00
    Sherry Barnash           2.1            $250/Hour                 $    525.00
    Paige Burough            0.5            $250/Hour                 $    112.50
     BILLING SUMMARY
           TOTAL CHARGES FOR THIS BILL:                               $ 57,165.00


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 TRIAL AND HEARINGS
 FOR PROFESSIONAL SERVICES RENDERED
  Bill ID    Date    User         Description                Qty.     Price      Total
    699    8/3/2020  John   Attend hearing on                0.5    $ 325.00   $   162.50
                    Muller  motion to quash and for
                            protective order.
    699    8/3/2020 Ezekiel Attend hearing.                  0.6    $ 250.00   $   150.00
                     Perez
    699    8/25/2020    Craig     Hearing on Motion to        1     $ 250.00   $   250.00
                        O'Neil    Continue DMA Motion
                                  for Partial Summary
                                  Judgment on Bigfoot
                                  Note Payment.
    699    8/25/2020    John      Attend hearing on           1     $ 325.00   $   325.00
                        Muller    Motion for
                                  Continuance.
    750    9/22/2020    Ezekiel   Participate in hearing     2.1    $ 250.00   $   525.00
                         Perez    on Motion for
                                  Summary Judgment and
                                  Objections to subpoena.
    750    9/22/2020    Craig     Participate in Motion       2     $ 250.00   $   500.00
                        O'Neil    for Partial Summary
                                  Judgment hearing
                                  regarding interpretation
                                  of DMA agreement.
    750    9/22/2020    John      Attend Motion for           2     $ 325.00   $   650.00
                        Muller    Partial Summary
                                  Judgment hearing
                                  regarding interpretation
                                  of DMA agreement.
    750    9/24/2020     Paige    Attend KrisJenn            0.3    $ 225.00   $    67.50
                        Burough   discovery strategy
                                  meeting
    800    10/8/2020    Ezekiel   Participated in            7.4    $ 250.00   $ 1,850.00
                         Perez    deposition of A.
                                  McLeod; conferred
                                  with J. Muller regarding
                                  the same.
    800    10/9/2020    John      Attend John Mcleod          3     $ 325.00   $   975.00
                        Muller    deposition.
    800    10/13/2020   Craig     Hearing on Bigfoot          2     $ 250.00   $   500.00
                        O'Neil    Note Motion for
                                  Summary Judgment.
    830    11/2/2020    John      Attend Motion to           0.8    $ 325.00   $   260.00
                        Muller    Compel Discovery
                                  Responses
    830    11/3/2020    Ezekiel   Attend conference          0.7    $ 250.00   $   175.00
                         Perez    regarding Motion to
                                  Continue.


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    830    11/12/2020   John      Attend hearing on           1     $ 325.00   $   325.00
                        Muller    motion for leave to
                                  amend pleadings.
    841    12/4/2020    John      Take deposition of         8.8    $ 325.00   $ 2,860.00
                        Muller    Daniel Moore.
    841    12/4/2020    Ezekiel   Attend deposition of F.    10.8   $ 250.00   $ 2,700.00
                         Perez    Moore.
    841    12/7/2020    John      Argue Motions for          0.8    $ 325.00   $   260.00
                        Muller    Summary Judgment.
    841    12/8/2020    Ezekiel   Participate in             2.2    $ 250.00   $   550.00
                         Perez    mediation.
    841    12/8/2020    John      Attend Mediation.          8.5    $ 325.00   $ 2,762.50
                        Muller
    841    12/16/2020   Ezekiel   Attend and assist with     3.4    $ 250.00   $   850.00
                         Perez    deposition of Darrin
                                  Borders.
    925     1/2/2021    Ezekiel   Trial preparation.         5.3    $ 250.00   $ 1,325.00
                         Perez
    925     1/4/2021    John      Trial preparation.         8.1    $ 325.00   $ 2,632.50
                        Muller
    925     1/5/2021    John      Trial preparation.         7.7    $ 325.00   $ 2,502.50
                        Muller
    925     1/6/2021    John      Trial preparation.         9.1    $ 325.00   $ 2,957.50
                        Muller
    925     1/7/2021    John      Trial preparation.         8.4    $ 325.00   $ 2,730.00
                        Muller
    925     1/8/2021    John      Trial preparation.         6.9    $ 325.00   $ 2,242.50
                        Muller
    925     1/8/2021    Ezekiel   Trial preparation; Final   9.2    $ 250.00   $ 2,300.00
                         Perez    draft/edits to proposed
                                  pretrial order and
                                  findings of fact and
                                  conclusions of law;
                                  Approved final
                                  exhibits; Multiple
                                  correspondence with
                                  opposing counsel;
                                  Confer with client;
                                  Finalize drafts and file
                                  via ECF; corresponded
                                  with D. Castleberry.
    925     1/9/2021    Ezekiel   Trial preparation.         8.8    $ 250.00   $ 2,200.00
                         Perez
    925    1/11/2021    John      Attendance at Trial        7.3    $ 325.00   $ 2,372.50
                        Muller



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    925    1/12/2021    John      Attendance at Trial.    8.6    $ 325.00     $    2,795.00
                        Muller
    925    1/13/2021    John      Attendance at Trial.    8.1    $ 325.00     $ 2,632.50
                        Muller
    925    1/14/2021    John      Trial Preparation.      8.2    $ 325.00     $ 2,665.00
                        Muller
    925    1/15/2021    John      Attendance at Trial.    7.8    $ 325.00     $ 2,535.00
                        Muller
    925    2/10/2021    Ezekiel   Trial preparations      5.8    $ 250.00     $ 1,450.00
                         Perez    including edits to
                                  closing presentation.
    1216   08/04/2021   John      Attend Hearing for      1.0    $ 325.00         $ 325.00
                        Muller    Attorney’s fees.
                                                                 TOTAL:       $50,362.50



                            Timekeeper Summary
 Name                       Hours           Rate                Amount
    John Muller             106.9          $325/Hour            $ 33,995.00
    Ezekiel Perez            59.3          $250/Hour            $ 15,050.00
    Craig O’Neil              5.0          $250/Hour            $ 1,250.00
    Paige Burough              .3          $225/Hour            $     67.50



     BILLING SUMMARY
           TOTAL CHARGES FOR THIS BILL:                         $50,362.50




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 DRAFTS AND DISCOVERY
 FOR PROFESSIONAL SERVICES RENDERED
   Bill ID     Date         User             Description        Qty.     Price      Total
    664      7/17/2020   Ezekiel Perez   Draft memo             0.6    $ 250.00   $   150.00
                                         regarding potential
                                         third party
                                         adversary claims.
    664      7/29/2020   Craig O'Neil    Draft Rule 26          0.4    $ 250.00   $   100.00
                                         disclosures and
                                         send to R.
                                         Smeberg for
                                         review. Discuss
                                         documents that
                                         were already
                                         produced with E.
                                         Perez.
    664      7/30/2020   Craig O'Neil    Draft disclosures.     0.7    $ 250.00   $   175.00
                                         Send email to
                                         Larry Wright
                                         regarding John
                                         Terril information.
                                         Send email to J.
                                         Muller regarding
                                         insurance question.
    664      7/30/2020   Craig O'Neil    Draft version 1 of      2     $ 250.00   $   500.00
                                         conference letter to
                                         Boerner Dennis &
                                         Franklin PLLC.
     64      7/31/2020   Craig O'Neil    Draft conference       0.5    $ 250.00   $   125.00
                                         letter; Gather
                                         email information
                                         from recipient and
                                         discuss motion for
                                         continuance with
                                         R. Smeberg. Call J.
                                         Muller re: motion
                                         for continuance
                                         and leave a
                                         voicemail.
    699      8/5/2020    Craig O'Neil    Finalize review of     2.6    $ 250.00   $   650.00
                                         Covenants that run
                                         with the land and
                                         annotate harmful
                                         and helpful
                                         propositions
                                         throughout the
                                         article and send
                                         article to the group
                                         for review.



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    699     8/6/2020   Craig O'Neil   Draft email to        0.5   $ 250.00   $   125.00
                                      group outlining
                                      arguments and
                                      concerns with
                                      touch and concern
                                      and privity of
                                      estate for Motion
                                      for Summary
                                      Judgment.
    699    8/11/2020   Craig O'Neil   Draft Response to     3     $ 250.00   $   750.00
                                      Motion for
                                      Summary
                                      Judgment.
    699    8/12/2020   John Muller    Draft                 5.7   $ 325.00   $ 1,852.50
                                      Interrogatories and
                                      Requests for
                                      Production to
                                      Daniel Moore.
    699    8/12/2020   Craig O'Neil   Draft Motion for      1     $ 250.00   $   250.00
                                      Partial Summary
                                      Judgment
                                      response.
    800    8/12/2020     Sherry       Draft of Status       0.8   $ 250.00   $   187.50
                         Barnash      Report re Offer of
                                      Judgment.
    699    8/12/2020   Craig O'Neil   Draft Order on        0.5   $ 250.00   $   125.00
                                      expedited motion
                                      to continue Motion
                                      for Summary
                                      Judgment
                                      Deadline to
                                      Respond to Motion
                                      for Summary
                                      Judgment and
                                      Deadline to submit
                                      David Strolle
                                      Privilege Log.
    699    8/13/2020   John Muller    Draft                 1.7   $ 325.00   $   552.50
                                      Interrogatories and
                                      Requests for
                                      Production to
                                      Daniel Moore.
    699    8/13/2020   Craig O'Neil   Draft Proposed        1.2   $ 250.00   $   300.00
                                      Agreed Order
                                      reflecting
                                      negotiated terms
                                      and send to
                                      opposing counsel
                                      for review.




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    699    8/17/2020   Ezekiel Perez   Draft amended          0.5   $ 250.00   $   125.00
                                       complaint.
    699    8/17/2020   Ezekiel Perez   Draft first            0.9   $ 250.00   $   225.00
                                       amended answer to
                                       Moore's
                                       counterclaim.
    699    8/17/2020   Ezekiel Perez   Draft motion for       0.5   $ 250.00   $   125.00
                                       leave to amend.
    699    8/17/2020   Craig O'Neil    Draft written          1.2   $ 250.00   $   300.00
                                       discovery requests
                                       and interrogatories
                                       to DMA.
    699    8/17/2020   Ezekiel Perez   Begin draft first      0.6   $ 250.00   $   150.00
                                       amended answer to
                                       DMA's
                                       counterclaim.
    699    8/17/2020   Ezekiel Perez   Begin draft first      0.9   $ 250.00   $   225.00
                                       amended answer to
                                       DMA's
                                       counterclaim.
    699    8/18/2020   Craig O'Neil    Draft Conference       0.8   $ 250.00   $   200.00
                                       Letter Re: DMA's
                                       objections to
                                       KrisJenn's First set
                                       of Requests for
                                       Production and
                                       availability dates
                                       for Frank Daniel
                                       Moore to be
                                       deposed.
    699    8/18/2020   Craig O'Neil    Draft conference       0.2   $ 250.00   $    50.00
                                       letter to Tim
                                       Cleveland.
    699    8/18/2020   Ezekiel Perez   Draft discovery        2.2   $ 250.00   $   550.00
                                       requests to Moore.
    699    8/18/2020   Craig O'Neil    Draft Rule 56(d)       1     $ 250.00   $   250.00
                                       motion.
    699    8/18/2020   Craig O'Neil    Draft transmittal      0.6   $ 250.00   $   150.00
                                       cover letter
                                       regarding
                                       discovery and
                                       pleadings.
    699    8/18/2020   Craig O'Neil    Draft transmittal      0.1   $ 250.00   $    25.00
                                       letter.
    699    8/18/2020   Ezekiel Perez   Finalize Amended       0.9   $ 250.00   $   225.00
                                       Complaint and
                                       Answers.




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    699    8/18/2020   Ezekiel Perez   Finalize Motion       0.8   $ 250.00   $   200.00
                                       for leave to amend.
    699    8/19/2020   Craig O'Neil    Draft 1st             0.6   $ 250.00   $   150.00
                                       Interrogatories to
                                       DMA.
    699    8/19/2020   Craig O'Neil    Draft 1st             0.6   $ 250.00   $   150.00
                                       Interrogatories to
                                       Moore.
    699    8/19/2020   Craig O'Neil    Draft 1st Requests    0.3   $ 250.00   $    75.00
                                       for Production to
                                       Moore.
    699    8/19/2020   Craig O'Neil    Draft 2nd Requests    0.6   $ 250.00   $   150.00
                                       for Production to
                                       DMA.
    699    8/19/2020   Craig O'Neil    Draft 2nd Requests    0.4   $ 250.00   $   100.00
                                       for Production to
                                       Moore.
    699    8/19/2020   Ezekiel Perez   Draft and edit        1.6   $ 250.00   $   400.00
                                       proposed
                                       discovery and
                                       pleadings
    699    8/19/2020   Craig O'Neil    Draft edits into      0.2   $ 250.00   $    50.00
                                       Deposition letter
                                       re: Moore.
    699    8/19/2020   Ezekiel Perez   finalize motion for   1.1   $ 250.00   $   275.00
                                       leave and request
                                       filing of the same
    699    8/20/2020   Craig O'Neil    Finalize Motion to    0.4   $ 250.00   $   100.00
                                       Continue for filing
                                       and send to D.
                                       Anguiano to file
                                       with the Court.
    699    8/21/2020   Craig O'Neil    Draft Subpoena to     0.4   $ 250.00   $   100.00
                                       take George
                                       Harrison Pigg's
                                       deposition.
    699    8/24/2020   Craig O'Neil    Draft Notice of       0.6   $ 250.00   $   150.00
                                       Depositions and
                                       assemble the
                                       Notice of
                                       Depositions and
                                       Subpoena for
                                       version 2 review.
                                       Send version 2 for
                                       review to E. Perez.
    699    8/24/2020   Craig O'Neil    Finalize              0.4   $ 250.00   $   100.00
                                       verification on
                                       Motion to
                                       Continue and
                                       prepare for D.


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                                       Anguiano to file
                                       with court.
    750     9/4/2020   Ezekiel Perez   Draft                 0.4   $ 250.00   $   100.00
                                       correspondence to
                                       D. Strolle
                                       regarding
                                       complying with
                                       court's request for
                                       privilege log.
    800     9/9/2020   Craig O'Neil    Draft Motion for      3     $ 250.00   $   750.00
                                       Summary
                                       Judgment
                                       response. Privity
                                       of Estate
                                       argument.
    750     9/9/2020   Craig O'Neil    Draft Motion for      8.4   $ 250.00   $ 2,100.00
                                       Summary
                                       Judgment
                                       response. Privity
                                       of estate
                                       arguments.
    750    9/11/2020   Craig O'Neil    Draft Contract        4.2   $ 250.00   $ 1,050.00
                                       arguments for
                                       Motion for Partial
                                       Summary
                                       Judgment run with
                                       the land response.
    750    9/11/2020   Craig O'Neil    Draft Fact Pattern    4.1   $ 250.00   $ 1,025.00
                                       and Background
                                       portion of Motion
                                       for Partial
                                       Summary
                                       Judgment run with
                                       the land response.
    750    9/12/2020   Craig O'Neil    Draft intent          2     $ 250.00   $   500.00
                                       arguments for run
                                       with the land
                                       Motion for Partial
                                       Summary
                                       Judgment
                                       response.
    750    9/14/2020   Ezekiel Perez   Draft affidavit of    1.1   $ 250.00   $   275.00
                                       Larry Wright for
                                       Response to
                                       Summary
                                       Judgment.
    750    9/14/2020   Craig O'Neil    Finalize run with     1.4   $ 250.00   $   350.00
                                       the land Motion
                                       for Partial
                                       Summary


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                                       Judgment response
                                       and exhibits.
    750    9/14/2020   Craig O'Neil    Finish draft of run   9.1   $ 250.00   $ 2,275.00
                                       with the land
                                       Motion for Partial
                                       Summary
                                       Judgment
                                       response.
    750    9/15/2020   Ezekiel Perez   Draft of notice of    0.3   $ 250.00   $    75.00
                                       intent to depose
                                       corporate rep of
                                       DMA.
    750    9/15/2020   Ezekiel Perez   Drafted notice of     0.8   $ 250.00   $   200.00
                                       intent to take
                                       deposition of F. D.
                                       Moore; Sent draft
                                       to C. O'Neil for
                                       review.
    750    9/16/2020   Ezekiel Perez   Draft deposition      0.6   $ 250.00   $   150.00
                                       notice for DMA
                                       Properties Inc.'s
                                       corporate
                                       representative and
                                       conferred with J.
                                       Muller regarding
                                       topics.
    750    9/16/2020   Ezekiel Perez   Draft notice of       0.7   $ 250.00   $   175.00
                                       intent to serve
                                       subpoena and
                                       subpoena for the
                                       deposition of
                                       SCMED.
    750    9/16/2020   Ezekiel Perez   Edited proposed       0.2   $ 250.00   $    50.00
                                       order and
                                       requested filing.
    750    9/22/2020   Ezekiel Perez   Draft proposed        0.6   $ 250.00   $   150.00
                                       order on objections
                                       to subpoena
                                       requests; conferred
                                       with C. O'Neil and
                                       J. Muller regarding
                                       the same.
    750    9/23/2020   Ezekiel Perez   Finalize              0.2   $ 250.00   $    50.00
                                       conference letter;
                                       served the same on
                                       all counsel of
                                       record.
    750    9/28/2020   Ezekiel Perez   Drafted cover         0.2   $ 250.00   $    50.00
                                       letter regarding
                                       production.


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    800    10/6/2020    John Muller     Draft and edit        3.5   $ 325.00   $ 1,137.50
                                        Response to
                                        Motion for Partial
                                        Summary
                                        Judgment.
    800    10/6/2020    Craig O'Neil    Draft Response to     10    $ 250.00   $ 2,500.00
                                        Motion for Partial
                                        Summary
                                        Judgment on the
                                        Bigfoot Note
                                        Payments.
    800    10/6/2020    Craig O'Neil    Draft Wright          1     $ 250.00   $   250.00
                                        affidavit.
    800    10/12/2020   Craig O'Neil    Draft objection to    1.3   $ 250.00   $   325.00
                                        DMAs evidence on
                                        Bigfoot Note
                                        Motion for
                                        Summary
                                        Judgment.
    800    10/12/2020   Craig O'Neil    Draft surreply to     2.5   $ 250.00   $   625.00
                                        Bigfoot Note
                                        Motion for
                                        Summary
                                        Judgment.
    800    10/13/2020   Craig O'Neil    Draft of First        2     $ 250.00   $   500.00
                                        Amended
                                        Complaint.
    800    10/14/2020   Craig O'Neil    Draft Motion for      1     $ 250.00   $   250.00
                                        Leave to Amend
                                        Complaint.
    800    10/14/2020   Ezekiel Perez   Drafted cover         0.3   $ 250.00   $    75.00
                                        correspondence for
                                        Motion to Compel.
    800    10/14/2020   Ezekiel Perez   Edit draft of         2.9   $ 250.00   $   725.00
                                        Amended
                                        Complaint Motion
                                        for Leave to
                                        Amend Proposed
                                        Order; finalized
                                        the same for filing
                                        and requested
                                        filing.
    800    10/15/2020   Ezekiel Perez   Edited draft of       2.1   $ 250.00   $   525.00
                                        Motion to compel
                                        and incorporated J
                                        Muller proposed
                                        revisions.
    800    10/16/2020   Ezekiel Perez   Draft/edit motion     2.3   $ 250.00   $   575.00
                                        to compel draft.



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    800    10/20/2020   Ezekiel Perez   Amend proposed         1.3   $ 250.00   $   325.00
                                        draft of Motion to
                                        Compel to comport
                                        with response from
                                        T. Cleveland;
                                        provided draft to J.
                                        Muller for
                                        review/approval;
                                        incorporated edits
                                        finalized and
                                        requested filing.
    800    10/21/2020   Craig O'Neil    Begin drafting         1.5   $ 250.00   $   375.00
                                        Motion for Partial
                                        Summary
                                        Judgment on
                                        DMA's
                                        counterclaims.
    800    10/22/2020   Ezekiel Perez   Edit proposed          6.4   $ 250.00   $ 1,600.00
                                        responses to
                                        requests for
                                        production and
                                        identify responsive
                                        documents;
                                        prepare drafts for
                                        service.
    800    10/23/2020   Ezekiel Perez   Finalize               0.3   $ 250.00   $    75.00
                                        subpoena/notices
                                        of deposition;
                                        Draft
                                        correspondence to
                                        T. Cleveland;
                                        served
                                        notices/subpoena.
    800    10/25/2020   Craig O'Neil    Draft and              2.5   $ 250.00   $   625.00
                                        researching
                                        Motion for Partial
                                        Summary
                                        Judgment
                                        arguments against
                                        Moore's fraud
                                        claims.
    800    10/26/2020   Craig O'Neil    Draft Larry Wright     1     $ 250.00   $   250.00
                                        Affidavit for
                                        KrisJenn Motion
                                        for Partial
                                        Summary
                                        Judgment's against
                                        DMA and Moore.
    800    10/26/2020   Ezekiel Perez   Edited and             0.2   $ 250.00   $    50.00
                                        finalized draft of



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                                        motion to expedite
                                        hearing on motion
                                        to compel.
    800    10/26/2020   Ezekiel Perez   Finalize exhibits      1.1   $ 250.00   $   275.00
                                        for Motion for
                                        Summary
                                        Judgment and met
                                        client for signature
                                        on affidavit.
    800    10/27/2020   Craig O'Neil    Draft Answer to        4.9   $ 250.00   $ 1,225.00
                                        DMA's Amended
                                        Counterclaim filed
                                        on Oct. 14.
    800    10/28/2020   Craig O'Neil    Draft of Second        5     $ 250.00   $ 1,250.00
                                        Amended Answers
                                        to Moore's
                                        Amended
                                        Counterclaims
                                        filed on Oct. 14
                                        2020.
    800    10/28/2020   Ezekiel Perez   Finalize both          1.3   $ 250.00   $   325.00
                                        amended answers;
                                        conferred with J.
                                        Muller regarding
                                        the same; and
                                        requested filing.
    800    10/29/2020   Ezekiel Perez   Edited letter          0.4   $ 250.00   $   100.00
                                        regarding
                                        discovery request
                                        receipt date;
                                        conferred with J.
                                        Muller and R.
                                        Smeberg regarding
                                        the same; finalized
                                        draft and send to
                                        all counsel of
                                        record.
    800    10/30/2020   Craig O'Neil    Draft Motion to        1     $ 250.00   $   250.00
                                        Continue Motion
                                        for Partial
                                        Summary
                                        Judgment and
                                        Proposed Order.
    800    10/30/2020   Ezekiel Perez   Amended                1.9   $ 250.00   $   475.00
                                        Discovery
                                        Responses for all
                                        three Debtors;
                                        Bates Labeled
                                        Amended
                                        Production; and



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                                        Served on all
                                        counsel of record.

    830    11/2/2020    Ezekiel Perez   Draft notice of       0.2   $ 250.00   $    50.00
                                        expedited hearing.
    830    11/2/2020    Ezekiel Perez   Work on updating      0.2   $ 250.00   $    50.00
                                        current pleadings.
    830    11/3/2020    Ezekiel Perez   Draft and edit        0.9   $ 250.00   $   225.00
                                        proposed order on
                                        Motion to Compel.
    830    11/3/2020    Ezekiel Perez   Edit motion to        0.4   $ 250.00   $   100.00
                                        withdraw proposed
                                        amended pleadings
                                        and replace with
                                        corrected
                                        documents.
    830    11/3/2020    Ezekiel Perez   Work on draft of      0.3   $ 250.00   $    75.00
                                        proposed
                                        settlement
                                        documents.
    830    11/8/2020    Ezekiel Perez   Finalize draft of     0.8   $ 250.00   $   200.00
                                        client errata’s and
                                        provided to L.
                                        Wright for
                                        comment and
                                        review.
    830    11/10/2020   Ezekiel Perez   Begin draft of        0.4   $ 250.00   $   100.00
                                        Amended Rule 26
                                        Disclosures.
    830    11/11/2020   Ezekiel Perez   Draft discovery       4.3   $ 250.00   $ 1,075.00
                                        requests to Moore
                                        DMA and
                                        Longbranch.
    830    11/11/2020   Ezekiel Perez   Continued draft of    1.2   $ 250.00   $   300.00
                                        Amended
                                        Disclosures.
    830    11/12/2020   Craig O'Neil    Work on               0.2   $ 250.00   $    50.00
                                        continuance to
                                        Motion for
                                        Summary
                                        Judgment.
    830    11/12/2020   Ezekiel Perez   Continued draft of    0.8   $ 250.00   $   200.00
                                        amended rule 26
                                        disclosures.
    830    11/16/2020   Craig O'Neil    Draft and edit        0.2   $ 250.00   $    50.00
                                        response to Motion
                                        to Dismiss.




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    830    11/16/2020   Craig O'Neil    Draft Answer to        3     $ 250.00   $   750.00
                                        Longbranch's
                                        Counterclaim.
    830    11/17/2020   Craig O'Neil    Draft Answer to        0.3   $ 250.00   $    75.00
                                        Longbranch's
                                        Counterclaims.
    830    11/17/2020   Ezekiel Perez   Draft letter           1.8   $ 250.00   $   450.00
                                        agreement
                                        concerning
                                        depositions and
                                        interrogatory
                                        responses;
                                        Incorporate J.
                                        Muller's edits and
                                        send to opposing
                                        counsel for review.
    830    11/17/2020   Ezekiel Perez   Finalize draft of      0.6   $ 250.00   $   150.00
                                        Answer to
                                        Longbranch
                                        Counterclaim and
                                        incorporate J.
                                        Muller edits.
    830    11/17/2020   Craig O'Neil    Work on Response       0.6   $ 250.00   $   150.00
                                        to Motion to
                                        Dismiss.
    830    11/17/2020   Craig O'Neil    Work on Response       0.2   $ 250.00   $    50.00
                                        to Motion to
                                        Dismiss.
    830    11/18/2020   Craig O'Neil    Draft and edit         0.3   $ 250.00   $    75.00
                                        Response to
                                        Motion to Dismiss.
    830    11/18/2020   Craig O'Neil    Draft and edit         0.1   $ 250.00   $    25.00
                                        Response to
                                        Motion to Dismiss.
    830    11/18/2020   Ezekiel Perez   Draft Motion to        1.8   $ 250.00   $   450.00
                                        Substitute as
                                        Counsel.
    830    11/18/2020   Ezekiel Perez   Draft responses to     4.8   $ 250.00   $ 1,200.00
                                        DMA/Moore's
                                        second set of
                                        discovery requests.
    830    11/19/2020   Ezekiel Perez   Draft proposed         0.3   $ 250.00   $    75.00
                                        agreed judgment
                                        on Bigfoot note
                                        interpleader.
    830    11/19/2020   Ezekiel Perez   Finalize draft of      4.3   $ 250.00   $ 1,075.00
                                        discovery
                                        responses and send
                                        to client for review
                                        and signature.



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    830    11/19/2020   Craig O'Neil    Work on proposed       1     $ 250.00   $   250.00
                                        settlement terms
                                        proposed by the
                                        McLeod’s.
    830    11/20/2020   Ezekiel Perez   Finalize and served    0.2   $ 250.00   $    50.00
                                        responses to
                                        discovery requests.
    830    11/29/2020   John Muller     Edit and approve       1.2   $ 325.00   $   390.00
                                        First Amendment
                                        to Option
                                        Agreement and
                                        Third Loan
                                        Modification
                                        Agreement.
    830    11/30/2020   Craig O'Neil    Draft and edit         8.5   $ 250.00   $ 2,125.00
                                        Response to
                                        Motion to Dismiss.
    830    11/30/2020   Ezekiel Perez   Draft joint motion     2.9   $ 250.00   $   725.00
                                        to lift stay and
                                        send to J. Muller
                                        for review.
    841    12/1/2020    Craig O'Neil    Draft Response to      3     $ 250.00   $   750.00
                                        motion to dismiss.
    841    12/1/2020    John Muller     Work on                0.2   $ 325.00   $    65.00
                                        scheduling of
                                        mediation with W.
                                        Shelton.
    841    12/2/2020    Ezekiel Perez   Finalize draft of      0.6   $ 250.00   $   150.00
                                        motion to lift stay
                                        and to C. Hebert
                                        for comment and
                                        review.
    841    12/3/2020    Craig O'Neil    Draft Reply to         5.5   $ 250.00   $ 1,375.00
                                        DMA's Response
                                        to Debtors' Motion
                                        for Partial
                                        Summary
                                        Judgment.
    841    12/3/2020    Craig O'Neil    Draft Reply to         5.5   $ 250.00   $ 1,375.00
                                        Moore's Response
                                        to Debtors' Motion
                                        for Partial
                                        Summary
                                        Judgment.
    841    12/4/2020    Ezekiel Perez   Edit response to       1.4   $ 250.00   $   350.00
                                        12(b)(6) motion
                                        and finalize for
                                        filing; edit replies
                                        to responses to
                                        Motion for Partial


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                                        Summary
                                        Judgments and
                                        finalized for filing;
                                        requested filing.
    841    12/7/2020    Ezekiel Perez   Draft subpoena          2.8    $ 250.00   $   700.00
                                        and deposition
                                        notices for
                                        Longbranch
                                        Energy and Darin
                                        Borders; Serve
                                        same on opposing
                                        counsel.
    841    12/8/2020    Ezekiel Perez   Draft trial             0.5    $ 250.00   $   125.00
                                        subpoenas for D.
                                        Strolle; J. Terrill;
                                        C. Crockett.
    841    12/8/2020    Ezekiel Perez   Draft/edit amended      1.2    $ 250.00   $   300.00
                                        R26 disclosures.
    841    12/11/2020   Ezekiel Perez   Draft fee               3.1    $ 250.00   $   775.00
                                        application; send
                                        to all required
                                        parties for review
                                        and approval.
    841    12/11/2020   Ezekiel Perez   Finalize Rule 26        3.8    $ 250.00   $   950.00
                                        disclosures; Confer
                                        with J. Muller
                                        regarding the
                                        same; Serve on all
                                        counsel of record.
    841    12/14/2020   Ezekiel Perez   Draft Answers to        5.6    $ 250.00   $ 1,400.00
                                        DMA and Moore's
                                        Amended
                                        Counterclaims
                                        conferred with J.
                                        Muller and W.
                                        Germany
                                        regarding the same
                                        and file final draft
                                        via ECF.
    841    12/16/2020   Ezekiel Perez   Draft of motion to      3.7    $ 250.00   $   925.00
                                        compel.
    841    12/17/2020   Ezekiel Perez   Draft Motion to         10.9   $ 250.00   $ 2,725.00
                                        Compel; draft
                                        subpoenas directed
                                        at TCRG and C
                                        Crockett; conferrer
                                        with J. Muller
                                        regarding the
                                        same.



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    841    12/18/2020   Ezekiel Perez   Edit notice of        0.3   $ 250.00   $    75.00
                                        hearing on
                                        Expedited Motion
                                        to Compel.
    841    12/18/2020   Ezekiel Perez   Finalize motion to    4.1   $ 250.00   $ 1,025.00
                                        compel proposed
                                        order exhibits
                                        motion to expedite
                                        and proposed order
                                        with exhibits; File
                                        the same.
    841    12/22/2020   Ezekiel Perez   Draft of proposed     1.8   $ 250.00   $   450.00
                                        order; conferred
                                        with J. Muller and
                                        incorporated
                                        proposed edits.
    841    12/22/2020   Ezekiel Perez   Draft third           5.1   $ 250.00   $ 1,275.00
                                        amended petition;
                                        proposed order on
                                        motion for leave to
                                        amend; and draft
                                        of motion for leave
                                        to amend.
    841    12/27/2020   Ezekiel Perez   Finalize draft of     1.1   $ 250.00   $   275.00
                                        proposed motion
                                        for leave to amend;
                                        Finalize draft of
                                        third amended
                                        complaint; Send to
                                        J. Muller for
                                        comment and
                                        review.
    841    12/30/2020   Ezekiel Perez   Edit and finalize     3.5   $ 250.00   $   875.00
                                        Third Amended
                                        Petition; Finalize
                                        motion for leave;
                                        finalize proposed
                                        order; filed the
                                        same.
    841    12/30/2020   John Muller     Edit and revise       0.5   $ 325.00   $   162.50
                                        Third Amended
                                        Complaint.
    841    12/30/2020   Ezekiel Perez   Edit proposed pre-    2.6   $ 250.00   $   650.00
                                        trial order.
    841    12/30/2020   Ezekiel Perez   Finalize proposed     0.2   $ 250.00   $    50.00
                                        order on motion to
                                        compel; provided
                                        the same to A.
                                        Krist for review.



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    925     1/5/2021   Ezekiel Perez   Draft proposed          11.8   $ 250.00   $ 2,950.00
                                       findings of fact
                                       and conclusions of
                                       law; confer with
                                       client; draft motion
                                       to enter; filed
                                       motion to enter
                                       order on motion to
                                       compel.
    925     1/7/2021   Ezekiel Perez   Draft multiple          8.1    $ 250.00   $ 2,025.00
                                       correspondence to
                                       A. Krist regarding
                                       D. Moore's phone
                                       inspection; Confer
                                       with J. Muller
                                       regarding the
                                       same; Review A.
                                       Mcleod and L.
                                       Wright deposition
                                       transcripts for trial
                                       use/designations.
    1089    4/8/2021   Ezekiel Perez   Draft motion for        3.1    $250.00     $775.00
                                       leave to file notice
                                       of appeal;
                                       Research appeal
                                       deadlines; draft
                                       notice of appeal.
    1089    4/9/2021   Ezekiel Perez   Draft notice of         3.3    $250.00     $825.00
                                       appeal; Review
                                       Motion for
                                       attorney's fees and
                                       began research for
                                       response.
    1089   4/13/2021   Ezekiel Perez   Research and draft      5.4    $250.00     $1,350.00
                                       response to motion
                                       for attorneys fees.


    1089   4/14/2021   Ezekiel Perez   Continue research       3.8    $250.00     $950.00
                                       and draft of
                                       response to motion
                                       for attorney's fees.

    1089   4/15/2021   Ezekiel Perez   Continue                3.2    $250.00     $800.00
                                       document review
                                       research and draft
                                       of response to
                                       motion for
                                       attorney's fees.




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    1089   4/16/2021   Ezekiel Perez   Research and draft     3.3     $250.00      $825.00
                                       response to motion
                                       for attorneys fees.


    1089   4/18/2021   Ezekiel Perez   Continue drafting      2.1     $250.00      $525.00
                                       response to motion
                                       for attorney's fees.


    1089   4/19/2021   Ezekiel Perez   Edit draft             0.4     $250.00      $100.00
                                       response.



    1089   4/20/2021   Ezekiel Perez   Draft response to      2.9     $250.00      $725.00
                                       Motion to Amend;
                                       and confer with W.
                                       Germany
                                       regarding response
                                       to Motion for
                                       Attorney's fees.
    1089   4/21/2021   Ezekiel Perez   Edit and finalize      6.1     $250.00     $1,525.00
                                       response to motion
                                       for fees; confer
                                       with W. Germany
                                       and J Muller
                                       regarding the
                                       same.
    1089   4/21/2021   John Muller     Locate documents       3.2     $350.00     $1,120.00
                                       for final draft of
                                       Response to
                                       Attorney's fee.
                                       Prepare Exhibits
                                       for the same. File
                                       the Response with
                                       the Court.
                                                                      TOTAL:      $76,292.50

                           Timekeeper Summary
 Name                      Hours             Rate                   Amount
    John Muller             12.8            $325/Hour               $ 5,280.00
    Ezekiel Perez          134.6            $250/Hour               $ 42,050.00
    Craig O’Neil           115.1            $250/Hour               $ 28,775.00
    Sherry Barnash            .8            $250/Hour               $    187.50


     BILLING SUMMARY
           TOTAL CHARGES FOR THIS BILL:                             $76,292.50


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 RESEARCH AND ANALYSIS
 FOR PROFESSIONAL SERVICES RENDERED
  Bill ID      Date         User                Description          Qty.     Price      Total
   841      12/18/2020   Ezekiel Perez   Ran background report       0.3    $ 250.00   $    75.00
                                         for attempt of service
                                         of C. Crockett
                                         subpoena.
    699     8/21/2020    Ezekiel Perez   Received produced           0.2    $ 250.00   $    50.00
                                         documents and saved.
    699     8/18/2020    John Muller     Research affirmative        1.6    $ 325.00   $   520.00
                                         defenses which need to
                                         be added to pleadings.
    699      8/3/2020    John Muller     Research and analysis       0.6    $ 325.00   $   195.00
                                         regarding Black Duck's
                                         status as successor in
                                         interest to ROW.
    699      8/4/2020    John Muller     Research and analysis       1.2    $ 325.00   $   390.00
                                         regarding defenses to
                                         DMA's Motion for
                                         Summary Judgment
                                         regarding contract
                                         interpretation privity of
                                         estate and intent of
                                         parties.
    830     11/18/2020   Craig O'Neil    Research and analysis       0.5    $ 250.00   $   125.00
                                         regarding justification
                                         defense and
                                         opposition's
                                         justification defenses
                                         on tortious interference.
    699     8/17/2020    Ezekiel Perez   Research and confer         0.5    $ 250.00   $   125.00
                                         with J. Muller
                                         regarding compulsory
                                         counter claims in this
                                         case.
    800     10/22/2020   Craig O'Neil    Research and draft           2     $ 250.00   $   500.00
                                         Motion for Partial
                                         Summary Judgment on
                                         DMA's Breach of
                                         Contract claim.
    800     10/22/2020   Craig O'Neil    Research and draft          2.2    $ 250.00   $   550.00
                                         Motion for Partial
                                         Summary Judgment on
                                         DMA's Money had and
                                         received claims.
    800     10/22/2020   Craig O'Neil    Research and draft           3     $ 250.00   $   750.00
                                         Motion for Partial
                                         Summary Judgment on




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                                      DMA's Tortious
                                      Interference Claims.
    750   9/10/2020    Craig O'Neil  Research and draft           5     $ 250.00   $ 1,250.00
                                     touch and concern
                                     argument for Motion
                                     for Partial Summary
                                     Judgment.
    800   10/23/2020    Craig O'Neil Research and drafting        3     $ 250.00   $    750.00
                                     Motion for Partial
                                     Summary Judgment
                                     arguments on DMA's
                                     Bigfoot claims.
    800   10/23/2020    Craig O'Neil Research and drafting        2     $ 250.00   $    500.00
                                     Motion for Partial
                                     Summary Judgment on
                                     Moore's breach of
                                     contract claims.
    800   10/24/2020    Craig O'Neil Research and drafting        2     $ 250.00   $    500.00
                                     Motion for Partial
                                     Summary Judgment on
                                     Moore's tortious
                                     interference claim.
    800   10/15/2020   Ezekiel Perez Research case law            1.4   $ 250.00   $    350.00
                                     regarding standards for
                                     motion to compel.
    699   8/10/2020     Craig O'Neil Research Federal and         5     $ 250.00   $   1,250.00
                                     state case law on
                                     Covenants that Run
                                     with the Land for
                                     response to Motion for
                                     Summary Judgment.
    800   10/15/2020   Paige Burough Research federal             1.5   $ 225.00   $    337.50
                                     discovery standards
    699   8/10/2020    Craig O'Neil   Research for response       2     $ 250.00   $    500.00
                                      to Motion for Summary
                                      Judgment.
    830   11/23/2020   Craig O'Neil   Research on                 1     $ 250.00   $    250.00
                                      justification affirmative
                                      defense.
    800   10/21/2020   Craig O'Neil   Research on possible        4     $ 250.00   $ 1,000.00
                                      defenses ripe for
                                      summary judgment on
                                      DMA and Moore's
                                      counterclaims.
    699   8/21/2020    Craig O'Neil   Research on property        0.5   $ 250.00   $    125.00
                                      issues concerning the
                                      P-21.
    699   8/18/2020    Craig O'Neil   Research on Rule 56(d)      0.8   $ 250.00   $    200.00
                                      motion.



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    699   8/11/2020    Craig O'Neil    Research rebuttal to       1     $ 250.00   $   250.00
                                       oppositions case law.
    830   11/23/2020   Craig O'Neil    Research regarding         2     $ 250.00   $   500.00
                                       affirmative defenses as
                                       basis for 12(b)(6)
                                       motion.
    800   10/26/2020   Ezekiel Perez   Research regarding         0.3   $ 250.00   $    75.00
                                       jurat requirements for
                                       Motion for Summary
                                       Judgment.
    830   11/23/2020   Craig O'Neil    Research remedies for      1     $ 250.00   $   250.00
                                       untimely dispositive
                                       motion.
    699    8/7/2020    Craig O'Neil    Research touch and         2.5   $ 250.00   $   625.00
                                       concern in Sabine
                                       cases. Locate cases that
                                       cite Sabine.
    830   11/17/2020   Ezekiel Perez   Review and analyze         0.2   $ 250.00   $    50.00
                                       Amended
                                       Counterclaims.
    841   12/1/2020    John Muller     Review and analyze D.      0.3   $ 325.00   $    97.50
                                       Moore's Response to
                                       Debtor's Motion for
                                       Summary Judgement.
    841   12/30/2020   John Muller     Review and analyze         1.2   $ 325.00   $   390.00
                                       DMA and
                                       Longbranch's proposed
                                       post-judgment Order.
    699   8/20/2020    John Muller     Review and analyze         0.4   $ 325.00   $   130.00
                                       DMA/Moore's Motion
                                       for Summary Judgment
                                       regarding Big Foot
                                       Note.
    830   11/19/2020   Craig O'Neil    Review and analyze         1     $ 250.00   $   250.00
                                       live pleadings.
    830   11/3/2020    Ezekiel Perez   Review and analyze         0.3   $ 250.00   $    75.00
                                       Pipeline management
                                       agreement.
    830   11/3/2020    Craig O'Neil    Review and analyze         0.3   $ 250.00   $    75.00
                                       Second Amended
                                       Complaint.
    664   7/30/2020    John Muller     Review and comment         0.3   $ 325.00   $    97.50
                                       on disclosures prepared
                                       by associates.
    841   12/3/2020    Craig O'Neil    Review and compiling       0.5   $ 250.00   $   125.00
                                       proposed exhibits to
                                       Replies.
    800   10/26/2020   Craig O'Neil    Review and drafting        4.3   $ 250.00   $ 1,075.00
                                       Motion for Partial



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                                       Summary Judgment on
                                       DMA's claims.
    800   10/26/2020   Craig O'Neil    Review and drafting       4.3   $ 250.00   $ 1,075.00
                                       Motion for Partial
                                       Summary Judgment on
                                       Moore's claims.
    800   10/13/2020   John Muller     Review and edit           1     $ 325.00   $   325.00
                                       Amended Complaint.
    664   7/31/2020    John Muller     Review and edit           1     $ 325.00   $   325.00
                                       conference letter.
    830   11/16/2020   Ezekiel Perez   Review and edit draft     0.4   $ 250.00   $   100.00
                                       of Answer to Amended
                                       Counterclaim.
   1010    3/8/2021    Ezekiel Perez   Review and edit fee       0.2   $ 250.00   $    50.00
                                       application.
    800   10/26/2020   John Muller     Review and edit           1.4   $ 325.00   $   455.00
                                       Motion for Partial
                                       Summary Judgment on
                                       economic loss rule
                                       privity and other
                                       affirmative defenses.
    800   10/22/2020   John Muller     Review and edit           0.7   $ 325.00   $   227.50
                                       objections and
                                       responses to DMA's
                                       written discovery
                                       requests.
    830   11/17/2020   Ezekiel Perez   Review and edit of        1.2   $ 250.00   $   300.00
                                       Answer to
                                       Longbranch'[s
                                       Counterclaim.
    841   12/4/2020    John Muller     Review and edit           0.6   $ 325.00   $   195.00
                                       Response to D Moore's
                                       Motion to Dismiss.
    841   12/4/2020    John Muller     Review and edit           0.6   $ 325.00   $   195.00
                                       Response to KrisJenn's
                                       Motion for Summary
                                       Judgment.
    830   11/3/2020    Ezekiel Perez   Review and edit           0.3   $ 250.00   $    75.00
                                       Second Amended
                                       Complaint draft.
    699   8/13/2020    John Muller     Review and edit written   0.6   $ 325.00   $   195.00
                                       discovery requests to
                                       DMA.
    750   9/12/2020    Craig O'Neil    Review and finalize       3.3   $ 250.00   $   825.00
                                       version 1 of the
                                       Response to DMA's
                                       Motion for Partial
                                       Summary Judgment



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                                       regarding run with the
                                       land interpretation.

    750   9/13/2020    Ezekiel Perez   Review and identify       8.9   $ 250.00   $ 2,225.00
                                       emails responsive to
                                       subpoena and identify
                                       objections.
    750   9/14/2020    Ezekiel Perez   Review and identify       3     $ 250.00   $   750.00
                                       emails responsive to
                                       subpoena and identify
                                       objections; Confer with
                                       J. Muller regarding the
                                       same.
    830   11/9/2020    Ezekiel Perez   Review and prepare        0.6   $ 250.00   $   150.00
                                       documents to be used
                                       as exhibits at trial.
    750   9/22/2020    Ezekiel Perez   Review and respond to     0.2   $ 250.00   $    50.00
                                       correspondence from T.
                                       Cleveland regarding
                                       discovery requests;
                                       confer with J. Muller
                                       and R. Smeberg
                                       regarding the same.
    664   7/31/2020    Craig O'Neil    Review and respond to     0.1   $ 250.00   $    25.00
                                       S. Barnash email re:
                                       conference letter.
    664    7/8/2020    Craig O'Neil    Review and revise         0.4   $ 250.00   $   100.00
                                       motion to quash
                                       subpoena against David
                                       Strolle.
    800   10/14/2020   Craig O'Neil    Review and revising       1.5   $ 250.00   $   375.00
                                       draft of First Amended
                                       Complaint.
    841   12/10/2020   Ezekiel Perez   Review client             0.2   $ 250.00   $    50.00
                                       correspondence.
    800   10/20/2020   John Muller     Review conference         0.3   $ 325.00   $    97.50
                                       letter from T.
                                       Cleveland
    750    9/4/2020    Ezekiel Perez   Review correspondence     2.8   $ 250.00   $   700.00
                                       and confer with J.
                                       Muller regarding scope
                                       of review.
    699   8/12/2020    Ezekiel Perez   Review correspondence     0.6   $ 250.00   $   150.00
                                       regarding motion to
                                       continue and discovery
                                       drafts.
   1010   3/24/2021    Ezekiel Perez   Review court              2.1   $ 250.00   $   525.00
                                       filings/judgment and
                                       opinion; Client call.



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   1010   3/25/2021    Ezekiel Perez   Review court filings;      2.2   $ 250.00   $   550.00
                                       Research law on
                                       reconsideration.
    830   11/2/2020    Ezekiel Perez   Review Court's order       0.3   $ 250.00   $    75.00
                                       granting leave to amend
                                       pleadings and analyze
                                       procedural issues
                                       relating to same.
    699    8/4/2020    Craig O'Neil    Review Covenants           2.5   $ 250.00   $   625.00
                                       Running with the Land
                                       article.
    699   8/10/2020    John Muller     Review Creditor's          2.3   $ 325.00   $   747.50
                                       Motion for Summary
                                       Judgment; Analyze
                                       legal arguments and
                                       review Creditor's
                                       authority.
    841   12/14/2020   Ezekiel Perez   Review D. Borders          2.2   $ 250.00   $   550.00
                                       document production in
                                       anticipation of
                                       deposition.
    750   9/14/2020    Ezekiel Perez   Review depo notices        0.1   $ 250.00   $    25.00
                                       provided by A. Krist.
    830   11/3/2020    Craig O'Neil    Review disclosures and     0.2   $ 250.00   $    50.00
                                       pleadings relating to
                                       McLeod’s.
    800   10/15/2020   Craig O'Neil    Review DMA and             1.2   $ 250.00   $   300.00
                                       Moore amended
                                       pleadings with J.
                                       Muller for new causes
                                       of action and discussing
                                       how to pick causes of
                                       action off with Motion
                                       for Summary
                                       Judgment.
    800   10/20/2020   Craig O'Neil    Review DMA and             1.5   $ 250.00   $   375.00
                                       Moore Counterclaims
                                       and begin outlining
                                       Motion for Partial
                                       Summary Judgment.
    841   12/2/2020    Ezekiel Perez   Review DMA                 8.8   $ 250.00   $ 2,200.00
                                       production in
                                       anticipation of
                                       deposition of D. Moore.
    750   9/21/2020    Ezekiel Perez   Review DMA's exhibits      2.8   $ 250.00   $   700.00
                                       (pgs. 23-575 of Motion
                                       for Summary
                                       Judgment) in
                                       anticipation of hearing;
                                       confer with C. O'Neil


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                                       and J. Muller regarding
                                       the same.

    830   10/31/2020   Ezekiel Perez   Review DMA's Motion         0.3   $ 250.00   $    75.00
                                       to Continue and
                                       Response to Motion to
                                       Quash.
    841   12/1/2020    Craig O'Neil    Review DMA's                1     $ 250.00   $   250.00
                                       Response to Debtors'
                                       Motion for Partial
                                       Summary Judgment.
    699   8/13/2020    Ezekiel Perez   review docket and           0.7   $ 250.00   $   175.00
                                       created live pleadings
                                       and discovery clip.
    699    8/3/2020    Ezekiel Perez   Review docket and           1.8   $ 250.00   $   450.00
                                       prepare for hearing.
    800   10/14/2020   Craig O'Neil    Review docket for           0.2   $ 250.00   $    50.00
                                       pleading filings.
    830   11/16/2020   Ezekiel Perez   Review document             8.6   $ 250.00   $ 2,150.00
                                       production and prepare
                                       deposition exhibits.
    699    8/5/2020    John Muller     Review documents and        2.8   $ 325.00   $   910.00
                                       email provided by
                                       client; Analyze whether
                                       facts exist in support of
                                       Claimants' tort claims.
                                       Evaluate merits of
                                       counterclaims and
                                       summary judgment
                                       based on economic loss
                                       rule.
    750    9/2/2020    Ezekiel Perez   Review documents for        0.3   $ 250.00   $    75.00
                                       privilege log; Confirm
                                       deadline to provide;
                                       Calendar the same
                                       along with reminder.
    841   12/3/2020    Ezekiel Perez   Review                      0.8   $ 250.00   $   200.00
                                       documents/deposition
                                       preparation.
    841   12/1/2020    John Muller     Review draft of Option      0.2   $ 325.00   $    65.00
                                       Agreement and Loan
                                       Modification
                                       Agreement.
    699   8/13/2020    Craig O'Neil    Review E. Perez edits       0.2   $ 250.00   $    50.00
                                       to Agreed Order and
                                       send redline to
                                       opposing counsel for
                                       review and agreement.



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    699   8/12/2020   Craig O'Neil   Review email from          0.2   $ 250.00   $    50.00
                                     court regarding
                                     hearings that are to be
                                     reset.
    699   8/12/2020   Craig O'Neil   Review email from          0.2   $ 250.00   $    50.00
                                     Natalie and the court
                                     regarding hearings that
                                     will be continued.
                                     Confer with E. Perez
                                     about Order to be sent.
    699   8/13/2020   Craig O'Neil   Review email from          0.3   $ 250.00   $    75.00
                                     opposing counsel and
                                     send W. Germany final
                                     Agreed Order to be
                                     filed with the court.
    699   8/31/2020   Craig O'Neil   Review email from          0.3   $ 250.00   $    75.00
                                     opposing counsel re:
                                     Moore deposition
                                     availability and Wright
                                     dates for availability.
                                     Send email to our
                                     group laying out tasks
                                     regarding these
                                     depositions.
    699   8/20/2020   Craig O'Neil   Review email from          0.1   $ 250.00   $    25.00
                                     opposing counsel
                                     regarding their
                                     opposition to our
                                     Motions for
                                     Continuance.
    699   8/12/2020   Craig O'Neil   Review email sent by       0.2   $ 250.00   $    50.00
                                     Germany. Respond to
                                     request the Word
                                     version of the attached
                                     Order rather than the
                                     Motion itself.
    750   9/10/2020     Sherry       Review emails and          0.8   $ 250.00   $   200.00
                        Barnash      discuss same with E.
                                     Perez
    699   8/12/2020   Craig O'Neil   Review emails and          0.2   $ 250.00   $    50.00
                                     responses between
                                     Court and Natalie
                                     Wilson. Also send
                                     email to Natalie Wilson
                                     regarding the Agreed
                                     Order.
    699   8/13/2020   Craig O'Neil   Review emails between      0.8   $ 250.00   $   200.00
                                     co-counsel and
                                     opposing counsel.
                                     Draft redline edits into



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                                       Proposed Agreed Order
                                       and send redline edits
                                       of Proposed Order to E.
                                       Perez for review.
    750   9/23/2020    Craig O'Neil    Review emails from         0.4   $ 250.00   $   100.00
                                       opposing counsel and
                                       client regarding
                                       discovery.
    750   9/24/2020    Craig O'Neil    Review emails from         0.5   $ 250.00   $   125.00
                                       opposing counsel
                                       regarding discovery.
    699   8/12/2020    Craig O'Neil    Review emails from         0.2   $ 250.00   $    50.00
                                       opposing counsel
                                       regarding extensions
                                       for hearing and
                                       responses.
    750    9/9/2020    Ezekiel Perez   Review emails; Confer      4.3   $ 250.00   $ 1,075.00
                                       with D. Strolle by
                                       email; Reviewed and
                                       edited proposed draft of
                                       settlement agreement.
    800   10/7/2020    Craig O'Neil    Review Exhibit D and       0.5   $ 250.00   $   125.00
                                       drafting supplement to
                                       add Exhibit D to
                                       Response to Motion for
                                       Partial Summary
                                       Judgment on the
                                       Bigfoot Note Payments.
    800   10/26/2020   Craig O'Neil    Review exhibits and        0.2   $ 250.00   $    50.00
                                       send exhibits and
                                       Motion for Partial
                                       Summary Judgment's to
                                       Denielle for filing.
    841   12/7/2020      Sherry        Review file and update     0.2   $ 250.00   $    50.00
                         Barnash       taskings for
                                       Borders/Longbranch
                                       depositions.
    841   12/23/2020   Ezekiel Perez   Review filed amended       0.6   $ 250.00   $   150.00
                                       answers to amended
                                       complaints.
    925    2/3/2021    Ezekiel Perez   Review filings.            0.2   $ 250.00   $    50.00

   1010    4/5/2021    John Muller     Review final judgement     4     $ 350.00   $ 1,400.00
                                       to determine next steps.
                                       Confer with client
                                       regarding the same.
    699   8/18/2020    Craig O'Neil    Review First set of        0.3   $ 250.00   $    75.00
                                       Interrogatories to
                                       DMA.



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    699   8/18/2020    Craig O'Neil    Review First set of         0.3   $ 250.00   $    75.00
                                       Interrogatories to
                                       Moore.
    699   8/18/2020    Craig O'Neil    Review First set of         0.3   $ 250.00   $    75.00
                                       Requests for
                                       Production to Moore.
    841   12/3/2020    John Muller     Review key documents        7.8   $ 325.00   $ 2,535.00
                                       and prepare for
                                       deposition of Daniel
                                       Moore.
    830   11/9/2020    Ezekiel Perez   Review L. Wright            4.1   $ 250.00   $ 1,025.00
                                       deposition transcript
                                       and incorporate client
                                       errata.
    830   11/6/2020    Ezekiel Perez   Review L. Wright            5.6   $ 250.00   $ 1,400.00
                                       deposition transcript
                                       and prepare errata.
    830   11/8/2020    Ezekiel Perez   Review L. Wright            0.2   $ 250.00   $    50.00
                                       deposition transcript
                                       and prepare errata.
    830   11/9/2020    Ezekiel Perez   Review L. Wright            1.6   $ 250.00   $   400.00
                                       deposition transcript
                                       and prepare errata.
    830   11/12/2020   Ezekiel Perez   Review L. Wright's          0.5   $ 250.00   $   125.00
                                       deposition transcript
                                       and incorporate client
                                       errata.
    750   9/18/2020    Ezekiel Perez   Review Larry Wright         0.5   $ 250.00   $   125.00
                                       emails
    830   11/17/2020   Craig O'Neil    Review local rules and      0.4   $ 250.00   $   100.00
                                       scheduling orders to
                                       determine the
                                       timeliness of
                                       opposition's Motion to
                                       Dismiss.
    841   12/15/2020   Ezekiel Perez   Review Longbranch           6.6   $ 250.00   $ 1,650.00
                                       production in
                                       anticipation of
                                       deposition; prepare
                                       exhibits.
    699   8/24/2020    Craig O'Neil    Review McCleod-             0.6   $ 250.00   $   150.00
                                       Longbranch-KJR
                                       proposed settlement
                                       agreement to determine
                                       if there are still issues
                                       with privity of estate.
    841   12/1/2020    Craig O'Neil    Review Moore's              1     $ 250.00   $   250.00
                                       Response to KrisJenn's
                                       Motion for Partial



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                                       Summary Judgment
                                       against Moore.
    800   10/12/2020   Craig O'Neil    Review Motion for            1.2    $ 250.00   $   300.00
                                       Leave to file surreply
                                       and Order.
    664   7/24/2020    Ezekiel Perez   Review Motion for            0.1    $ 250.00   $    25.00
                                       Summary Judgment
                                       filed by DMA.
    699   8/10/2020    Craig O'Neil    Review Motion for             1     $ 250.00   $   250.00
                                       Summary Judgment for
                                       weaknesses in the
                                       argument. Also review
                                       arguments made in
                                       Sabine Motion for
                                       Summary Judgment.
    750    9/7/2020    Ezekiel Perez   Review of Larry              1.6    $ 250.00   $   400.00
                                       Wright's emails.
    750   9/14/2020    John Muller     Review of privilege log      1.2    $ 325.00   $   390.00
                                       and emails responsive
                                       to subpoena.
    750    9/8/2020    John Muller     Review of privilege          0.6    $ 325.00   $   195.00
                                       log.
    925    1/4/2021    Ezekiel Perez   Review of TCRG               11.7   $ 250.00   $ 2,925.00
                                       emails; Confer with J.
                                       Muller regarding
                                       pretrial order and
                                       exhibit list; Review
                                       proposed changes to
                                       Order on Motion to
                                       Compel (from A.
                                       Krist); Confer with
                                       opposing counsel
                                       regarding outstanding
                                       proposed orders;
                                       Finalize proposed
                                       pretrial order; Finalize
                                       proposed exhibit list;
                                       served on opposing
                                       counsel; File exhibit list
                                       and proposed pretrial
                                       order.
    699   8/12/2020    Craig O'Neil    Review offer emails          0.2    $ 250.00   $    50.00
                                       with co-counsel and
                                       opposing counsel.
    800   10/30/2020   Craig O'Neil    Review opposing              0.2    $ 250.00   $    50.00
                                       counsel and J. Muller
                                       responses in re to
                                       motion for continuance
                                       on Motion for Partial



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                                       Summary Judgment
                                       hearing.

    699   8/12/2020    Craig O'Neil    Review opposing            0.5   $ 250.00   $   125.00
                                       counsel's motion to
                                       continue and raise those
                                       concerns with R.
                                       Smeberg.
    699   8/18/2020    Craig O'Neil    Review opposing            0.5   $ 250.00   $   125.00
                                       counsels’ responses to
                                       our first set of written
                                       discovery requests.
    750   9/14/2020    Bryan Lopez     Review option              0.8   $ 325.00   $   260.00
                                       agreement and prepare
                                       comments relating to
                                       matters.
    750   9/22/2020    Craig O'Neil    Review order regarding     0.2   $ 250.00   $    50.00
                                       Strolle Privilege log.
    830   11/23/2020   Craig O'Neil    Review pleadings in        1     $ 250.00   $   250.00
                                       light of 12(b)(6)
                                       motion.
    830   11/10/2020   Ezekiel Perez   Review production and      3.4   $ 250.00   $   850.00
                                       sort for trial exhibits.
    750    9/9/2020    Bryan Lopez     Review proposed            0.8   $ 325.00   $   260.00
                                       settlement agreement
                                       and discuss with R.
                                       Smeberg.
    699   8/18/2020    Craig O'Neil    Review Requests for        0.5   $ 250.00   $   125.00
                                       Production responses to
                                       determine whether we
                                       should draft a
                                       conference letter.
    841   12/1/2020    Ezekiel Perez   Review response to         0.9   $ 250.00   $   225.00
                                       Motion for Summary
                                       Judgment and draft
                                       response.
    841   12/21/2020   Ezekiel Perez   Review response to         0.2   $ 250.00   $    50.00
                                       Motion to Compel.
    664   7/30/2020    John Muller     Review responses to        0.3   $ 325.00   $    97.50
                                       Requests for
                                       Disclosure.
    699   8/18/2020    Craig O'Neil    Review Second Set of       0.3   $ 250.00   $    75.00
                                       Requests for
                                       Production to DMA.
    699   8/18/2020    Craig O'Neil    Review Second set of       0.3   $ 250.00   $    75.00
                                       Requests for
                                       Production to Moore.




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    664    7/8/2020    Ezekiel Perez   Review subpoena and        1.5   $ 250.00   $   375.00
                                       finalize draft of Motion
                                       to Quash; Confer with
                                       C. O'Neil regarding the
                                       same and send draft for
                                       review; Review C.
                                       O'Neil's proposed
                                       changes and provide
                                       updated draft to J.
                                       Muller for
                                       review/approval.
    800   10/15/2020   Ezekiel Perez   Reviewed amended           0.4   $ 250.00   $   100.00
                                       pleadings filed by
                                       Defendants.
    800   10/28/2020   Ezekiel Perez   Reviewed and edited        1.6   $ 250.00   $   400.00
                                       draft of Amended
                                       Answer/researched
                                       notes in draft made by
                                       C. O'Neil and amended
                                       accordingly.
    800   10/14/2020   Ezekiel Perez   Reviewed and edited        0.2   $ 250.00   $    50.00
                                       draft of Order on
                                       Motion for Summary
                                       Judgment.
    750   9/24/2020    Ezekiel Perez   Reviewed and edited        0.3   $ 250.00   $    75.00
                                       proposed changes to
                                       order on privilege log;
                                       returned proposed final
                                       redline edit to N.
                                       Wilson for signature.
    750   9/14/2020    Ezekiel Perez   Reviewed and edited        4.3   $ 250.00   $ 1,075.00
                                       response to motion for
                                       summary judgment;
                                       Confer with J. Muller
                                       and C. O'Neil regarding
                                       the same.
    800   10/28/2020   Ezekiel Perez   Reviewed and revised       0.4   $ 250.00   $   100.00
                                       proposed objection.
                                       Confer with J Muller
                                       and C O’Neil regarding
                                       the same. Confer with
                                       D Anguiano regarding
                                       filing.
    800   10/6/2020    Ezekiel Perez   Reviewed Bigfoot           3.5   $ 250.00   $   875.00
                                       Motion for Summary
                                       Judgment; review and
                                       gathered documents for
                                       response




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    800   10/16/2020   Ezekiel Perez   Reviewed                  0.1   $ 250.00   $    25.00
                                       correspondence from C.
                                       Hebert.
    800   10/20/2020   Ezekiel Perez   Reviewed                  1.3   $ 250.00   $   325.00
                                       correspondence from T.
                                       Cleveland regarding
                                       discovery issues and
                                       responded to same.
    800   10/23/2020   Ezekiel Perez   Reviewed                  0.8   $ 250.00   $   200.00
                                       correspondence from T.
                                       Cleveland; conferred
                                       with J. Muller and
                                       coordinated noticing of
                                       depositions of F. Moore
                                       DMA and SCMED;
                                       review and edited
                                       proposed drafts.
    750   9/23/2020    Ezekiel Perez   Reviewed                  1.1   $ 250.00   $   275.00
                                       correspondence
                                       regarding depositions;
                                       Draft conference
                                       regarding the same;
                                       conferred with J.
                                       Muller regarding the
                                       same.
    800   10/19/2020   Ezekiel Perez   Reviewed discovery        0.3   $ 250.00   $    75.00
                                       requests and conferred
                                       with F. Payne regarding
                                       identification of
                                       responsive documents.
    800   10/21/2020   Ezekiel Perez   Reviewed discovery        0.3   $ 250.00   $    75.00
                                       requests and conferred
                                       with J. Muller
                                       regarding the same.
    750   9/24/2020    Ezekiel Perez   Reviewed discovery        0.7   $ 250.00   $   175.00
                                       responses and Draft
                                       conference letter
                                       regarding deficiencies.
    750   9/29/2020    Ezekiel Perez   Reviewed documents        1.3   $ 250.00   $   325.00
                                       produced by
                                       McLeod/DMA and
                                       conferred with J.
                                       Muller regarding the
                                       same.
    750   9/11/2020    Ezekiel Perez   Reviewed emails and       2.8   $ 250.00   $   700.00
                                       identified proposed
                                       objectionable
                                       documents.




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    800   10/30/2020   Ezekiel Perez   Reviewed emails for       2.8   $ 250.00   $   700.00
                                       supplemental
                                       production.
    800   10/7/2020    Ezekiel Perez   Reviewed filings;         1.6   $ 250.00   $   400.00
                                       conferred with J.
                                       Muller D. Anguiano
                                       regarding supplement
                                       to filing.
    830   11/13/2020   Ezekiel Perez   Reviewed L. Wright        5.9   $ 250.00   $ 1,475.00
                                       deposition transcript
                                       and incorporated client
                                       errata.
    800   10/28/2020   Ezekiel Perez   Reviewed multiple         0.2   $ 250.00   $    50.00
                                       client correspondence
                                       regarding deposition
                                       transcript review.
    841   12/28/2020   Ezekiel Perez   Reviewed proposed         0.6   $ 250.00   $   150.00
                                       joint pre-trial order.
    750   9/11/2020    Ezekiel Perez   Reviewed proposed         0.3   $ 250.00   $    75.00
                                       settlement agreement
                                       and conferred with R.
                                       Smeberg regarding the
                                       same.
    841   12/1/2020    Ezekiel Perez   Reviewed response to      0.4   $ 250.00   $   100.00
                                       Motion for Summary
                                       Judgment and draft
                                       response to 12(b)6
                                       motion.
    800   10/13/2020   Ezekiel Perez   Reviewed responses        3.8   $ 250.00   $   950.00
                                       and Draft of Motion to
                                       Compel.
    699   8/24/2020    Ezekiel Perez   Reviewed subpoena         0.3   $ 250.00   $    75.00
                                       and conferred with C.
                                       O'Neil regarding the
                                       same.
    830   11/18/2020   Ezekiel Perez   Revise deposition         0.4   $ 250.00   $   100.00
                                       notices for DMA
                                       Moore and SCMED
                                       and served on opposing
                                       counsel.
    699   8/19/2020    Craig O'Neil    Revision on Motion to     0.2   $ 250.00   $    50.00
                                       expedite order.
    699   8/19/2020    Craig O'Neil    Revisions on              0.4   $ 250.00   $   100.00
                                       Conference Letter
                                       Regarding Objections
                                       and Deposition Dates.
    699   8/19/2020    Craig O'Neil    Revisions on DMA 1st      0.3   $ 250.00   $    75.00
                                       Interrogatories.




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    699   8/19/2020    Craig O'Neil   Revisions on DMA 1st     0.3   $ 250.00   $    75.00
                                      Requests for
                                      Production.
    699   8/19/2020    Craig O'Neil   Revisions on Moore 1st   0.3   $ 250.00   $    75.00
                                      Interrogatories.
    699   8/19/2020    Craig O'Neil   Revisions on Moore 1st   0.3   $ 250.00   $    75.00
                                      Requests for
                                      Production.
    699   8/19/2020    Craig O'Neil   Revisions on Moore       0.3   $ 250.00   $    75.00
                                      2nd Requests for
                                      Production.
    699   8/19/2020    Craig O'Neil   Revisions on Motion to   0.4   $ 250.00   $   100.00
                                      Continue Bigfoot MSJ.
    699   8/19/2020    Craig O'Neil   Revisions on Order       0.3   $ 250.00   $    75.00
                                      granting Motion to
                                      Continue Bigfoot
                                      Motion for Summary
                                      Judgment.
    699   8/19/2020    Craig O'Neil   Revisions on             0.4   $ 250.00   $   100.00
                                      Transmittal letter.
    699   8/19/2020    Craig O'Neil   Revisions on             0.2   $ 250.00   $    50.00
                                      Transmittal Letter.
    699   8/19/2020    Craig O'Neil   Revisions to Motion to   0.2   $ 250.00   $    50.00
                                      expedite hearing on
                                      Motion to Continue
                                      Motion for Summary
                                      Judgment.
    800   10/14/2020   Craig O'Neil   Revisions to pleadings   0.5   $ 250.00   $   125.00
                                      Motion for Leave to
                                      File Amended
                                      Pleadings and Order
                                      on Motion for Leave.
    699   8/18/2020    Craig O'Neil   Search Docket Control    0.6   $ 250.00   $   150.00
                                      Order and determine
                                      the validity of a
                                      continuance on the
                                      Bigfoot Motion for
                                      Summary Judgment.
    841   12/2/2020    Craig O'Neil   Outlining response and   3.5   $ 250.00   $   875.00
                                      research issues for
                                      Reply to DMA's
                                      Response to Debtors'
                                      Motion for Summary
                                      Judgment.
    841   12/2/2020    Craig O'Neil   Outlining response and   3.5   $ 250.00   $   875.00
                                      research issues for
                                      Reply to Moore's
                                      Response to Debtors'



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                                       Motion for Summary
                                       Judgment.
    750   9/10/2020    John Muller     Analysis of settlement   0.9   $ 325.00   $   292.50
                                       issues and Motion for
                                       Summary Judgment
                                       response.
    830   11/3/2020    Ezekiel Perez   Analysis regarding       0.2   $ 250.00   $    50.00
                                       Counter-Plaintiff's
                                       damages calculations.
    699   8/13/2020    John Muller     Analysis regarding       0.7   $ 325.00   $   227.50
                                       potential claims by
                                       Longbranch and assess
                                       need to send written
                                       discovery requests in
                                       anticipation of such
                                       claims.
    830   11/30/2020   Craig O'Neil    Analyze defenses to      0.3   $ 250.00   $    75.00
                                       Breach of Contract
                                       claims by DMA/Moore.
    699   8/13/2020    John Muller     Analyze fact witnesses   0.5   $ 325.00   $   162.50
                                       who need to be deposed
                                       and make arrangements
                                       for noticing same.
    830   11/10/2020   Craig O'Neil    Analyze joinder of       0.3   $ 250.00   $    75.00
                                       parties issues and
                                       Judge's rulings on
                                       amended pleadings.
    841   12/30/2020   John Muller     Analyze potential new    0.8   $ 325.00   $   260.00
                                       claims based on
                                       withheld evidence
                                       discovery abuse.
    830   11/2/2020    Craig O'Neil    Analyze procedural       0.3   $ 250.00   $    75.00
                                       issues relating to
                                       Court's orders on
                                       joinder of parties.
    830   11/3/2020    Craig O'Neil    Analyze Second           0.3   $ 250.00   $    75.00
                                       Amended Complaint
                                       pleadings regarding
                                       exemplary damages.
    699   8/18/2020    John Muller     Analyzed amendments      0.3   $ 325.00   $    97.50
                                       to KrisJenn's request
                                       for declaratory
                                       judgment.
    699   8/24/2020    Craig O'Neil    Additional research on   0.5   $ 250.00   $   125.00
                                       horizontal privity of
                                       estate. Review emails
                                       regarding settlement
                                       issues dealing with
                                       privity of estate.



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   1120   5/20/2021    Ezekiel Perez   Revise draft application   2.3   $250.00        $575.00
                                       for fees.

   1120   5/26/2021    Ezekiel Perez   Edit draft motion to       0.2   $250.00        $50.00
                                       continue.

   1120   5/27/2021    Ezekiel Perez   Edit motion and order      0.4   $250.00        $100.00
                                       for continuance.

   1120   5/27/2021    Ezekiel Perez   Edit/Finalize motion to    0.3   $250.00        $75.00
                                       continue.

   1163   06/02/2021     Sherry        Review draft notice of     0.1   $ 250.00   $      25.00
                         Barnash       hearing and provide
                                       edits.
   1163   06/03/2021   Ezekiel Perez   Review draft notice of     0.2   $ 250.00   $      50.00
                                       hearing.

   1163   6/10/2021    Ezekiel Perez   Review motion to abate     0.3   $ 250.00   $      75.00
                                       filed in appeal.

   1163   6/15/2021    Ezekiel Perez   Review and analyze         0.3   $ 250.00   $      75.00
                                       Defendants' Motion to
                                       Abate.
   1163    7/5/2021    John Muller     Preparation and            1.8   $350.00    $      630.00
                                       attandance of
                                       negotiations with
                                       Mcleods.
   1163    7/5/2021    John Muller     Research review and        2.6   $350.00    $      910.00
                                       communication with
                                       parties regarding
                                       Mcleod negotiation.
   1216   07/06/2021   Ezekiel Perez   Review documents and       1.1   $ 250.00   $      275.00
                                       draft paragraph in
                                       support of disclosure
                                       statement; confer with
                                       R. Smeberg.
   1216   07/08/2021   Ezekiel Perez   Review correspondence      .2    $ 250.00   $       50.00
                                       regarding disclosure
                                       statement.
   1216   07/09/2021   Ezekiel Perez   Review and provide         .2    $ 250.00   $       50.00
                                       documents in support
                                       of disclosure statement
                                       to B. Lopez.




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   1216   07/29/2021   Ezekiel Perez   Review                     .3    $ 250.00   $       75.00
                                       correspondence; confer
                                       with J. Muller
                                       regarding the same.
   1367   8/18/2021      Sherry        Review appellate           1     $250.00        $250.00
                         Barnash       deadlines and discuss
                                       amendment to Notice
                                       of Appeal; evaluate
                                       party designations.
   1367   8/19/2021      Sherry        Discuss strategies         0.2   $250.00        $50.00
                         Barnash       surrounding parties to
                                       appeal and edit
                                       amended notice of
                                       appeal.
   1367   8/23/2021      Sherry        Update files and           0.5   $250.00        $125.00
                         Barnash       taskings.

   1367   8/26/2021      Sherry        Review and update file;    0.1   $250.00        $25.00
                         Barnash       discuss consolidation of
                                       appeals.
   1367   9/14/2021      Sherry        Update appellate           0.5    $50.00        $25.00
                         Barnash       deadlines in accordance
                                       with court order.
   1367   9/16/2021      Sherry        Review case status and     0.1   $250.00        $25.00
                         Barnash       update file.

   1367   9/21/2021      Sherry        Review court order         1.5   $250.00        $375.00
                         Barnash       regarding consolidation
                                       of appeals; update
                                       tasks, including
                                       deadlines.
   1367   9/28/2021      Sherry        Review Federal Rules       0.4   $250.00        $100.00
                         Barnash       of Appellate Procedure
                                       regarding withdrawal
                                       of appeal procedures.
   1367   9/29/2021      Sherry        Draft appeal dismissal     0.5   $250.00        $125.00
                         Barnash       agreement.

   1367   9/30/2021      Sherry        Review and edit            0.1   $250.00        $25.00
                         Barnash       dismissal agreement.

   1367   10/5/2021      Sherry        Review and evaluate        0.1   $250.00        $25.00
                         Barnash       loan agreement lien
                                       clause.




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   1442   10/14/2021     Sherry        Review and edit            0.3   $250.00   $75.00
                         Barnash       Statement of Issues and
                                       Motion for Leave to
                                       File Statement of Issues
                                       on appeal.
   1442   10/28/2021     Sherry        Review and edit            0.5   $250.00   $125.00
                         Barnash       Proposed Terms for
                                       Right-of-Way
                                       Membership.
   1500   11/9/2021      Sherry        Case management            0.2   $250.00   $50.00
                         Barnash       conference.

   1367   8/18/2021      Sherry        Review appellate           1     $250.00   $250.00
                         Barnash       deadlines and discuss
                                       amendment to Notice
                                       of Appeal; evaluate
                                       party designations.
   1367   8/19/2021      Sherry        Discuss strategies         0.2   $250.00   $50.00
                         Barnash       surrounding parties to
                                       appeal and edit
                                       amended notice of
                                       appeal.
   1367   8/23/2021      Sherry        Update files and           0.5   $250.00   $125.00
                         Barnash       taskings.

   1367   8/26/2021      Sherry        Review and update file;    0.1   $250.00   $25.00
                         Barnash       discuss consolidation of
                                       appeals.
   1367   9/14/2021      Sherry        Update appellate           0.5   $50.00    $25.00
                         Barnash       deadlines in accordance
                                       with court order.
   1367   9/16/2021      Sherry        Review case status and     0.1   $250.00   $25.00
                         Barnash       update file.

   1442   10/12/2021   Ezekiel Perez   Draft 2004 request for     3.7   $250.00   $925.00
                                       documents; confer with
                                       J. Muller regarding the
                                       same; confer with R.
                                       Smeberg regarding
                                       proposed order and
                                       edits to objection;
                                       finalize the same.
   1500   11/18/2021   Ezekiel Perez   Draft correspondence       0.9   $250.00   $225.00
                                       to L. Worsham
                                       regarding document
                                       production.




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   1367   9/24/2021    Ezekiel Perez   Edit and draft objection   3.9   $250.00   $975.00
                                       to proof of claim.

   1367   8/26/2021    Ezekiel Perez   "Edit draft designations   4.1   $250.00   $1,025.00
                                       and issues on appeal;
                                       review docket; finalize
                                       designations and
                                       request filing; confer
                                       regarding transcript
                                       order and client
                                       authorization."
   1367    8/5/2021    Ezekiel Perez   Edit draft notice of       0.4   $250.00   $100.00
                                       appeal; review
                                       correspondence from
                                       opposing counsel.
   1367   10/5/2021    Ezekiel Perez   Edit draft objection.      1.9   $250.00   $475.00



   1367   10/4/2021    Ezekiel Perez   Edit draft objection;      0.2   $250.00    $50.00
                                       client correspondence.

   1500   11/24/2021   Ezekiel Perez   Edit draft subpoenas;      0.6   $250.00   $150.00
                                       client correspondence.

   1367   8/13/2021    Ezekiel Perez   Edit notice of appeal      1.6   $250.00   $400.00
                                       and add exhibits;
                                       correspond with client
                                       regarding counteroffer;
                                       draft correspondence to
                                       L. Worsham.
   1367   9/28/2021    Ezekiel Perez   Edit objection to POC      2.7   $250.00   $675.00
                                       and review documents
                                       in support.
   1500   11/30/2021   Ezekiel Perez   Edit subpoenas and         1.2   $250.00   $300.00
                                       confer regarding
                                       appellate deadlines;
                                       correspondence with L.
                                       Worsham.
   1500   11/23/2021   Ezekiel Perez   Edit subpoenas;            0.6   $250.00   $150.00
                                       correspond with
                                       opposing counsel
                                       regarding appellate
                                       deadlines.
   1500   12/1/2021    Ezekiel Perez   Edit subpoenas; draft      1.1   $250.00   $275.00
                                       topics for Longbranch
                                       and Kuhlmann.




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   1367   9/30/2021    Ezekiel Perez   Edit/draft notice of         1.5   $250.00    $375.00
                                       dismissal of appeal.

   1500   11/5/2021    Ezekiel Perez   Prepare 2004 requests.       0.6   $250.00    $150.00



   1500   11/19/2021   Ezekiel Perez   Research appeal issues;      2.6   $250.00   $650.00
                                       draft correspondence to
                                       L. Worsham.
   1367   8/18/2021    Ezekiel Perez   Research appeals             1.9   $250.00   $475.00
                                       issues.

   1500   11/29/2021   Ezekiel Perez   Research in support of       7.9   $250.00   $1,975.00
                                       appeal; draft response
                                       to motion for extension
                                       of time; client
                                       conference; edit 2004
                                       notices to McLeods,
                                       Kuhlman, and
                                       Longbranch.
   1367   9/27/2021    Ezekiel Perez   Research regarding           3.6   $250.00   $900.00
                                       objection to claim;
                                       confer with J. Muller
                                       regarding the same; edit
                                       draft objection to claim.
   1367   8/20/2021    Ezekiel Perez   Review amended notice        0.4   $250.00   $100.00
                                       of appeal prior to filing;
                                       client conference.
   1367   8/17/2021    Ezekiel Perez   Review appellate             0.5   $250.00   $125.00
                                       deadlines and court
                                       filing.
   1367   9/14/2021    Ezekiel Perez   Review appellate             0.6   $250.00   $150.00
                                       filings; confer with
                                       client; confer with J.
                                       Muller regarding DIP
                                       account inquiry.
   1367   8/23/2021    Ezekiel Perez   Review calculations          0.3   $250.00    $75.00
                                       and client call.

   1367   9/26/2021    Ezekiel Perez   Review correspondence        0.2   $250.00    $50.00
                                       from R. Smeberg.

   1367   9/22/2021    Ezekiel Perez   Review correspondence        0.8   $250.00   $200.00
                                       from R. Smeberg; loan
                                       document review;
                                       confer with J. Muller


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                                       regarding objection to
                                       proof of claim;
                                       review/edit draft
                                       objection to proof of
                                       claim.
   1367   9/13/2021    Ezekiel Perez   Review documents and      3.3   $250.00   $825.00
                                       edit draft LOI; client
                                       call and
                                       correspondence; confer
                                       with J. Mulle regarding
                                       the same.
   1367   10/7/2021    Ezekiel Perez   Review fee bills and      3.6   $250.00   $900.00
                                       amend draft of
                                       objection to claim;
                                       prepare exhibits;
                                       review proposed final
                                       draft.
   1442   10/14/2021   Ezekiel Perez   Review filings; draft     3.1   $250.00   $775.00
                                       statement of issues on
                                       appeal; edit the same;
                                       draft motion for leave
                                       to file statement of
                                       issues; finalized and
                                       requested filing;
                                       conferred with J.
                                       Muller and S. Barnash
                                       regarding the same.
   1500   11/10/2021   Ezekiel Perez   Review filings;           0.8   $250.00   $200.00
                                       research contested
                                       matter discovery;
                                       confer on draft request
                                       for production.
   1367    8/8/2021    Ezekiel Perez   Review final order on     0.2   $250.00   $50.00
                                       motion for attorney's
                                       fees and motion to
                                       reform judgment.
   1367   8/11/2021    Ezekiel Perez   Review McLeod fee         0.8   $250.00   $200.00
                                       bills and filings and
                                       confer with J. Muller
                                       regarding settlement
                                       negotiations.
   1367   8/17/2021    Ezekiel Perez   Review McLeod             0.2   $250.00   $50.00
                                       financing documents.

   1367   9/21/2021    Ezekiel Perez   Review McLeod             3.7   $250.00   $925.00
                                       production; confer with
                                       J. Muller regarding
                                       objection to proof of
                                       claim.



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   1442   10/26/2021   Ezekiel Perez   Review record on          0.4   $250.00    $100.00
                                       appeal; correspond with
                                       opposing counsel
                                       regarding court's order
                                       to file joint advisory.
   1500   11/19/2021   Ezekiel Perez   Research appeal issues;   2.6   $250.00    $650.00
                                       draft correspondence to
                                       L. Worsham.
   1367   8/18/2021    Ezekiel Perez   Research appeals          1.9   $250.00    $475.00
                                       issues.

   1500   11/29/2021   Ezekiel Perez   Research in support of    7.9   $250.00   $1,975.00
                                       appeal; draft response
                                       to motion for extension
                                       of time; client
                                       conference; edit 2004
                                       notices to McLeods,
                                       Kuhlman, and
                                       Longbranch.
                                                                       TOTAL:    $90,412.50




                             Timekeeper Summary
 Name                        Hours           Rate                 Amount
    John Muller              33.9           $325/Hour             $ 12,657.50
    Bryan Lopez              1.9            $325/Hour             $    617.50
    Ezekiel Perez            206.4          $250/Hour             $ 53,050.00
    Craig O’Neil             88.3           $250/Hour             $ 22,075.00
    Sherry Barnash           7.0            $250/Hour             $ 1,675.00
    Paige Burough            1.5            $225/Hour             $ 337.50

     BILLING SUMMARY

           TOTAL CHARGES FOR THIS BILL:                           $90,412.50




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 CONFERENCES AND MEETINGS
 FOR PROFESSIONAL SERVICES RENDERED
  Bill ID   Date     User          Description        Qty.     Price      Total
   664    7/13/2020 Ezekiel Confer with J. Muller     2.2    $ 250.00   $   550.00
                     Perez  regarding answer drafts
                            and case deadlines;
                            Edit draft of motion to
                            quash and objections;
                            Edit draft answers;
                            Send draft of motion to
                            quash to client and R.
                            Smeberg for comment
                            and review; Review
                            client communications.
   664    7/14/2020 Ezekiel Confer with J. Muller     0.8    $ 250.00   $   200.00
                     Perez  regarding edits to
                            Motion to Quash;
                            Review final proposed
                            draft; review client
                            correspondence; Edit
                            draft; gather exhibit;
                            request filing.
   664    7/15/2020 Ezekiel Confer with J. Muller     1.1    $ 250.00   $   275.00
                     Perez  and R. Smeberg about
                            potential third party
                            claims in adversary and
                            draft of memo;
                            Correspond with D.
                            Strolle; Confer with D.
                            Anguiano regarding
                            filed motion to quash
                            and court's concerns;
                            Edit draft of proposed
                            order; confer with D.
                            Anguiano regarding
                            edits to first amended
                            motion; Confer with J.
                            Muller regarding the
                            same.
   664    7/22/2020  Craig  Discuss next steps and    0.2    $ 250.00   $    50.00
                    O'Neil  strategy with J. Muller
                            and R. Smeberg.
   664    7/23/2020 Ezekiel Confer with R.            0.3    $ 250.00   $    75.00
                     Perez  Smeberg regarding
                            case documents and
                            provide the same to
                            him.
   664    7/23/2020  John   Muller status             0.4    $ 325.00   $   130.00
                    Muller  conference; Conference
                            with Michael Black.



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    664    7/24/2020   Craig     Discuss Motion for        0.1   $ 250.00   $    25.00
                       O'Neil    Summary Judgment
                                 response with Sherry.
    664    7/28/2020   Craig     Phone conference          1     $ 250.00   $   250.00
                       O'Neil    regarding response to
                                 Motion for Summary
                                 Judgment with J.
                                 Muller R. Smeberg
                                 and E. Perez.
    664    7/28/2020   Ezekiel   Confer with J. Muller     0.8   $ 250.00   $   200.00
                        Perez    R. Smeberg and C.
                                 O'Neil regarding
                                 Motion for Summary
                                 Judgment response
                                 motion to compel and
                                 motion for
                                 continuance; Confer
                                 with S. Barnash
                                 regarding update task
                                 list on matter.
    664    7/28/2020   John      Litigation Team           1     $ 325.00   $   325.00
                       Muller    Meeting.
    664    7/28/2020   Craig     Discuss Motion for        0.1   $ 250.00   $    25.00
                       O'Neil    Summary Judgment
                                 defenses with E. Perez.
    664    7/29/2020   John      Conference with Bill      0.7   $ 325.00   $   227.50
                       Muller    Kulman; Conference
                                 with John Muller;
                                 Conference with
                                 associate regarding
                                 disclosures.
    664    7/29/2020   Ezekiel   Confer with C. O'Neil     2.3   $ 250.00   $   575.00
                        Perez    regarding disclosure
                                 deadline and task
                                 management; Draft
                                 disclosures and send to
                                 C. O'Neil for comment
                                 and review; conferred
                                 with D. Anguiano
                                 regarding E-filing
                                 requirements and
                                 credentials.
    664    7/29/2020   Craig     Discuss Disclosure        0.4   $ 250.00   $   100.00
                       O'Neil    with R. Smeberg E.
                                 Perez and D.
                                 Anguiano; send email
                                 to R. Smeberg with
                                 disclosures and email
                                 requesting document



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                                 production to opposing
                                 counsel.

    664    7/30/2020   Ezekiel   Confer with D.             1.1   $ 250.00   $   275.00
                        Perez    Anguiano and C.
                                 O'Neil regarding initial
                                 disclosures and review
                                 R. Smeberg's proposed
                                 edits; Finalize draft;
                                 conferred with J.
                                 Muller and served
                                 disclosures on
                                 opposing counsel.
    664    7/30/2020   Craig     Discuss disclosure list    0.2   $ 250.00   $    50.00
                       O'Neil    with D. Anguiano.
    664    7/31/2020   Craig     Discuss response to D.     0.2   $ 250.00   $    50.00
                       O'Neil    Moore's Partial Motion
                                 for Summary
                                 Judgment.
    699     8/3/2020   Ezekiel   Confer with D. Strolle's   0.4   $ 250.00   $   100.00
                        Perez    office regarding
                                 hearing.
    699     8/3/2020   Craig     Discuss conference         0.2   $ 250.00   $    50.00
                       O'Neil    letter with S. Barnash.
    699     8/4/2020   Ezekiel   Confer with C. O'Neil      0.2   $ 250.00   $    50.00
                        Perez    regarding tasking and
                                 preliminary research.
    699     8/4/2020   John      Confer with Client and     0.5   $ 325.00   $   162.50
                       Muller    R. Smeberg regarding
                                 potential settlement.
    699     8/4/2020   Craig     Discuss Motion for         0.3   $ 250.00   $    75.00
                       O'Neil    Summary Judgment
                                 response with J.
                                 Muller.
    699     8/4/2020   Craig     Discuss Motion for         0.1   $ 250.00   $    25.00
                       O'Neil    Summary Judgment
                                 with E. Perez.
    699     8/5/2020   Craig     Discuss Orders to pull     0.1   $ 250.00   $    25.00
                       O'Neil    from Pacer with D.
                                 Anguiano
    699     8/6/2020   John      Conference with Z.         0.3   $ 325.00   $    97.50
                       Muller    Perez and C. O'Neil
                                 regarding defenses to
                                 DMA's Motion for
                                 Summary Judgment.
    699     8/6/2020   Ezekiel   Confer with J. Muller      0.3   $ 250.00   $    75.00
                        Perez    and C. O'Neil
                                 regarding Motion for



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                                 Summary Judgment
                                 response research.
    699     8/6/2020   Craig     Discuss Motion for         0.4   $ 250.00   $   100.00
                       O'Neil    Summary Judgment
                                 arguments and
                                 potential sur reply with
                                 J. Muller.
    699     8/6/2020   Craig     Discuss research on        0.3   $ 250.00   $    75.00
                       O'Neil    Run with the Land with
                                 J. Muller and E. Perez.
    699    8/10/2020   Ezekiel   Confer with D. Strolle     0.5   $ 250.00   $   125.00
                        Perez    and T. George
                                 regarding production of
                                 documents subject to
                                 court's order.
    699    8/10/2020   Ezekiel   Confer with J Muller       0.4   $ 250.00   $   100.00
                        Perez    regarding Motion for
                                 Summary Judgment
                                 response and proposed
                                 continuance.
    699    8/10/2020   Ezekiel   Confer with J. Muller      0.6   $ 250.00   $   150.00
                        Perez    regarding case status
                                 and proposed offer of
                                 judgment; Provide live
                                 pleadings clip to J.
                                 Muller.
    699    8/10/2020   Craig     Discuss legal theory on    0.7   $ 250.00   $   175.00
                       O'Neil    Motion for Summary
                                 Judgment and strategy
                                 in agreeing to
                                 extension of time for
                                 Motion for Summary
                                 Judgment hearing and
                                 filing deadline with J.
                                 Muller.
    699    8/11/2020   Craig     Confer with J. Muller      0.1   $ 250.00   $    25.00
                       O'Neil    whether we have an
                                 extension on the
                                 Motion for Summary
                                 Judgment.
    699    8/11/2020   Ezekiel   Confer with office of      0.2   $ 250.00   $    50.00
                        Perez    D. Strolle regarding
                                 production of
                                 documents and volume
                                 of production.
    699    8/11/2020   Ezekiel   Confer with C. O'Neil      0.2   $ 250.00   $    50.00
                        Perez    regarding timing and
                                 draft status
    699    8/11/2020   Craig     Discuss continuance on     0.3   $ 250.00   $    75.00
                       O'Neil    Motion for Summary


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                                 Judgment with E.
                                 Perez.
    699    8/12/2020   Craig     Phone call with E.         0.1   $ 250.00   $    25.00
                       O'Neil    Perez regarding draft of
                                 Order.
    699    8/12/2020   Craig     Phone conference with      0.2   $ 250.00   $    50.00
                       O'Neil    J. Muller and E. Perez
                                 regarding time needed
                                 to submit privilege log.
    699    8/12/2020   Craig     Conference call with R.    0.2   $ 250.00   $    50.00
                       O'Neil    Smeberg and opposing
                                 counsel regarding
                                 motion for continuance
                                 and Agreed Order.
    699    8/12/2020   Ezekiel   Confer with J. Muller      0.3   $ 250.00   $    75.00
                        Perez    and R. Smeberg by
                                 email regarding
                                 proposed order draft.
    699    8/12/2020   Craig     Discuss Agreed Order       0.3   $ 250.00   $    75.00
                       O'Neil    terms with J. Muller
                                 and W. Germany.
    699    8/13/2020   Ezekiel   Confer with J. Muller      1.1   $ 250.00   $   275.00
                        Perez    regarding draft of
                                 discovery requests and
                                 provided preliminary
                                 draft; Reviewed docket
                                 and created live
                                 pleadings and
                                 discovery clip.
    699    8/13/2020   Craig     Discuss our Motion for     1     $ 250.00   $   250.00
                       O'Neil    Partial Summary
                                 Judgment position with
                                 W. Germany.
    699    8/14/2020   Craig     Discuss pleading           0.1   $ 250.00   $    25.00
                       O'Neil    deadline extension with
                                 J. Muller.
    699    8/17/2020   Ezekiel   Confer with J. Muller      0.2   $ 250.00   $    50.00
                        Perez    regarding outstanding
                                 tasks.
    699    8/17/2020   Craig     Discuss KrisJenn           1     $ 250.00   $   250.00
                       O'Neil    pleading issues and
                                 defenses with J.
                                 Muller.
    699    8/17/2020   Craig     Discuss whether offer      0.6   $ 250.00   $   150.00
                       O'Neil    of Judgment is
                                 procedural or
                                 substantive law with J.
                                 Muller.




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    699    8/18/2020   Craig     Meet with J. Muller on    0.5   $ 250.00   $   125.00
                       O'Neil    opposing counsels’
                                 responses to our first
                                 set of Requests for
                                 Production.
    699    8/18/2020   Craig     Meeting with J. Muller    0.2   $ 250.00   $    50.00
                       O'Neil    and E. Perez re: tasks
                                 to be done by the end
                                 of the day on the case.
                                 i.e., conference letter
                                 discovery requests
                                 amended pleadings.
                                 Also Discuss the
                                 weakness of Offer of
                                 Judgment.
    699    8/18/2020   Ezekiel   Confer with J. Muller     1.2   $ 250.00   $   300.00
                        Perez    regarding revisions to
                                 pleadings and edit
                                 proposed final drafts.
    699    8/18/2020   Craig     Discuss Bigfoot           0.4   $ 250.00   $   100.00
                       O'Neil    Motion for Summary
                                 Judgment with J.
                                 Muller and E. Perez.
    699    8/18/2020   Craig     Discuss initial contact   0.2   $ 250.00   $    50.00
                       O'Neil    with Jeff Duke
                                 regarding Borders
                                 deposition with R.
                                 Smeberg.
    699    8/19/2020   Craig     Meeting with J. Muller    0.7   $ 250.00   $   175.00
                       O'Neil    and R. Smeberg to
                                 discuss defenses and
                                 amended pleadings.
    699    8/20/2020   Craig     Phone call with J.        0.3   $ 250.00   $    75.00
                       O'Neil    Muller and S. Johnson
                                 regarding Pigg
                                 deposition and Boerner
                                 Dennis and Franklin
                                 documents.
    699    8/20/2020   Craig     Phone update with R.      0.1   $ 250.00   $    25.00
                       O'Neil    Smeberg regarding
                                 documents transmitted
                                 on 8/19/20.
    699    8/20/2020   Craig     Conference call with J.   0.3   $ 250.00   $    75.00
                       O'Neil    Muller and R. Smeberg
                                 regarding concerns of
                                 terms with settlement
                                 deal.
    699    8/20/2020   Craig     Follow up call with D.    0.1   $ 250.00   $    25.00
                       O'Neil    Anguiano on Motion to
                                 Continue.



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    699    8/20/2020   Craig     Follow up call with J.     0.2   $ 250.00   $    50.00
                       O'Neil    Muller regarding Sam
                                 Johnson call next steps
                                 for Pigg deposition
                                 and Boerner Dennis
                                 and Franklin
                                 documents.
    699    8/21/2020   Ezekiel   Confer with C. O'Neil      0.2   $ 250.00   $    50.00
                        Perez    regarding third party
                                 subpoena requirements;
                                 Provided requested
                                 documents
    699    8/24/2020   Craig     Discuss issues with        0.2   $ 250.00   $    50.00
                       O'Neil    proposed Longbranch
                                 settlement agreement
                                 with J. Muller.
    699    8/24/2020   Craig     Discuss motion to          0.3   $ 250.00   $    75.00
                       O'Neil    continue hearing for
                                 tomorrow morning
                                 with J. Muller.
    699    8/24/2020   Craig     Discuss verification       0.1   $ 250.00   $    25.00
                       O'Neil    with J. Muller and task
                                 D. Anguiano with
                                 verification.
    699    8/25/2020   Craig     Discuss issues with        0.4   $ 250.00   $   100.00
                       O'Neil    touch and concern and
                                 privity of estate
                                 elements of run with
                                 the land law and
                                 settlement agreement
                                 with J. Muller
    699    8/25/2020   Craig     Discuss settlement         0.6   $ 250.00   $   150.00
                       O'Neil    agreement issues and
                                 concerns with J.
                                 Muller.
    699    8/25/2020   Craig     Discuss terms of Pigg      0.1   $ 250.00   $    25.00
                       O'Neil    Deposition
                                 negotiations.
    699    8/25/2020   Craig     Discuss third party        0.2   $ 250.00   $    50.00
                       O'Neil    deposition notice issues
                                 with E. Perez.
    699    8/26/2020   Ezekiel   Confer with R.             0.2   $ 250.00   $    50.00
                        Perez    Smeberg regarding
                                 case status and review
                                 correspondence.
    699    8/27/2020   Craig     Phone call with J.         0.1   $ 250.00   $    25.00
                       O'Neil    Muller regarding Run
                                 With the Land issues.
    750     9/2/2020   Craig     Discuss long branch        0.5   $ 250.00   $   125.00
                       O'Neil    settlement arguments



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                                 and strategy for Run
                                 With the Land Motion
                                 for Summary Judgment
                                 with J. Muller.
    750     9/3/2020   Ezekiel   Confer with D. Strolle    0.7   $ 250.00   $   175.00
                        Perez    regarding files
                                 produced.
    800     9/3/2020   Ezekiel   Confer with D. Strolle    0.7   $ 250.00   $   175.00
                        Perez    regarding files
                                 produced.
    750     9/3/2020   Ezekiel   Confer with J. Muller     3.3   $ 250.00   $   825.00
                        Perez    and review files
                                 provided by D. Strolle
    750     9/4/2020   Craig     Discuss Longbranch        0.4   $ 250.00   $   100.00
                       O'Neil    deal with J. Muller and
                                 issues regarding ROW
                                 in DMA deal.
    750     9/8/2020   Ezekiel   Confer with J. Muller;    2.6   $ 250.00   $   650.00
                        Perez    Email D. Strolle
                                 regarding privilege log
                                 status
    750     9/8/2020   Craig     Discuss privilege log     0.1   $ 250.00   $    25.00
                       O'Neil    and Motion for
                                 Summary Judgment
                                 due dates and progress
                                 with E. Perez.
    750     9/8/2020   Craig     Discuss the Court's       0.1   $ 250.00   $    25.00
                       O'Neil    Order for leave to
                                 amend pleadings with
                                 Denielle. Coordinate
                                 the filing of amended
                                 pleadings with E.
                                 Perez.
    750     9/9/2020   Craig     Discuss email evidence    0.2   $ 250.00   $    50.00
                       O'Neil    and issues with filing
                                 amended answers with
                                 D. Anguiano.
    750    9/10/2020   Craig     Phone call regarding      0.4   $ 250.00   $   100.00
                       O'Neil    facts with R. Smeberg
                                 and client.
    750    9/10/2020   Ezekiel   Confer with W.            4.6   $ 250.00   $ 1,150.00
                        Perez    Germany regarding
                                 pleadings deadline;
                                 Confer with D. Strolle
                                 regarding privilege log
                                 deadline and
                                 submission; Met with
                                 client; Continued
                                 review of emails.




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    750    9/10/2020   Craig     Discuss long branch        1.1   $ 250.00   $   275.00
                       O'Neil    settlement issues and
                                 Motion for Summary
                                 Judgment response
                                 arguments with J.
                                 Muller.
    750    9/11/2020    Bryan    Conference regarding       0.8   $ 325.00   $   260.00
                        Lopez    proposed settlement
                                 agreement and
                                 attention to real estate
                                 issues.
    750    9/14/2020   Ezekiel   Confer with Michael        0.3   $ 250.00   $    75.00
                        Perez    Black regarding
                                 proposed agreed
                                 motion to modify
                                 scheduling order and
                                 provided proposed
                                 comments/edits.
    750    9/14/2020   Ezekiel   Confer with J. Muller      0.2   $ 250.00   $    50.00
                        Perez    regarding proposed
                                 privileged documents.
    750    9/14/2020   John      Client meeting and         0.8   $ 325.00   $   260.00
                       Muller    review of Motion for
                                 Partial Summary
                                 Judgment and exhibits.
    750    9/16/2020   Ezekiel   Confer with D. Strolle     0.2   $ 250.00   $    50.00
                        Perez    regarding requirements
                                 for order.
    750    9/16/2020   Craig     Discuss SCMED depo         0.1   $ 250.00   $    25.00
                       O'Neil    notice with E. Perez.
    750    9/18/2020    Paige    Confer with C. O'Neil      0.1   $ 225.00   $    22.50
                       Burough   on gathering opposing
                                 counsel's Motion for
                                 Summary Judgment
                                 authority;
    750    9/18/2020   Ezekiel   Confer with C. O'Neil      0.3   $ 250.00   $    75.00
                        Perez    regarding Motion for
                                 Summary Judgment
                                 response and case tasks
    750    9/18/2020   Ezekiel   Confer with D.             0.1   $ 250.00   $    25.00
                        Perez    Anguiano regarding
                                 deposition date and
                                 setting up court
                                 reporter .
    750    9/22/2020   Craig     Post-hearing               1.2   $ 250.00   $   300.00
                       O'Neil    conference with client.
    750    9/22/2020   Ezekiel   Confer with J. Muller      0.5   $ 250.00   $   125.00
                        Perez    regarding supplemental
                                 discovery; Draft



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                                 correspondence to
                                 client regarding the
                                 same.
    750    9/22/2020   Ezekiel   Confer with D. Strolle     0.2   $ 250.00   $    50.00
                        Perez    regarding issuance of
                                 order and production of
                                 documents in
                                 conformity with court's
                                 order.
    750    9/22/2020   Ezekiel   Confer with F. Payne       0.8   $ 250.00   $   200.00
                        Perez    regarding draft of
                                 conference letter; Draft
                                 substance of
                                 conference letter
                                 regarding discovery
                                 responses.
    750    9/23/2020   Ezekiel   Confer with R.             0.3   $ 250.00   $    75.00
                        Perez    Smeberg and J. Muller
                                 regarding document
                                 production; emails T.
                                 Cleveland regarding
                                 the same.
    750    9/23/2020   Ezekiel   Confer with W.             0.2   $ 250.00   $    50.00
                        Perez    Germany regarding
                                 document production.
    750    9/23/2020   Ezekiel   Confer with D.             1.3   $ 250.00   $   325.00
                        Perez    Anguiano and F. Payne
                                 regarding document
                                 production;
                                 coordinated the same;
                                 review previously
                                 produced documents.
    750    9/24/2020   Ezekiel   Confer with J. Muller;     1.1   $ 250.00   $   275.00
                        Perez    Edited next draft of
                                 conference letter and
                                 served on opposing
                                 counsel.
    750    9/24/2020   Ezekiel   Confer with J. Muller      2.1   $ 250.00   $   525.00
                        Perez    regarding production
                                 status and conversation
                                 with T. Cleveland
                                 regarding the same;
                                 Draft conference letter
                                 regarding the same.
    750    9/25/2020   Ezekiel   Confer with J. Muller      1.2   $ 250.00   $   300.00
                        Perez    regarding proposed
                                 draft; edited the same
                                 and finalized letter;
                                 served letter upon all
                                 counsel of record.



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    750    9/25/2020   Ezekiel   Client meeting to          1.6   $ 250.00   $   400.00
                        Perez    obtain documents and
                                 discuss deposition.
    750    9/28/2020   John      Meet with L. Wright to     1     $ 325.00   $   325.00
                       Muller    prepare for depo
    750    9/28/2020   Ezekiel   Confer with W.             0.2   $ 250.00   $    50.00
                        Perez    Germany regarding
                                 deposition link;
                                 emailed A Krist
                                 regarding the same.
    750    9/28/2020   Ezekiel   Corresponded with A.       0.3   $ 250.00   $    75.00
                        Perez    Krist; conferred with J.
                                 Muller regarding the
                                 same.
    750    9/29/2020   Ezekiel   Met with J. Muller and     0.8   $ 250.00   $   200.00
                        Perez    client post deposition;
                                 review documents
                                 provided by client.
    750    9/29/2020   Craig     Discuss Bigfoot note       0.1   $ 250.00   $    25.00
                       O'Neil    payment and Motion
                                 for Summary Judgment
                                 response evidence with
                                 E. Perez.
    750    9/30/2020   Ezekiel   Confer with J. Muller      0.5   $ 250.00   $   125.00
                        Perez    regarding amended
                                 pleadings and assisted
                                 with deposition
                                 preparation and set-up.
    750    9/30/2020   Ezekiel   Corresponded with A.       0.2   $ 250.00   $    50.00
                        Perez    Krist and T. Cleveland
                                 regarding access to
                                 deposition and exhibit
                                 exchange.
    800    10/5/2020   Ezekiel   Met with client and        0.4   $ 250.00   $   100.00
                        Perez    review correspondence
                                 and documents.
    800    10/5/2020   Ezekiel   Confer with J. Muller      1.7   $ 250.00   $   425.00
                        Perez    and C. O'Neil
                                 regarding response to
                                 Bigfoot Motion for
                                 Summary Judgment;
                                 retrieved documents for
                                 response.
    800    10/7/2020   Ezekiel   Confer with J. Muller      0.5   $ 250.00   $   125.00
                        Perez    regarding preparation
                                 for deposition of A.
                                 McLeod.
    800    10/7/2020   Craig     Discuss Motion for         0.1   $ 250.00   $    25.00
                       O'Neil    Partial Summary
                                 Judgment Response to


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                                  Bigfoot Note Payments
                                  and arguments with J.
                                  Muller.
    800    10/9/2020    Ezekiel   Confer with R.             0.2   $ 250.00   $    50.00
                         Perez    Smeberg and J. Muller
                                  regarding depo of J.
                                  Mcleod.
    800    10/12/2020   Ezekiel   Confer with C. O'Neil      0.1   $ 250.00   $    25.00
                         Perez    regarding motion for
                                  leave to file surreply.
    800    10/13/2020   Craig     Post-hearing debriefing    1     $ 250.00   $   250.00
                        O'Neil    with clients J. Muller
                                  and W. Germany.
    800    10/13/2020   Ezekiel   Confer with F Payne        0.3   $ 250.00   $    75.00
                         Perez    regarding organization
                                  of production and
                                  review for privilege.
    800    10/13/2020   Craig     Discuss First Amended      0.2   $ 250.00   $    50.00
                        O'Neil    Complaint with J.
                                  Muller and R.
                                  Smeberg.
    800    10/13/2020   Craig     Discuss strategy on        1     $ 250.00   $   250.00
                        O'Neil    pleadings and
                                  discovery with
                                  litigation team.
    800    10/14/2020   Ezekiel   Confer with C. O'Neil      0.2   $ 250.00   $    50.00
                         Perez    regarding draft of
                                  amended pleadings and
                                  review draft.
    800    10/14/2020   Craig     Discuss Order on           0.2   $ 250.00   $    50.00
                        O'Neil    Bigfoot Note Payment
                                  with J. Muller.
    800    10/14/2020   Craig     Discuss pleadings          0.4   $ 250.00   $   100.00
                        O'Neil    actions with E. Perez.
    800    10/15/2020   Ezekiel   Confer with F. Payne       0.2   $ 250.00   $    50.00
                         Perez    regarding document
                                  production review and
                                  indexing.
    800    10/15/2020   Ezekiel   Confer with J. Muller      0.9   $ 250.00   $   225.00
                         Perez    and Draft supplement
                                  to Motion for Leave to
                                  Amend Pleadings.
    800    10/15/2020   Craig     Discuss Pleadings with     0.7   $ 250.00   $   175.00
                        O'Neil    J. Muller and E. Perez.
    800    10/19/2020   Ezekiel   Confer with R.             0.1   $ 250.00   $    25.00
                         Perez    Smeberg regarding
                                  request for call from N.
                                  Wilson.




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    800    10/19/2020   Ezekiel   Confer with S. Barnash    0.2   $ 250.00   $    50.00
                         Perez    regarding case deadline
                                  update.
    800    10/19/2020   Ezekiel   Confer with J. Muller     1.1   $ 250.00   $   275.00
                         Perez    R. Smeberg and C.
                                  O'Neil regarding
                                  ongoing
                                  communications with
                                  opposing counsel
                                  regarding proposed
                                  order on Motion for
                                  Summary Judgment.
                                  Confer with W.
                                  Germany regarding the
                                  same.
    800    10/19/2020   Craig     Discuss Motion for        0.1   $ 250.00   $    25.00
                        O'Neil    Summary Judgment
                                  with E. Perez.
    800    10/19/2020   Craig     Discuss Order             0.2   $ 250.00   $    50.00
                        O'Neil    regarding Bigfoot Note
                                  Motion for Summary
                                  Judgment with E.
                                  Perez.
    800    10/20/2020   Ezekiel   Confer with J. Muller     0.4   $ 250.00   $   100.00
                         Perez    and Draft
                                  correspondence to N.
                                  Wilson regarding prior
                                  phone call requests.
    800    10/20/2020   Ezekiel   Confer with J. Muller     0.9   $ 250.00   $   225.00
                         Perez    and W. Germany
                                  regarding issue with
                                  proposed order; Draft
                                  correspondence to C.
                                  Hebert regarding the
                                  same; review response
                                  to proposed feedback.
    800    10/21/2020   Ezekiel   Met with client to        1.4   $ 250.00   $   350.00
                         Perez    discuss document
                                  production.
    800    10/21/2020   Ezekiel   Traveled to and           1.2   $ 250.00   $   300.00
                         Perez    conferred with W.
                                  Germany regarding
                                  email production;
                                  obtained flash drive
                                  containing the same.
    800    10/21/2020   Craig     Discuss adding            0.4   $ 250.00   $   100.00
                        O'Neil    affirmative defense of
                                  justification with E.
                                  Perez.




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    800    10/22/2020   Ezekiel   Confer with W.            0.1   $ 250.00   $    25.00
                         Perez    Germany by email
                                  regarding production of
                                  communications.
    800    10/22/2020   Ezekiel   Corresponded with T.      0.2   $ 250.00   $    50.00
                         Perez    Cleveland regarding
                                  second set of written
                                  discovery and request
                                  to expedite hearing on
                                  motion to compel.
    800    10/22/2020   Craig     Discuss Motion for        0.3   $ 250.00   $    75.00
                        O'Neil    Partial Summary
                                  Judgment against
                                  DMA with J. Muller.
    800    10/22/2020   Craig     Discuss Motion for        0.4   $ 250.00   $   100.00
                        O'Neil    Partial Summary
                                  Judgment arguments
                                  with J. Muller and
                                  discussing how to deal
                                  with the Bigfoot Note
                                  claims.
    800    10/23/2020   Ezekiel   Met with client and J.    0.8   $ 250.00   $   200.00
                         Perez    Muller; call to M.
                                  Black; conferred with
                                  F. Payne regarding
                                  calling Panola County
                                  court.
    800    10/23/2020   John      Confer with T.            0.2   $ 325.00   $    65.00
                        Muller    Cleveland regarding
                                  discovery issues.
    800    10/23/2020   Ezekiel   Confer with W.            0.2   $ 250.00   $    50.00
                         Perez    Germany regarding
                                  amended discovery
                                  production.
    800    10/23/2020   Ezekiel   Confer with J. Muller     0.3   $ 250.00   $    75.00
                         Perez    regarding documents
                                  for settlement
                                  agreement provided the
                                  same to F. Payne.
    800    10/27/2020   Ezekiel   Conference with C.        0.5   $ 250.00   $   125.00
                         Perez    O'Neil and W.
                                  Germany regarding
                                  amended answers to
                                  revised pleadings.
    800    10/27/2020   Ezekiel   Confer with J. Muller     0.2   $ 250.00   $    50.00
                         Perez    regarding filed Motion
                                  and Exhibits.
    800    10/28/2020   John      Confer with T.            0.2   $ 325.00   $    65.00
                        Muller    Cleveland regarding
                                  discovery issues.



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    800    10/28/2020   Ezekiel   Confer with C. O'Neil      0.6   $ 250.00   $   150.00
                         Perez    J. Muller and W.
                                  Germany regarding
                                  objection to motion for
                                  leave to amend and
                                  answer deadline; Draft
                                  correspondence to
                                  opposing counsel
                                  conferring on expedited
                                  consideration.
    800    10/28/2020   Ezekiel   Confer with F. Payne       0.3   $ 250.00   $    75.00
                         Perez    regarding background
                                  and layout for trial
                                  exhibit/PowerPoint.
    800    10/28/2020   Craig     Discuss filings with       0.2   $ 250.00   $    50.00
                        O'Neil    Denielle. Confer on
                                  how to file objection to
                                  joinder.
    800    10/28/2020   Craig     Discuss Motion for         0.2   $ 250.00   $    50.00
                        O'Neil    Partial Summary
                                  Judgment scheduling
                                  with Denielle.
    800    10/28/2020   Craig     Discuss objections to      0.5   $ 250.00   $   125.00
                        O'Neil    DMA and Moore
                                  Counterclaims with E.
                                  Perez and J. Muller.
                                  Draft Final revisions to
                                  objections and send to
                                  Denielle for filing.
    800    10/28/2020   Craig     Discuss objections to      2     $ 250.00   $   500.00
                        O'Neil    DMA and Moore's
                                  joinder of parties with
                                  J. Muller and E. Perez.
                                  Researching and
                                  drafting of these
                                  objections and sending
                                  to E. Perez for next
                                  draft review.
    800    10/29/2020   Ezekiel   Confer with C. O'Neil      0.1   $ 250.00   $    25.00
                         Perez    and D. Anguiano
                                  regarding status of
                                  Motion to Continue
                                  Motion for Summary
                                  Judgment hearing.
    800    10/29/2020   Ezekiel   Confer with C. O'Neil      0.4   $ 250.00   $   100.00
                         Perez    and edited draft of
                                  Motion to Expedite and
                                  Order.




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    800    10/29/2020   Craig     Discuss Motion for         0.2   $ 250.00   $    50.00
                        O'Neil    Continuance with E.
                                  Perez.
    800    10/30/2020   Craig     Confer with R.             0.2   $ 250.00   $    50.00
                        O'Neil    Smeberg and Denielle
                                  on Motion to Continue.
    800    10/30/2020   Ezekiel   Confer with F. Payne       0.2   $ 250.00   $    50.00
                         Perez    regarding Bates
                                  labeling instructions
                                  and issue.
    800    10/30/2020   Ezekiel   Confer with J. Muller      0.2   $ 250.00   $    50.00
                         Perez    regarding responses
                                  filed by DMA.
    800    10/30/2020   Craig     Discuss Settlement         0.4   $ 250.00   $   100.00
                        O'Neil    lawsuit and revolving
                                  line of credit with
                                  client.
    830    11/3/2020    Ezekiel   Correspondence with        0.3   $ 250.00   $    75.00
                         Perez    T. Cleveland and W.
                                  Germany regarding
                                  proposed deposition
                                  dates.
    830    11/4/2020    Ezekiel   Teleconference with        0.2   $ 250.00   $    50.00
                         Perez    W. Germany regarding
                                  pending Motion for
                                  Summary Judgment.
    830    11/4/2020    Sherry    Confer with J. Muller      0.5   $ 250.00   $   125.00
                        Barnash   E. Perez and F. Payne
                                  re case status and
                                  deposition errata;
                                  review deadlines and
                                  update taskings.
    830    11/5/2020    John      Meeting with L. Wright     2     $ 325.00   $   650.00
                        Muller    to discuss deposition
                                  testimony.
    830    11/5/2020    Ezekiel   Met with client and        7.1   $ 250.00   $ 1,775.00
                         Perez    review deposition
                                  transcript; Drafted
                                  proposed errata at
                                  client's request.
    830    11/5/2020    Ezekiel   Teleconference with C.     0.2   $ 250.00   $    50.00
                         Perez    Hebert regarding
                                  registry balance and
                                  order to disburse funds.
    830    11/5/2020    Ezekiel   Teleconference with L.     0.3   $ 250.00   $    75.00
                         Perez    Worsham Counsel for
                                  McLeod’s.
    830    11/10/2020   Ezekiel   Confer with the Court      0.3   $ 250.00   $    75.00
                         Perez    regarding setting on
                                  objection to pleading.



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    830    11/11/2020   John      Meeting with client to     1.5   $ 325.00   $   487.50
                        Muller    discuss trial exhibits.
    830    11/11/2020   Ezekiel   Met with client to         2.5   $ 250.00   $   625.00
                         Perez    review prospective trial
                                  exhibits.
    830    11/12/2020   Ezekiel   Confer with J. Muller      0.4   $ 250.00   $   100.00
                         Perez    regarding Longbranch
                                  settlement and
                                  provided requested
                                  documents to W.
                                  Kuhlmann for
                                  document draft.
    830    11/17/2020   Ezekiel   Confer with W.             0.2   $ 250.00   $    50.00
                         Perez    Germany regarding
                                  answer to Longbranch
                                  Counterclaim.
    830    11/19/2020   Ezekiel   Confer with client         0.2   $ 250.00   $    50.00
                         Perez    regarding discovery
                                  responses.
    830    11/23/2020   Ezekiel   Confer with W.             0.2   $ 250.00   $    50.00
                         Perez    Germany regarding
                                  case deadlines and
                                  scheduled hearings.
    830    11/25/2020   John      Conference with R.         0.4   $ 325.00   $   130.00
                        Muller    Smeberg and L.
                                  Worsham regarding
                                  option agreement and
                                  expedited motion for
                                  approval in bankruptcy
                                  court.
    841    12/2/2020    John      Correspondence with        0.2   $ 325.00   $    65.00
                        Muller    proposed mediator's
                                  office regarding
                                  scheduling and
                                  availability for in-
                                  person mediation.
    841    12/2/2020    John      Correspondence with        0.1   $ 325.00   $    32.50
                        Muller    T. Cleveland regarding
                                  mediation.
    841    12/3/2020    Ezekiel   Correspond with T.         0.1   $ 250.00   $    25.00
                         Perez    Cleveland regarding D.
                                  Borders' deposition
                                  availability.
    841    12/4/2020    Craig     Discuss Response to        0.3   $ 250.00   $    75.00
                        O'Neil    12(b)6 and Motion for
                                  Summary Judgment
                                  Reply edits and filing
                                  with E. Perez.




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    841    12/7/2020    Ezekiel   Confer with W.            0.2   $ 250.00   $    50.00
                         Perez    Germany regarding
                                  status of hearings and
                                  outcome.
    841    12/7/2020    Ezekiel   Confer with client in     0.7   $ 250.00   $   175.00
                         Perez    preparation of
                                  mediation.
    841    12/7/2020    Craig     Discuss outcome of        0.3   $ 250.00   $    75.00
                        O'Neil    Motion for Summary
                                  Judgment and Motion
                                  to Dismiss hearing with
                                  E. Perez.
    841    12/11/2020   Ezekiel   Confer and multiple       0.6   $ 250.00   $   150.00
                         Perez    correspondence with C.
                                  Hebert regarding
                                  bigfoot note order and
                                  draft motion.
    841    12/15/2020   Sherry    Confer with E. Perez      0.1   $ 250.00   $    25.00
                        Barnash   regarding trial
                                  preparation.
    841    12/16/2020   Ezekiel   Confer with W.            0.2   $ 250.00   $    50.00
                         Perez    Germany regarding
                                  case status.
    841    12/18/2020   Ezekiel   Correspondence with       0.3   $ 250.00   $    75.00
                         Perez    opposing counsel
                                  regarding motion to
                                  compel.
    841    12/18/2020   Ezekiel   Correspondence with       0.2   $ 250.00   $    50.00
                         Perez    W. Germany and R.
                                  Smeberg regarding
                                  motion to compel
                                  setting.
    841    12/21/2020   Ezekiel   Confer with J. Muller     2.1   $ 250.00   $   525.00
                         Perez    and prepare for hearing
                                  on motion to compel.
    841    12/28/2020   Ezekiel   Discuss trial strategy    0.3   $ 250.00   $    75.00
                         Perez    and exhibit binders.
    841    12/31/2020   John      Correspondence with       0.5   $ 325.00   $   162.50
                        Muller    real estate expert
                                  regarding diminution of
                                  value of property.
    925    2/22/2021    John      Telephone call with       0.3   $ 325.00   $    97.50
                        Muller    Trustee.
    1120    5/4/2021    Ezekiel   Confer with T.            0.3   $250.00    $    75.00
                         Perez    Cleveland regarding
                                  attorney's fees motion
                                  and response.
    1163    6/2/2021    Ezekiel   Confer regarding          0.4   $ 250.00   $   100.00
                         Perez    hearing reset; review



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                                  correspondence from
                                  D. Castleberry; review
                                  proposed notice of
                                  hearing.
    1163    6/9/2021    John      Meeting with Client.     2.2   $ 350.00   $      770.00
                        Muller
    1163   6/16/2021    John      Call wit Mcleods.        1.6   $ 350.00   $      560.00
                        Muller
    1216   07/02/2021   Ezekiel   Research and confer      2.8   $ 250.00   $      700.00
                         Perez    regarding settlement
                                  issues.
    1216   07/19/2021   Ezekiel   Confer with W.           0.2   $ 250.00   $       50.00
                         Perez    Germany.
    1216   08/02/2021   Ezekiel   Confer with J. Muller    0.2   $ 250.00   $       50.00
                         Perez    regarding outstanding
                                  claims.
    1367   9/20/2021    John      Telephone call with      1     $350.00        $350.00
                        Muller    client
    1442   10/26/2021   John      Attend                   0.5   $350.00        $175.00
                        Muller    Mcleod/Worsham
                                  Conference Call.
    1442   10/13/2021   John      Review draft of 2004     1.5   $350.00        $525.00
                        Muller    request for documents.
    1442   10/22/2021   John      Confer with opposing     1.4   $350.00        $490.00
                        Muller    counsel regarding ROA
                                  agreement; confer with
                                  client re: the same.
    1367   9/20/2021    John      Telephone call with      1     $350.00        $350.00
                        Muller    client
    1442   10/26/2021   John      Attend                   0.5   $350.00        $175.00
                        Muller    Mcleod/Worsham
                                  Conference Call.
    1442   10/13/2021   John      Review draft of 2004     1.5   $350.00        $525.00
                        Muller    request for documents.
    1442   10/22/2021   John      Confer with opposing     1.4   $350.00        $490.00
                        Muller    counsel regarding ROA
                                  agreement; confer with
                                  client re: the same.
    1367    9/3/2021    Ezekiel   Client meeting.          0.8   $250.00        $200.00
                         Perez
    1442   10/20/2021   Ezekiel   Confer regarding 2004    0.2   $250.00        $50.00
                         Perez    notice.
    1500   11/11/2021   Ezekiel   Confer regarding next    0.2   $250.00        $50.00
                         Perez    steps.
    1442   10/19/2021   Ezekiel   Confer regarding         0.6   $250.00        $150.00
                         Perez    Panola County funds;



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                                  review client
                                  correspondence and
                                  filing.
    1500   11/9/2021    Ezekiel   Confer with client; case   0.4   $250.00    $100.00
                         Perez    management
                                  conference.
    1442   10/25/2021   Ezekiel   Confer with J. Muller      0.3   $250.00    $75.00
                         Perez    regarding DMA
                                  objection to plan and
                                  ROA advisory.
    1442   10/22/2021   Ezekiel   Confer with opposing       0.4   $250.00    $100.00
                         Perez    counsel regarding ROA
                                  agreement; confer with
                                  J. Muller regarding the
                                  same.
    1367   10/1/2021    Ezekiel   Confer with R.             0.9   $250.00    $225.00
                         Perez    Smeberg and J. Muller
                                  regarding motion for
                                  determination of 506(b)
                                  claims.
    1500   11/8/2021    Ezekiel   Confer with R.             0.2   $250.00    $50.00
                         Perez    Smeberg regarding
                                  objection deadlines.
    1367   9/23/2021    Ezekiel   Confer with R.             1.4   $250.00    $350.00
                         Perez    Smeberg regarding
                                  plan amendments and
                                  Panola Registry; confer
                                  with J. Muller
                                  regarding appellate
                                  deadlines and tasking;
                                  review documents in
                                  support of objection to
                                  proof of claim.
    1442   10/11/2021   Ezekiel   Confer with R.             1.4   $250.00    $350.00
                         Perez    Smeberg regarding
                                  proposed final draft
                                  objection; draft
                                  proposed order; confer
                                  with J. Muller
                                  regarding the same.
    1367    9/3/2021    Ezekiel   Client meeting.            0.8   $250.00    $200.00
                         Perez
                                                                   TOTAL:    $35,025.00




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     Name                Hours       Rate              Amount
      John Muller        12.4        $325/Hour         $ 5,470.00
      Bryan Lopez         2.9        $325/Hour         $   942.50
      Ezekiel Perez      89.2        $250/Hour         $ 21,765.00
      Craig O’Neil       26.7        $250/Hour         $ 6,675.00
      Sherry Barnash     0.6         $250/Hour         $   150.00
      Paige Burough      0.1         $225/Hour         $    22.50

     BILLING SUMMARY

           TOTAL CHARGES FOR THIS BILL:                $ 35,025.00




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 CORRESPONDENCE
 FOR PROFESSIONAL SERVICES RENDERED
  Bill ID   Date    User         Description                  Qty.     Price      Total
   664    7/13/2020 Craig  Send E. Perez answer to            0.1    $ 250.00   $    25.00
                    O'Neil Moore's counterclaim.
    664    7/30/2020   Craig    Email and phone call with     0.2    $ 250.00   $    50.00
                       O'Neil   R. Smeberg requesting
                                discovery requests and
                                objections from resisting
                                law firm.
    664    7/31/2020   Craig    Send Don Dennis               0.2    $ 250.00   $    50.00
                       O'Neil   Conference Letter
                                regarding 2004 document
                                request responses and
                                objections.
    699    8/12/2020   Craig    Send J. Muller E. Perez       0.1    $ 250.00   $    25.00
                       O'Neil   and R. Smeberg email
                                update on status of Agreed
                                Order to Continue.
    699    8/14/2020   Craig    Send opposing counsel         0.1    $ 250.00   $    25.00
                       O'Neil   email re: their taking the
                                lead on drafting the
                                motion and order to
                                extend pleading deadline.
    699    8/24/2020   Craig    Send email re: horizontal     0.3    $ 250.00   $    75.00
                       O'Neil   privity of estate to group.
    699    8/24/2020   Craig    Send Pigg subpoena and        0.2    $ 250.00   $    50.00
                       O'Neil   notice of deposition to S.
                                Johnson (Ping's Counsel).
    699    8/25/2020   Craig    Email to opposing counsel     0.2    $ 250.00   $    50.00
                       O'Neil   regarding deposition dates
                                for Moore.
    699    8/26/2020   Craig    Send Pigg deposition          0.2    $ 250.00   $    50.00
                       O'Neil   cancellation email to S.
                                Johnson.
    699    8/27/2020   Craig    Response email to S.          0.1    $ 250.00   $    25.00
                       O'Neil   Johnson.
    699    8/31/2020   Craig    Respond to group email        0.2    $ 250.00   $    50.00
                       O'Neil   regarding depositions and
                                pleading deadlines.
    750     9/2/2020   Craig    Send client email             0.1    $ 250.00   $    25.00
                       O'Neil   regarding availability on
                                deposition dates.
    750     9/4/2020   Craig    Send opposing counsel         0.2    $ 250.00   $    50.00
                       O'Neil   Wright dates for depo and
                                confirm Moore's dates for
                                deposition.




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    750    9/12/2020    Craig     Send fact pattern to client   0.2   $ 250.00   $   50.00
                        O'Neil    and R. Smeberg for
                                  review and fact check.
    750    9/15/2020    Ezekiel   Communication with D.         0.1   $ 250.00   $   25.00
                         Perez    Strolle's office regarding
                                  filed objection and log.
    750    9/28/2020    Ezekiel   Email with C Hebert           0.2   $ 250.00   $   50.00
                         Perez    regarding status of agreed
                                  order; conferred with D.
                                  Anguiano regarding the
                                  same.
    800    10/13/2020   Ezekiel   Email to A. Krist             0.1   $ 250.00   $   25.00
                         Perez    regarding leave to amend.
    800    10/22/2020   Ezekiel   Responded to client           0.3   $ 250.00   $   75.00
                         Perez    communication and
                                  review documents
                                  provided.
    800    10/28/2020   Craig     Emails with W. Germany        0.2   $ 250.00   $   50.00
                        O'Neil    and T. Baskill regarding
                                  Wright's answers to Oct.
                                  14 pleadings.
    800    10/30/2020   Craig     Send conference email to      0.2   $ 250.00   $   50.00
                        O'Neil    opposing counsel on our
                                  Motion to Continue
                                  Debtors' Motion for
                                  Partial Summary
                                  Judgment.
    830    11/12/2020   Ezekiel   Multiple correspondence       0.2   $ 250.00   $   50.00
                         Perez    with T. Cleveland
                                  regarding depositions and
                                  discovery requests.
    841    12/1/2020    Craig     Send Frankie email re:        0.1   $ 250.00   $   25.00
                        O'Neil    DMA's response that
                                  should be forthcoming.
    841    12/3/2020    Craig     Send Replies and exhibits     0.1   $ 250.00   $   25.00
                        O'Neil    to E. Perez for next draft
                                  review.
    841    12/21/2020   Ezekiel   Communications to K.          0.2   $ 250.00   $   50.00
                         Perez    Kershner regarding TCRG
                                  production.
    1120    5/3/2021    Ezekiel   Review correspondence;        0.2   $250.00    $    50.00
                         Perez    Confer with J. Muller
                                  regarding request to abate.
    1120   5/25/2021    Ezekiel   Correspond with opposing      0.5   $250.00    $   125.00
                         Perez    counsel regarding hearing
                                  reset; correspond to court
                                  regarding the same.
    1120   5/28/2021    Ezekiel   Correspond with opposing      0.2   $250.00    $   50.00
                         Perez    counsel regarding
                                  proposed agreed order.


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    1367    8/24/2021    Ezekiel   Client call; review order    1.1     $250.00   $275.00
                          Perez    on sale of property;
                                   teleconference with A.
                                   Krist regarding
                                   consolidation of appeals.
    1442    10/29/2021   Ezekiel   Client correspondence.       0.2     $250.00    $50.00
                          Perez
    1442    11/3/2021    Ezekiel   Client correspondence.       0.2     $250.00    $50.00
                          Perez
    1500    12/2/2021    Ezekiel   Client correspondence;       0.4     $250.00   $100.00
                          Perez    correspondence regarding
                                   2004 subpoenas.
    1500    11/22/2021   Ezekiel   Client correspondence;       1.1     $250.00   $275.00
                          Perez    draft correspondence to L.
                                   Worsham regarding KJR
                                   documents.
    1367     9/1/2021    Ezekiel   Client correspondence;       1.2     $250.00   $300.00
                          Perez    research filed deeds;
                                   confer with B. Lopez
                                   regarding pulling deeds.
    1442    10/28/2021   Ezekiel   Correspond with A. Krist     2.1     $250.00   $525.00
                          Perez    regarding required joint
                                   advisory; edit draft joint
                                   advisory and designations;
                                   circulated the same for
                                   review and signature; edit
                                   draft LOI.
    1500    11/17/2021   Ezekiel   Correspondence from L.       0.2     $250.00    $50.00
                          Perez    Worsham regarding
                                   deposition availability.
    1500    11/23/2021   Ezekiel   Correspondence with          0.3     $250.00    $75.00
                          Perez    opposing counsel
                                   regarding request for
                                   extension of time; confer
                                   with J. Muller regarding
                                   the same.
                                                                        TOTAL:    $2950.00

                             Timekeeper Summary
 Name                      Hours              Rate                    Amount
    Ezekiel Perez            7.9             $250/Hour                $2,200.00
    Craig O’Neil             3.0             $250/Hour                $ 750.00

     BILLING SUMMARY
            TOTAL CHARGES FOR THIS BILL:                              $2,950.00




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 PARALEGAL AND CLERICAL
 FOR PROFESSIONAL SERVICES RENDERED
  Bill ID    Date     User           Description              Qty.    Price    Total
   664    7/14/2020 Denielle Add certificate of service       0.8    $120.00   $96.00
                    Anguiano to motion to quash;
                             Confer with Z. Perez
                             regarding proper event
                             and file; Email to
                             opposing counsel.
   664    7/15/2020 Denielle Call with bankruptcy             1.5    $120.00   $180.00
                    Anguiano clerk regarding filed
                             motion in Adversary. Call
                             with Smeberg and Z.
                             Perez regarding
                             correction to filing. Draft
                             proposed order and send
                             to Z. Perez; Follow up
                             call with Z. Perez. Final
                             revisions to motion and
                             order and file. Email
                             filings to opposing
                             counsel.
   664    7/27/2020 Denielle Calendar all dates of            0.3    $120.00   $36.00
                    Anguiano Adversary status
                             conference
   664    7/28/2020 Denielle Review of docket;                0.5    $120.00   $60.00
                    Anguiano Download Motion for
                             Summary Judgment and
                             arrange for phone
                             conference to discuss;
                             Prepare for meeting
                             between J. Muller and R.
                             Smeberg
   664    7/30/2020 Denielle Locate and draft of              0.5    $120.00   $60.00
                    Anguiano document with contents
                             of 5/13 production; Calls
                             with Smeberg and C.
                             O'Neil.
   699     8/5/2020 Denielle Calls with C. O'Neil for         0.5    $120.00   $60.00
                    Anguiano case law; Research
                             dockets in relating cases
                             to locate and download
                             pleadings for C. O'Neil.
   699    8/12/2020 Denielle Pull and send operating          0.2    $120.00   $24.00
                    Anguiano agreement to J. Muller.
    699     8/18/2020   Denielle   Prepare shell for motion   0.7    $120.00   $84.00
                        Anguiano   for continuance for C.
                                   O'Neil.




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    699    8/18/2020   Denielle   Call with C. O'Neil           0.5   $120.00   $60.00
                       Anguiano   regarding continued
                                  hearing; Review of
                                  dockets and prepare
                                  motion for continuance
                                  shell for filing. Email to
                                  C. O'Neil regarding the
                                  same.
    699    8/18/2020   Denielle   Connect calls with            0.1   $120.00   $12.00
                       Anguiano   George Pigg and counsel.
    699    8/19/2020   Denielle   Revisions to certificate of   0.4   $120.00   $48.00
                       Anguiano   service and verification;
                                  confer with C. O'Neil
                                  regarding procedure.
    699    8/19/2020   Denielle   File motion for leave;        0.3   $120.00   $36.00
                       Anguiano   email to counsel.
    699    8/19/2020   Denielle   Review of docket with C.      0.2   $120.00   $24.00
                       Anguiano   O'Neil
    699    8/20/2020   Denielle   Minor revisions to motion     0.5   $120.00   $60.00
                       Anguiano   for continuance and
                                  motion to expedite; file
                                  and send email to
                                  bankruptcy clerk
                                  requesting notice.
    699    8/20/2020   Denielle   Arrange for conference        0.1   $120.00   $12.00
                       Anguiano   call with David Strolle.
    699    8/20/2020   Denielle   Prepare notice of hearing,    0.9   $120.00   $108.00
                       Anguiano   review with Z. Perez and
                                  file. Email to counsel of
                                  the same.
    699    8/24/2020   Denielle   Confer with C. O'Neil         0.5   $120.00   $60.00
                       Anguiano   regarding supplement;
                                  Prepare supplement to
                                  motion for continuance
                                  and send to C. O'Neil for
                                  review; Final revision and
                                  file with Court. Email to
                                  counsel on service list.
    699    8/25/2020   Denielle   Assist with preparation of    0.7   $120.00   $84.00
                       Anguiano   continuance hearing;
                                  connect call.
    699    8/25/2020   Denielle   Email to court clerk          0.1   $120.00   $12.00
                       Anguiano   regarding hearing
    750     9/8/2020   Denielle   Call with court clerk         0.3   $120.00   $36.00
                       Anguiano   regarding verbiage in
                                  Doc. 54. Phone call to C.
                                  O'Neil regarding the filing
                                  of amended answers.



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    750     9/9/2020   Denielle   Review amended answers       0.6   $120.00   $72.00
                       Anguiano   and add certificate of
                                  service.
    750     9/9/2020   Denielle   Review docket and events     0.3   $120.00   $36.00
                       Anguiano   for filing; Call with R.
                                  Smeberg regarding proper
                                  event and file.
    750    9/10/2020   Denielle   Review and compile all       1.1   $120.00   $132.00
                       Anguiano   time for August bill. Send
                                  to R. Smeberg for
                                  submission.
    750    9/10/2020   Denielle   Research motion for          0.4   $120.00   $48.00
                       Anguiano   expedited consideration
                                  on motion to quash; Send
                                  to Z. Perez.
    750    9/14/2020   Denielle   Notarize affidavit for       0.2   $120.00   $24.00
                       Anguiano   Larry Wright; Scan and
                                  email to C. O'Neil.
    750    9/15/2020    Craig     Task P. Burough with         0.1   $250.00   $25.00
                        O'Neil    print if KrisJenn Motion
                                  for Partial Summary
                                  Judgment cases for J.
                                  Muller.
    750    9/16/2020   Denielle   Call with Court clerk        0.3   $120.00   $36.00
                       Anguiano   regarding doc. 65; discuss
                                  with Z. Perez Strolle's
                                  need to upload order.
    750    9/16/2020   Denielle   Convert order for doc. 65    0.1   $120.00   $12.00
                       Anguiano   to PDF and upload
                                  through ECF.
    750    9/17/2020   Frankie    Scan original documents      1.6   $120.00   $192.00
                        Payne     print and bates label and
                                  save in Clio.
    750    9/18/2020   Frankie    File client documents by     0.4   $120.00   $48.00
                        Payne     name in Clio
    750    9/18/2020    Craig     Task P. Burough with         0.1   $250.00   $25.00
                        O'Neil    prepare of opposing
                                  counsel's Motion for
                                  Partial Summary
                                  Judgment cases for J.
                                  Muller review.
    750    9/21/2020   Denielle   Arrange for court reporter   0.2   $120.00   $24.00
                       Anguiano   for 9/25 depositions.
    750    9/21/2020   Denielle   Phone call and email         0.2   $120.00   $24.00
                       Anguiano   follow up to David
                                  Strolle's office regarding
                                  motion to quash hearing.




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    750    9/22/2020   Frankie    Draft conference letter re:   1     $120.00   $120.00
                        Payne     discovery and deposition
                                  of Moore
    750    9/22/2020   Denielle   Assist with preparation       0.4   $120.00   $48.00
                       Anguiano   for hearing.
    750    9/22/2020   Denielle   Phone call to David           0.2   $120.00   $24.00
                       Anguiano   Strolle's office to inform
                                  of attendance for hearing;
                                  email regarding the same.
    750    9/23/2020   Frankie    Bates Stamp and prepare       2.5   $120.00   $300.00
                        Payne     documents for production
    750    9/23/2020   Denielle   Meeting regarding plan of     0.3   $120.00   $36.00
                       Anguiano   action for discovery
    750    9/23/2020   Denielle   Confer with F. Payne          0.4   $120.00   $48.00
                       Anguiano   regarding produced items
                                  in bankruptcy case and
                                  provide instruction on
                                  where to pull documents
                                  to bates label.
    750    9/23/2020   Denielle   Review of all client          1.2   $120.00   $144.00
                       Anguiano   documents and prepare
                                  for possible discovery.
    750    9/24/2020   Denielle   Meeting to discuss            0.4   $120.00   $48.00
                       Anguiano   discovery responses; call
                                  to Larry Wright to request
                                  documents.
    750    9/24/2020   Frankie    Bates Stamp and catalog       3.2   $120.00   $384.00
                        Payne     documents for
                                  Production. Review all
                                  documents for redactions.
    750    9/24/2020   Denielle   Email to Court reporter to    0.1   $120.00   $12.00
                       Anguiano   postpone depositions.
    750    9/24/2020   Denielle   Review of copied threads      0.4   $120.00   $48.00
                       Anguiano   between opposing counsel
                                  and J. Muller
    750    9/24/2020   Denielle   Discuss with F. Payne         0.5   $120.00   $60.00
                       Anguiano   previously produced
                                  discovery and provide
                                  files.
    750    9/24/2020   Denielle   Discuss requests for          1.5   $120.00   $180.00
                       Anguiano   production with J. Muller
                                  and review files for to
                                  prepare for deposition.
    750    9/25/2020   Frankie    Scan and File Documents       0.3   $120.00   $36.00
                        Payne
    750    9/25/2020   Denielle   Review of docket and          0.1   $120.00   $12.00
                       Anguiano   upload Order to Doc. 23




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    750    9/28/2020   Denielle   To Copy Concierge and      12     $0.58     $6.96
                       Anguiano   return to office.
    750    9/28/2020   Denielle   Deliver client documents   0.5   $120.00   $60.00
                       Anguiano   to copy service to be
                                  scanned.
    750    9/28/2020   Frankie    Finish preparing           0.5   $120.00   $60.00
                        Payne     documents for production
                                  and send.
    750    9/28/2020   Denielle   Review docket and send     0.8   $120.00   $96.00
                       Anguiano   pleadings relating to
                                  motion to quash Motion
                                  for Summary Judgment
                                  and responses to Craig
                                  Crockett.
    750    9/29/2020   Denielle   Assist with preparation    0.4   $120.00   $48.00
                       Anguiano   for deposition
    800    9/29/2020   Denielle   Attention to invoice       1     $120.00   $120.00
                       Anguiano   discrepancy
    750    9/30/2020   Denielle   To Copy Concierge and      12     $0.58     $6.96
                       Anguiano   return to office.
    750    9/30/2020   Denielle   Assist with preparation    0.4   $120.00   $48.00
                       Anguiano   for deposition.
    750    9/30/2020   Denielle   Review documents           1.8   $120.00   $216.00
                       Anguiano   provided by client and
                                  add to folder to
                                  potentially be produced.
    750    9/30/2020   Denielle   Run documents to copy      0.5   $120.00   $60.00
                       Anguiano   service to be scanned.
    750    9/30/2020   Frankie    Prepare exhibits for       1.6   $120.00   $192.00
                        Payne     deposition.
    800    10/1/2020   Denielle   Locate option agreement    0.3   $120.00   $36.00
                       Anguiano   and send to B. Lopez.
    800    10/5/2020   Frankie    Fill out and sign          0.4   $120.00   $48.00
                        Payne     document return
                                  acknowledgement and
                                  review documents
                                  returned to/with Mr.
                                  Larry Wright.
    800    10/5/2020   Frankie    Draft shell for Response   0.6   $120.00   $72.00
                        Payne     to DMA Properties Inc's
                                  Motion for Partial
                                  Summary Judgement on
                                  DMA's Ownership
                                  Interest in the Bigfoot
                                  Note Payments.




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    800    10/5/2020   Denielle   Notarize affidavit for        0.3   $120.00   $36.00
                       Anguiano   Larry Wright; scan and
                                  send to C. O'Neil
    800    10/6/2020   Frankie    Prepare and scan              0.5   $20.00    $10.00
                        Payne     document from deposition
                                  and send to court reporter.
    800    10/6/2020   Denielle   Assist F. Payne with          0.3   $120.00   $36.00
                       Anguiano   lookup of opposing's
                                  response to Motion for
                                  Summary Judgment
    800    10/6/2020   Denielle   Notarize affidavit for L.     0.3   $120.00   $36.00
                       Anguiano   Wright; scan and send to
                                  C. O'Neil.
    800    10/6/2020   Denielle   Briefly meet with L.          0.2   $120.00   $24.00
                       Anguiano   Wright for Motion for
                                  Partial Summary
                                  Judgment filing.
    800    10/6/2020   Denielle   File response to Motion       0.2   $120.00   $24.00
                       Anguiano   for Summary Judgment.
    800    10/7/2020   Frankie    Categorize and reorder        1.4   $20.00    $28.00
                        Payne     the documents provided
                                  by client. Complete
                                  Exhibit D.
    800    10/7/2020   Frankie    Print requested               2.5   $120.00   $300.00
                        Payne     documents from
                                  previously received
                                  emails.
    800    10/7/2020   Denielle   Draft Supplement shell;       0.5   $120.00   $60.00
                       Anguiano   send to C. O'Neil.
    800    10/7/2020   Denielle   Review of deposition          0.2   $120.00   $24.00
                       Anguiano   login instructions of
                                  Adam McLeod
    800    10/7/2020   Denielle   Final review of               0.3   $120.00   $36.00
                       Anguiano   supplement; attach exhibit
                                  and file.
    800    10/7/2020    Craig     Assigning Denielle task to    0.1   $250.00   $25.00
                        O'Neil    draft supplement to add
                                  Exhibit D to Motion for
                                  Partial Summary
                                  Judgment response to
                                  bigfoot note payments.
    800    10/8/2020   Frankie    Scan and save emails          0.5   $20.00    $10.00
                        Payne     provided by client
    800    10/8/2020   Denielle   Pull Original and             0.2   $120.00   $24.00
                       Anguiano   amended complaint from
                                  docket and send to
                                  William Germany.




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    800    10/8/2020    Denielle   Create login with Veritext   0.3   $120.00   $36.00
                        Anguiano   for 10/9 McCloud
                                   Deposition.
    800    10/10/2020   Denielle   Review and revise all        0.6   $120.00   $72.00
                        Anguiano   September time entries.
                                   Prepare invoice.
    800    10/10/2020   Denielle   Review and revise all        2.3   $120.00   $276.00
                        Anguiano   September time entries.
                                   split as necessary and
                                   include on final invoice.
    800    10/12/2020   Denielle   Review of docket and pull    0.5   $120.00   $60.00
                        Anguiano   Reply Response and
                                   Motion for Partial
                                   Summary Judgment for
                                   C. O'Neil review.
    800    10/12/2020   Denielle   Draft and Motion and         1.8   $120.00   $216.00
                        Anguiano   Order for leave to file
                                   Sur-Reply. Revise with B.
                                   Lopez and send to C.
                                   O'Neil for review.
    800    10/12/2020   Denielle   Incorporate revisions for    0.5   $120.00   $60.00
                        Anguiano   sur-reply and send to C.
                                   O'Neil for review.
    800    10/12/2020   Denielle   File docs. 94 & 95; email    0.5   $120.00   $60.00
                        Anguiano   to court clerk in inform
                                   for 10/13 hearing.
    800    10/13/2020   Frankie    Organize analyze and         3.8   $20.00    $76.00
                         Payne     prepare documents for our
                                   production to opposing
                                   party
    800    10/13/2020   Denielle   Pull requested exhibits to   0.2   $120.00   $24.00
                        Anguiano   Motion for Summary
                                   Judgment and send to J.
                                   Muller.
    800    10/13/2020   Denielle   Assist with preparation      0.5   $120.00   $60.00
                        Anguiano   for hearing.
    800    10/14/2020   Frankie    Review all documents         4.9   $120.00   $588.00
                         Payne     (produced and not
                                   produced) sort for
                                   privilege and create a
                                   production log that
                                   corresponds to bates
                                   labeling.
    800    10/14/2020   Denielle   Review with minor            0.8   $120.00   $96.00
                        Anguiano   revisions and file motion
                                   for leave to amend
                                   complaint.
    800    10/15/2020   Frankie    Analyze and organize         5.8   $120.00   $696.00
                         Payne     documents for production.



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                                   Create an index and
                                   production log
    800    10/15/2020   Denielle   Pull 10/14 filings and       0.2   $120.00   $24.00
                        Anguiano   send to C. O'Neil for
                                   review.
    800    10/16/2020   Frankie    Begin work on trial          2.6   $20.00    $52.00
                         Payne     binder. Identify key
                                   players sort events
                                   chronologically.
    800    10/16/2020   Frankie    Analysis and organization    4.2   $120.00   $504.00
                         Payne     of documents for
                                   production; index and
                                   production log created.
                                   finalize for review with
                                   client.
    800    10/19/2020   Frankie    Research responses for       7.6   $120.00   $912.00
                         Payne     production and create a
                                   matrix to ensure all
                                   documents are responsive.
    800    10/20/2020   Frankie    Create Matrix for team       1.7   $20.00    $34.00
                         Payne     review to determine
                                   completeness of
                                   document production.
    800    10/20/2020   Frankie    Verify each individual       4.1   $120.00   $492.00
                         Payne     document provided by
                                   client to ensure accurate
                                   name date and indicate
                                   what Requests for
                                   Production it responds to.
    800    10/20/2020   Frankie    Bates stamp all              0.5   $120.00   $60.00
                         Payne     documents in preparation
                                   for production
    800    10/20/2020   Denielle   Draft order on motion to     0.5   $120.00   $60.00
                        Anguiano   compel; Send to Z. Perez
                                   for review.
    800    10/20/2020   Denielle   Split exhibits on motion     0.5   $120.00   $60.00
                        Anguiano   to compel and file.
    800    10/20/2020   Denielle   Prepare shell responses to   2     $120.00   $240.00
                        Anguiano   discovery requests for
                                   KrisJenn Ranch LLC
                                   KrisJenn Ranch LLC
                                   Series Pipeline Row and
                                   KrisJenn Ranch Series
                                   Uvalde Ranch.
    800    10/21/2020   Frankie    Meet with Client to          0.8   $120.00   $96.00
                         Payne     confirm documents for
                                   Production and analyze
                                   for privilege.




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    800    10/21/2020   Frankie    Organize and identify        3.2   $120.00   $384.00
                         Payne     documents that are
                                   responsive to Requests for
                                   Productions from OC.
    800    10/22/2020   Denielle   Create attorney contacts     0.4   $120.00   $48.00
                        Anguiano   within Clio for the
                                   purposes of sharing
                                   discovery responses.
    800    10/22/2020   Frankie    Process emails received      4.5   $120.00   $540.00
                         Payne     today review analyze
                                   and prepare for
                                   production.
    800    10/22/2020   Frankie    Process text messages        1.1   $120.00   $132.00
                         Payne     received today review
                                   analyze and prepare for
                                   production.
    800    10/22/2020   Frankie    Draft Responses to           5.2   $120.00   $624.00
                         Payne     Requests for Productions
                                   to OC finalize production
                                   file and send.
    800    10/22/2020   Denielle   obtain credentials with      0.3   $120.00   $36.00
                        Anguiano   Veritext to view and
                                   download Larry Wright
                                   transcript.
    800    10/23/2020   Frankie    Draft and send deposition    1.8   $120.00   $216.00
                         Payne     re notices on Moore
                                   SCMED and DMA.
    800    10/23/2020   Frankie    Verify all documents         2.1   $120.00   $252.00
                         Payne     produced in Drop Box are
                                   accounted for and all
                                   redactions are accurate.
                                   Correct all the links on
                                   the production chart and
                                   update privilege log.
    800    10/23/2020   Frankie    Meet with Client to          1     $120.00   $120.00
                         Payne     retrieve emails and
                                   analyze to begin
                                   supplemental production.
    800    10/26/2020   Denielle   Final revisions to motion    1     $120.00   $120.00
                        Anguiano   and order to expedite
                                   hearing; file with Court
                                   and email to clerk
                                   requesting dates.
    800    10/26/2020   Frankie    Draft letter and prepare     1.6   $120.00   $192.00
                         Payne     USB for Requests for
                                   Production responses to
                                   Mr. Moore. Obtain the
                                   2nd volume of deposition
                                   transcripts for Larry
                                   Wright.



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    800    10/26/2020   Frankie    Organize analyze and           1.5   $120.00   $180.00
                         Payne     verify trial binder is
                                   complete.
    800    10/26/2020   Frankie    Analyze documents from         0.8   $120.00   $96.00
                         Payne     DMA production and
                                   begin to chart.
    800    10/26/2020   Denielle   Notarize Affidavit for         0.5   $120.00   $60.00
                        Anguiano   Larry Wright
    800    10/26/2020   Denielle   Extract Motion for             0.5   $120.00   $60.00
                        Anguiano   Summary Judgment
                                   exhibits into separate files
                                   for filing.
    800    10/26/2020   Denielle   Final revisions to Motion      1.2   $120.00   $144.00
                        Anguiano   for Partial Summary
                                   Judgment and
                                   corresponding orders;
                                   convert to PDF and file.
    800    10/27/2020   Denielle   Draft file notice of           0.8   $120.00   $96.00
                        Anguiano   expedited hearing.
    800    10/27/2020   Denielle   Confer with C. O'Neil          0.4   $120.00   $48.00
                        Anguiano   regarding filed
                                   counterclaims; pull from
                                   docket and send to C.
                                   O'Neil for review.
    800    10/27/2020   Frankie    Analyze and split              2.9   $120.00   $348.00
                         Payne     Requests for Production
                                   docs received from DMA
    800    10/27/2020   Frankie    Print and tab a deposition     0.8   $120.00   $96.00
                         Payne     binder for Larry Wright
                                   Deposition.
    800    10/27/2020   Denielle   Review of docket and pull      0.2   $120.00   $24.00
                        Anguiano   requested pleadings and
                                   to C. O'Neil
    800    10/28/2020   Frankie    Create a power-                4.9   $120.00   $588.00
                         Payne     point/Prezi presentation
                                   that identifies all of the
                                   main transactions of the
                                   case.
    800    10/28/2020   Denielle   Email to court deputy          0.2   $120.00   $24.00
                        Anguiano   regarding setting of
                                   Motion for Partial
                                   Summary Judgment
    800    10/28/2020   Denielle   Prepare motion and order       1     $120.00   $120.00
                        Anguiano   to expedite hearing; send
                                   to C. O'Neil for review.
    800    10/28/2020   Denielle   Convert to PDF and file        0.4   $120.00   $48.00
                        Anguiano   Second Amended
                                   Answers to
                                   Counterclaims.



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    800    10/29/2020   Denielle   Draft motion and order       1     $120.00   $120.00
                        Anguiano   for continence of Motion
                                   for Partial Summary
                                   Judgment; send to Z.
                                   Perez and C. O'Neil for
                                   review.
    800    10/29/2020   Denielle   Review and convert to        0.3   $120.00   $36.00
                        Anguiano   PDF Motion to expedite;
                                   file with Court.
    800    10/30/2020   Frankie    Document production          3.5   $120.00   $420.00
                         Payne     presentation design.
    800    10/30/2020   Frankie    Bates stamp supplemental     0.8   $120.00   $96.00
                         Payne     Requests for Production
    830    11/2/2020    Frankie    Prepare exhibits for         0.9   $120.00   $108.00
                         Payne     hearing
    830    11/2/2020    Frankie    Draft Notice of Expedited    0.8   $120.00   $96.00
                         Payne     Hearing.
    830    11/2/2020    Denielle   Edit and file Notice of      0.2   $120.00   $24.00
                        Anguiano   Expedited Hearing.
    830    11/2/2020    Denielle   Draft and edit Amended       0.3   $120.00   $36.00
                        Anguiano   Complaint.
    830    11/3/2020    Frankie    Review and index             1.3   $120.00   $156.00
                         Payne     documents produced by
                                   Counter-Plaintiffs.
    830    11/3/2020    Denielle   Review client                0.2   $120.00   $24.00
                        Anguiano   correspondence.
    830    11/4/2020    Frankie    Review calendar entries      0.8   $120.00   $96.00
                         Payne     and ensure they match the
                                   upcoming deadlines.
    830    11/5/2020    Frankie    Present power point to       1.3   $120.00   $156.00
                         Payne     client for review notarize
                                   errata print documents
                                   for meeting.
    830    11/5/2020    Sherry     Update case scheduling       0.5   $250.00   $125.00
                        Barnash    deadlines.
    830    11/9/2020    Frankie    Review and analyze           4.4   $120.00   $528.00
                         Payne     documents produced by
                                   DMA in response to
                                   requests for production.
    830    11/10/2020   Frankie    Review documents             4     $120.00   $480.00
                         Payne     produce by DMA and
                                   Moore; Identify potential
                                   trial exhibits.




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    830    11/11/2020   Frankie   Meeting with Larry           7.1   $120.00   $852.00
                         Payne    Wright to identify
                                  relevant emails. Continue
                                  review on identifying
                                  company documents that
                                  are relevant. Begin
                                  printing and organizing
                                  documents
                                  chronologically in
                                  preparation of exhibits.
    830    11/12/2020   Frankie   Prepare exhibit binders.     3.7   $120.00   $444.00
                         Payne
    830    11/13/2020   Frankie   Create exhibit binders.      3.7   $120.00   $444.00
                         Payne
    830    11/13/2020   Frankie   Continue to work on trial    1.3   $120.00   $156.00
                         Payne    exhibits and update
                                  timeline with documents
                                  identified in production
                                  meeting earlier this week.
    830    11/16/2020   Frankie   Download documents           0.8   $120.00   $96.00
                         Payne    from Pacer and save to
                                  file.
    830    11/18/2020   Frankie   Draft new Deposition         0.7   $120.00   $84.00
                         Payne    Notices for SCMED
                                  DMA and Moore.
    830    11/25/2020   Sherry    Update case task list and    0.3   $250.00   $75.00
                        Barnash   deadlines.
    830    11/30/2020   Frankie   Notarize all documents       0.7   $120.00   $84.00
                         Payne    with Mr. Wright. Scan
                                  and send copies.
    841    12/1/2020    Frankie   Re: DKT 141 KrisJenn         0.1   $120.00   $12.00
                         Payne    Adversary
    841    12/1/2020    Frankie   Prepare appropriate          1     $120.00   $120.00
                         Payne    notarized Fed Ex
                                  Documents to send to
                                  Kuhlmann
    841    12/1/2020    Frankie   Confirm mediator for         0.4   $120.00   $48.00
                         Payne    December 8 call Wade
                                  Shelton.
    841    12/3/2020    Frankie   Contact the court reporter   1.2   $120.00   $144.00
                         Payne    and finalize details for
                                  upcoming deposition.
                                  Contact OC for
                                  deponent's contact
                                  information.
    841    12/3/2020    Frankie   Print every document         7     $120.00   $840.00
                         Payne    identified for upcoming
                                  deposition. Organize



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                                  chronologically and
                                  prepare as exhibits.
    841    12/3/2020    Frankie   Create final Portfolio        3.2   $120.00   $384.00
                         Payne    USB and all other
                                  exhibits for Moore
                                  Deposition
    841    12/4/2020    Frankie   Create physical binders of    2.9   $120.00   $348.00
                         Payne    all 75 exhibits and include
                                  document list. Separate
                                  into three separate binders
                                  for reference guide during
                                  deposition.
    841    12/4/2020    Frankie   Prepare documents for         2.5   $120.00   $300.00
                         Payne    Mondays Hearing. Label
                                  and organize for review.
                                  Download all newly filed
                                  docs with file stamps.
    841    12/4/2020    Frankie   File Debtor's Reponses        1.1   $120.00   $132.00
                         Payne    with the court.
    841    12/7/2020    Frankie   Complete trial binders;       3.5   $120.00   $420.00
                         Payne    2015-2016/2017/2018
                                  1of2/2018 2of2/2019 and
                                  2020.
    841    12/7/2020    Frankie   Finalize mediation            1     $120.00   $120.00
                         Payne    requirements via email.
                                  Contact Court Reporter to
                                  schedule deposition on
                                  Dec. 16th.
    841    12/8/2020    Frankie   Mediation meeting setup.      2.1   $120.00   $252.00
                         Payne    with Shelton.
    841    12/8/2020    Frankie   Prepare docs for              2     $120.00   $240.00
                         Payne    upcoming deposition.
    841    12/15/2020   Frankie   Add Longbranch                2.5   $120.00   $300.00
                         Payne    discovery responses and
                                  recently received
                                  documents to deposition
                                  binders.
    841    12/16/2020   Frankie   Organize the electronic       8.3   $120.00   $996.00
                         Payne    files for the deposition of
                                  Darin Borders. Set up
                                  and participate in
                                  deposition. Draft
                                  proposed order for
                                  Motion to Compel for
                                  review. Organize and
                                  send final exhibits to
                                  Court Reporter.




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    841    12/17/2020   Frankie   Draft order for motion to    6.8   $120.00   $816.00
                         Payne    compel and organize
                                  documents for attorney
                                  review.
    841    12/18/2020   Frankie   Locate a process server to   0.7   $120.00   $84.00
                         Payne    serve the TCRG
                                  subpoenas send all
                                  required documentation.
    841    12/21/2020   Frankie   Prepare Trial Binders        4.5   $120.00   $540.00
                         Payne
    841    12/21/2020   Frankie   Meeting for trial strategy   0.8   $120.00   $96.00
                         Payne
    841    12/21/2020   Frankie   Review Borders               1.5   $120.00   $180.00
                         Payne    deposition transcript and
                                  prepare exhibits for
                                  upcoming hearing.
    841    12/22/2020   Frankie   Binders dated 2012-2018      6.5   $120.00   $780.00
                         Payne    organized chronologically
                                  with matching digital
                                  files.
    841    12/22/2020   Frankie   Send all Borders depo        0.4   $120.00   $48.00
                         Payne    exhibits to Davidson
                                  Reporting for finalization
                                  of transcripts.
    841    12/28/2020   Frankie   Finalize exhibit binders     4.5   $120.00   $540.00
                         Payne    create table of contents
                                  and digital files of every
                                  document in order.
    841    12/31/2020   Frankie   Timeline and Document        4.6   $120.00   $552.00
                         Payne    preparation for upcoming
                                  trial
    925     1/1/2021    Frankie   Set up and attend the        2.5   $120.00   $300.00
                         Payne    opening statements of the
                                  trial.
    925     1/2/2021    Frankie   Complete document            6.1   $120.00   $732.00
                         Payne    identification and begin
                                  preparing exhibits.
    925     1/3/2021    Frankie   Label Exhibits and create    5.3   $120.00   $636.00
                         Payne    folder. Draft index to be
                                  filed with the court.
    925     1/4/2021    Frankie   Print and organize TCRG      1.1   $120.00   $132.00
                         Payne    emails chronologically for
                                  preparation of filing
                                  exhibit list.
    925     1/4/2021    Frankie   Contact the court to         0.7   $120.00   $84.00
                         Payne    identify the appropriate
                                  steps for the exhibits
                                  amending the exhibits and
                                  the order.



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    925     1/4/2021   Frankie   Prepare notice of               0.7   $120.00   $84.00
                        Payne    deposition of Moore.
    925     1/5/2021   Frankie   Search production from          7.2   $120.00   $864.00
                        Payne    Moore to ensure
                                 completeness. Complete
                                 Wright Exhibit Binders 1-
                                 4. Make arrangements
                                 with court reporter for
                                 Wednesday's Deposition.
    925     1/6/2021   Frankie   Make additional additions       6.1   $120.00   $732.00
                        Payne    to the Exhibit Binders and
                                 finalize the list to send for
                                 production. Create a
                                 privilege log. Work with
                                 Veritext to get links for
                                 McLeod depositions in
                                 preparation for upcoming
                                 trial.
    925     1/8/2021   Frankie   Meet with the District          7.7   $120.00   $924.00
                        Payne    Clerk's office to deliver
                                 exhibits. Provide final
                                 digital copies of exhibits
                                 to all required parties per
                                 the FRCP rules.
                                 Complete the PPTX
                                 exhibit.
    925     1/9/2021   Frankie   Prepare rebuttal exhibits       6.5   $120.00   $780.00
                        Payne    create additional binders
                                 of Longbranch, Frank
                                 Daniel Moore and DMA's
                                 exhibits Create a trial
                                 USB for use in the
                                 hearing.
    925    1/10/2021   Frankie   Find relevant excerpts          6.1   $120.00   $732.00
                        Payne    from emails and other
                                 pertinent documents and
                                 highlight in preparation of
                                 trial.
    925    1/11/2021   Frankie   Participate in Opening          4     $120.00   $480.00
                        Payne    Statements. Finish
                                 highlighting exhibits
    925    1/11/2021   Frankie   Communicate with                1     $120.00   $120.00
                        Payne    witnesses and ensure they
                                 are able to connect to
                                 WebEx for trial.
    925    1/12/2021   Frankie   Communicate with                0.8   $120.00   $96.00
                        Payne    District clerk to submit
                                 additional exhibits.
    925    1/13/2021   Frankie   Find documents for trial        1.5   $120.00   $180.00
                        Payne    and email as requested.


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     925    1/15/2021   Frankie   Highlight and prepare         1     $120.00   $120.00
                         Payne    Larry Wright's Deposition
                                  Designations. Send to Mr.
                                  Perez for trial.
     925    2/11/2021   Frankie   Retrieve documents and        2.5   $120.00   $300.00
                         Payne    set up for Hearing.
     925    2/22/2021   Frankie   Draft Krisjenn                1.5   $120.00   $180.00
                         Payne    Application for fees for
                                  January.
    1089    4/8/2021    Frankie   Final Fee Application.        0.3   $120.00   $36.00
                         Payne

    1089    4/8/2021    Frankie   Email Client recent           0.3   $120.00   $36.00
                         Payne    filings.
    1120    5/20/2021   Tonda     Organize and archive trial    1     $120.00   $120.00
                        Sutton    binders.
    1120    5/25/2021   Frankie   Email Ms. Castleberry         0.3   $120.00   $36.00
                         Payne    requesting available dates
                                  to move hearing on
                                  Attorney's Fees.
    1163    6/1/2021    Frankie   Correspond with Ms.           0.3   $120.00   $36.00
                         Payne    Castleberry regarding the
                                  date of the hearing:
                                  Calendar the new date as
                                  08/02/2021.
    1163    6/1/2021    Frankie   Draft Notice of Reset for     0.6   120.00    $72.00
                         Payne    Attorneys review
    1163    6/8/2021    Frankie   Prepare and send Fee          0.7   $120.00   $84.00
                         Payne    Application and submit to
                                  the court for review.
    1216   07/05/2021   Frankie   Correspondence with           0.5   $120.00   $180.00
                         Payne    Veritext re: cost of
                                  transcripts.
    1367    8/13/2021   Frankie   Prepare exhibits and Efile    0.5   $120.00   $60.00
                         Payne    the Notice of Appeal.
    1367    8/19/2021   Frankie   Follow-up with Ms.            0.3   $120.00   $36.00
                         Payne    Castleberry re: the proper
                                  procedure for filing an
                                  amended appeal.
    1367    8/26/2021   Frankie   Designations                  3.8   $120.00   $456.00
                         Payne
    1367    8/26/2021   Frankie   Order transcripts, receive    0.8   $120.00   $96.00
                         Payne    quote and email client for
                                  approval. Finalize details
                                  with the Court Reporter.
    1367    8/19/2021   Frankie   Contact the D.                0.3   $120.00   $36.00
                         Payne    Castleberry to verify steps



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                                  to file and amended
                                  appeal.
    1442   10/12/2021   Frankie   Final edits and exhibit       1.8   $120.00   $216.00
                         Payne    preparation and file
                                  Objection with the Court.
    1442    10/1/2021   Frankie   Edit Dismissal Agreement      0.8   $120.00   $96.00
                         Payne    for Attorney review.
    1442    10/1/2021   Frankie   Correspondence with           0.3   $120.00   $36.00
                         Payne    client regarding the
                                  dismissal agreement.
    1442   10/20/2021   Frankie   Email L. Worsham              0.4   $120.00   $48.00
                         Payne    regarding the 2004 rule
                                  and subpoena.
    1500   11/19/2021   Frankie   Finalize and file the Rule    0.4   $120.00   $48.00
                         Payne    2004 document.
    1500   11/23/2021   Frankie   Draft Krisjenn appeal         1.8   $120.00   $216.00
                         Payne    according to the Court
                                  rules for attorney review.
    1500   11/24/2021   Frankie   Update deposition notices     1.5   $120.00   $180.00
                         Payne    for McLeod Oil.
    1500    11/5/2021   Frankie   Convert and finalize          0.7   $120.00   $84.00
                         Payne    subpoenas and Rule 2004
                                  for Mcleod Oil, and send
                                  to opposing counsel.
    1367    8/13/2021   Frankie   Prepare exhibits and Efile    0.5   $120.00   $60.00
                         Payne    the Notice of Appeal.
    1367    8/19/2021   Frankie   Follow-up with Ms.            0.3   $120.00   $36.00
                         Payne    Castleberry re: the proper
                                  procedure for filing an
                                  amended appeal.
    1367    8/26/2021   Frankie   Designations                  3.8   $120.00   $456.00
                         Payne
    1367    8/26/2021   Frankie   Order transcripts, receive    0.8   $120.00   $96.00
                         Payne    quote and email client for
                                  approval. Finalize details
                                  with the Court Reporter.
    1367    8/19/2021   Frankie   Contact the D.                0.3   $120.00   $36.00
                         Payne    Castleberry to verify steps
                                  to file and amended
                                  appeal.
    1442   10/12/2021   Frankie   Final edits and exhibit       1.8   $120.00   $216.00
                         Payne    preparation and file
                                  Objection with the Court.
    1442    10/1/2021   Frankie   Edit Dismissal Agreement      0.8   $120.00   $96.00
                         Payne    for Attorney review.




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    1442    10/1/2021   Frankie   Correspondence with          0.3   $120.00   $36.00
                         Payne    client regarding the
                                  dismissal agreement.
    1442   10/20/2021   Frankie   Email L. Worsham             0.4   $120.00   $48.00
                         Payne    regarding the 2004 rule
                                  and subpoena.
    1500   11/19/2021   Frankie   Finalize and file the Rule   0.4   $120.00   $48.00
                         Payne    2004 document.
    1500   11/23/2021   Frankie   Draft Krisjenn appeal        1.8   $120.00   $216.00
                         Payne    according to the Court
                                  rules for attorney review.
    1500   11/24/2021   Frankie   Update deposition notices    1.5   $120.00   $180.00
                         Payne    for McLeod Oil.
    1367    8/6/2021    Tonda     Reviewing and analyzing      2     $120.00   $240.00
                        Sutton    invoices. Revise Fee
                                  Application.
    1367    8/20/2021   Tonda     Revise First Amended         0.5   $120.00   $60.00
                        Sutton    Notice of Appeal. File
                                  with the Court
    1367    8/26/2021   Tonda     Telephone call with Toni     0.2   $120.00   $24.00
                        Sutton    at Exceptional Reporting.
    1367    9/21/2021   Tonda     Confer with attorney,        0.2   $120.00   $24.00
                        Sutton    Mrs. Barnash re: our
                                  Statement of Issues.
    1367    9/22/2021   Tonda     Meeting with client and      1     $120.00   $120.00
                        Sutton    Paul Randles.
    1367    9/23/2021   Tonda     Telephone call with          0.2   $120.00   $24.00
                        Sutton    Breanna at the United
                                  States District Court for
                                  the Western District of
                                  Texas.
    1367    9/27/2021   Tonda     Meet with attorney, Mr.      1     $120.00   $120.00
                        Sutton    Perez re: Federal Rules of
                                  Civil Procedure and
                                  Bankruptcy Rules of Civil
                                  Procedure. Shell
                                  Appellant's Brief.
    1367    10/7/2021   Tonda     Revise Objections to         0.8   $120.00   $96.00
                        Sutton    McCleod's Proof of
                                  Claim.
    1442   10/12/2021   Tonda     Revising Objection to        0.3   $120.00   $36.00
                        Sutton    McLeod claims.
    1500   11/22/2021   Tonda     Meet with J. Muller          0.3   $120.00   $36.00
                        Sutton    regarding scheduling
                                  depositions.
    1500   11/23/2021   Tonda     Draft Subpoenas for          1     $120.00   $120.00
                        Sutton    Adam McLeod and
                                  corporate rep for McLeod



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                                 Oil. Draft letters to W.
                                 Kuhlmann and T.
                                 Cleveland requesting
                                 available dates for
                                 depositions.
    1500   11/23/2021   Tonda    Revise subpoenas.             0.3   $120.00   $36.00
                        Sutton
    1500   11/29/2021   Tonda    Collecting documents for      1     $120.00   $120.00
                        Sutton   brief. Typing points to be
                                 used in brief.
    1500   11/29/2021   Tonda    Review 2004 Subpoenas         0.4   $120.00   $48.00
                        Sutton   for Adam McLeod and
                                 McLeod Oil.
    1500   11/29/2021   Tonda    Draft 2004 Subpoena to        0.5   $120.00   $60.00
                        Sutton   William Kuhlmann, Jr.
                                 and Darrin Borders.
    1500   11/29/2021   Tonda    Draft 2004 Subpoena for       0.2   $120.00   $24.00
                        Sutton   John McLeod.
    1500   11/29/2021   Tonda    Revise Subpoenas for          0.7   $120.00   $84.00
                        Sutton   Adam McLeod, John
                                 McLeod, and McLeod
                                 Oil. Revise Response to
                                 Motion for Extension of
                                 Time.
    1500   11/30/2021   Tonda    Draft production              1     $120.00   $120.00
                        Sutton   subpoena for William
                                 Kuhlman. Revise Exhibit
                                 A to Subpoena.
                                 Correspond with Z. Perez
                                 re: production requests for
                                 Darrin Borders.
    1500    12/1/2021   Tonda    Meet with Z. Perez.           0.6   $120.00   $72.00
                        Sutton
    1500    12/1/2021   Tonda    Draft 2004 Subpoena for       2     $120.00   $240.00
                        Sutton   Production to Darin
                                 Borders. Draft Exhibit A
                                 to Borders' Subpoena.
                                 Draft 2004 Subpoena for
                                 Production to Albert,
                                 Neely & Kuhlmann.
                                 Draft Exhibit A to
                                 Subpoena. Revise all
                                 exhibits.
    1500    12/1/2021   Tonda    Draft 2004 Subpoena for       0.6   $120.00   $72.00
                        Sutton   Production to Longbranch
                                 Energy. Draft Exhibit A
                                 to Subpoena. Revise
                                 letters to Mr. Cleveland
                                 and Mr. Kuhlmann.


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    1367      8/6/2021   Tonda     Reviewing and analyzing       2      $120.00    $240.00
                         Sutton    invoices. Revise Fee
                                   Application.
    1367     8/20/2021   Tonda     Revise First Amended         0.5     $120.00    $60.00
                         Sutton    Notice of Appeal. File
                                   with the Court
    1367     8/26/2021   Tonda     Telephone call with Toni     0.2     $120.00    $24.00
                         Sutton    at Exceptional Reporting.
    1367     9/21/2021   Tonda     Confer with attorney,        0.2     $120.00    $24.00
                         Sutton    Mrs. Barnash re: our
                                   Statement of Issues.
                                                                         Total:   $40902.92



                            Timekeeper Summary
  Name                   Hours     Rate                    Amount
     Sherry Barnash          0.8           $250/Hour            $ 200.00
     Frankie Payne          266            $120/Hour            $ 32,358.00
     Tonda Sutton           22             $120/Hour            $ 2,640.00
     Denielle Anguiano     75.1            $120/Hour            $ 5,704.92


     BILLING SUMMARY
            TOTAL CHARGES FOR THIS BILL:                         $40,902.92




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  EXPENSES
  FOR ADMINISTRATIVE SERVICES RENDERED
    Bill ID    Date     User        Description        Qty.         Price         Total
      800   10/26/2020 Expense Milage to notarize       4           $0.58         $2.32
                               affidavit for Larry
                               Wright.
      925    1/13/2021 Expense Davidson Reporting       1       $    260.00   $     260.00
                               Inv. 20 DD 625
                               Original excerpt of
                               Darin Borders on
                               12/16/2020.
      925    1/13/2021 Expense Deposition of Darin      1       $ 1,836.12    $ 1,836.12
                               Borders
      925    1/13/2021 Expense Davidson Reporting       1       $ 2,777.00    $ 2,777.00
                               Invoice 20NM-628
      750    9/28/2020 Expense Copy Concierge -         1       $    135.33   $     135.33
                               Scan client
                               documents
      800    10/1/2020 Expense Copy Concierge -         1       $    138.31   $     138.31
                               Scan client
                               documents
      841    12/2/2020 Expense FedEx to Kuhlmann        1           $42.15    $      42.15
                               12/01/2020
      925    1/18/2021 Expense Service to Crockett      1       $    280.00   $     280.00
                               and TCRG
     1010    3/8/2021  Expense Veritext Invoice         1       $    554.58   $    554.58
                               4650829
      925    1/1/2021  Expense Shelton & Valadez        1       $ 1,200.00    $ 1,200.00
                               Mediation
      925    2/1/2021  Expense Davidson Reporting       1       $ 1,298.75    $ 1,298.75
                               Inc Deposition of
                               Frank Daniel Moore
                               01/06/2021
     1010    3/8/2021  Expense Veritext Invoice         1       $ 1,505.01    $ 1,505.01
                               4601159
      925    1/1/2021  Expense Copy Concierge           1       $ 2,712.83    $ 2,712.83
                               Binders for Exhibits.
      841   12/22/2020 Expense Tiwari PLLC              1       $ 4,725.00    $ 4,725.00

     1367     9/07/2021    Expense   PGR Business       1       $    374.17   $    374.17
                                     Advisors
     1500     10/04/2021   Expense   PGR Business       1       $    332.50   $    332.50
                                     Advisors
                                                                              $18,174.07


     BILLING SUMMARY
            TOTAL CHARGES FOR THIS BILL:                      $18,174.07



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     FINAL BILLING SUMMARY
           TOTAL FEES:                                 $ 371,284.50
           TOTAL PAYMENTS:                             $ 178,014.05
           TOTAL CREDIT:                               $ 25,000.00
           TOTAL BALANCE NOW DUE:                      $ 168,270.45




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                                  SERVICE LIST

  DEBTOR                      Rusk County                Christopher S. Johns
                              202 N Main St,             JOHNS &COUNSEL
  KrisJenn Ranch, LLC         Henderson, Texas 75652     PLLC
  410 Spyglass Rd                                        14101 Highway 290 West,
  Mc Queeney, TX 78123-       Shelby County, Tax         Ste. 400A
  3418                        Collector                  Austin, Texas 78737
                              200 St. Augustine St.
                              Center, Texas 75935
  GOVERNMENT                                             Timothy Cleveland
  ENTITIES                    Tenaha ISD Tax Assessor-   CLEVELAND|
  Office of the UST           Collector                  TERRAZAS PLLC
  615 E Houston, Room 533     138 College St             4611 Bee Cave Road,
  PO Box 1539                 Tenaha, TX 75974-5612      Ste. 306B
  San Antonio, TX 78295-                                 Austin, Texas 78746
  1539                        Uvalde Tax Assessor
                              Courthouse Plaza, Box 8    Andrew R. Seger
  U.S. Attorney               Uvalde, Texas 78801        KEY TERRELL &
  Attn: Bkcy Division                                    SEGER
  601 NW Loop 410, Suite                                 4825 50th Street, Ste. A
  600                         NOTICE PARTIES             Lubbock, Texas 79414
  San Antonio, Texas 78216
                              METTAUER LAW FIRM          SECURED
  Internal Revenue Services   c/o April Prince           CREDITORS
  Special Procedures Branch   403 Nacogdoches St Ste 1
  300 E. 8th St. STOP 5026    Center, TX 75935-3810      McLeod Oil, LLC
  AUS Austin, TX 78701                                   c/o John W. McLeod, Jr.
                              Albert, Neely & Kuhlmann   700 N Wildwood Dr
  Texas Comptroller of        1600 Oil & Gas Building    Irving, TX 75061-8832
  Public Account              309 W 7th St
  Attn: Bankruptcy            Fort Worth, TX 76102-
  P.O. Box 149359             6900                       UNSECURED
  Austin, TX 78714-9359                                  CREDITORS
                              Laura L. Worsham
  Angelina County Tax         JONES, ALLEN &             Bigfoot Energy Services
  Assessor                    FUQUAY, LLP                312 W Sabine St
  606 E Lufkin Ave,            8828 Greenville Ave.      Carthage, TX 75633-2519
  Lufkin, Texas 75901         Dallas, Texas 75243        C&W Fuels, Inc.
                                                         Po Box 40
  Nacogdoches County Tax      Craig Crockett             Hondo, TX 78861-0040
  Assessor-Collector          CRAIG M. CROCKETT,
  101 West Main Street        PC 5201 Camp Bowie
  Nacogdoches, Texas          Blvd. #200
  75961                       Fort Worth, Texas 76107




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  Davis, Cedillo & Mendoza    Larry Wright
  755 E Mulberry Ave Ste.      410 Spyglass Rd           Uvalco Supply
  500                         Mc Queeney, TX 78123-      2521 E Main St
  San Antonio, TX 78212-      3418                       Uvalde, TX 78801-4940
  3135
                              Medina Electric            Longbranch Energy
  Granstaff Gaedke &          2308 18th St. Po Box 370   c/o DUKE BANISTER
  Edgmon                      Hondo, TX 78861-0370       RICHMOND
  5535 Fredericksburg Rd                                 Po Box 175
  Ste 110                     Medina's Pest Control      Fulshear, TX 77441-0175
  San Antonio, TX 78229-      1490 S Homestead Rd
  3553                        Uvalde, TX 78801-7625      DMA Properties, Inc.
                                                         896 Walnut Street at US
  Hopper's Soft Water                                    123 BYP
  Service                     Texas Farm Store           Seneca, SC 29678
  120 W Frio St               236 E Nopal St
  Uvalde, TX 78801-3602       Uvalde, TX 78801-5317




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